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                       UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF ILLINOIS
                             EASTERN DIVISION

______________________________________
                                      )
IN RE FICO ANTITRUST LITIGATION )          Judge Edmond E. Chang
______________________________________)
                                      )    Magistrate Judge M. David Weisman
This Document Relates to the          )
Following Cases:                      )    No. 1:20-CV-02114
                                      )
INDIRECT PURCHASER CASES              )    JURY TRIAL DEMANDED
______________________________________)




                     INDIRECT PURCHASER PLAINTIFFS’
                    AMENDED CLASS ACTION COMPLAINT
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           Plaintiffs Garner Properties & Management LLC (“Garner”) and Lake City Exports, Inc.

(“Lake City”) (collectively, “Plaintiffs”), bring this action against Defendants Fair Isaac

Corporation (“Fair Isaac”), Equifax, Inc. (“Equifax”), Experian Information Solutions, Inc.

(“Experian”), and TransUnion, LLC (“TransUnion”) (collectively “Defendants,” with the latter

three referred to collectively as the “Credit Bureaus” or “CBs”), individually and on behalf of

proposed Classes of all end-users that purchased FICO Scores 1 in the B2B Credit Score Market

from anyone other than Fair Isaac and/or a Credit Bureau from October 1, 2006 through the

present. 2 Defendants have engaged in anticompetitive behavior, which forced Plaintiffs and

members of the proposed Classes to pay artificially inflated prices for credit scoring services

and generated millions of dollars in supra-competitive annual revenues for Defendants. Fair

Isaac has maintained a monopoly share in excess of 90% of the market for credit scores by

suppressing competition and inhibiting innovation. Therefore, Plaintiffs and the proposed

Classes seek damages, injunctive relief and other relief pursuant to federal antitrust laws, state

antitrust, unfair competition, and consumer protection laws, and the laws of unjust enrichment,

and demand a trial by jury.

I.         INTRODUCTION

           1.      A “credit score” is a three-digit numerical summary of a customer’s

creditworthiness based on factors such as payment history and the duration of that history;

balances, available credit, and the percentage of existing credit lines being utilized; public

records like bankruptcies or adverse judgments; and the assumption of new debt. There are

two distinct markets for such scores. The first is the market for the sale of such scores to

banks, mortgage companies, credit unions, and other businesses that assess individual credit

1
    “FICO Score” includes a credit report that contains a FICO Score.
2
    “Third-party” constitutes any entity that who purchased a FICO Score from any Defendants.
                                                          1
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risk ‒ i.e., business-to- business sales. That market is referred to herein as the “B2B Credit

Score Market.” The second is the market for the sale of such scores to the individual who is

the subject of them ‒ i.e., business-to-consumer. That market is referred to herein as the “B2C

Credit Score Market.” This case concerns the B2B Credit Score Market.

        2.      According to Fair Isaac, FICO Scores are used for over 90% of all lending

decisions in the United States. Fair Isaac’s FICO credit scores have dominated the market for

nearly three decades and have “maintained a 90-plus percent market share for at least 13

years.” 3

        3.      Credit Bureaus collect and maintain information for credit reports. The three

major CBs in the United States are Defendants Equifax, Experian, and TransUnion. The CB

Defendants control virtually 100% ofaggregate credit-related data formed by aggregating credit

data collected from businesses, and theyjointly dominate the market for B2B credit reports.

        4.      Credit reports list bill payment history, loans, current debt, and other financial

information. They show where consumers work and live and whether they have been sued,

arrested, or filed for bankruptcy.

        5.      Credit reports help lenders decide if they will give consumers credit or approve

a loan. The reports also help determine what interest rates consumers are charged. Employers,

insurers, and rental property owners also use credit reports.

        6.      CBs purchase FICO Scores and then sell them as part of the credit reporting

services they provide to millions of lenders, financial institutions, landlords, employers, and

other businesses, that then use the credit reports to determine credit history and/or default risk.

        7.      Fair Isaac also directly sells FICO Scores to creditors and other businesses


3
 TransUnion LLC’s Redacted Counterclaims, Dkt 38, Fair Isaac Corp. . TransUnion LLC, No. 1:17-cv-08318, ¶ 32
(N.D. Ill. Feb. 12, 2018)(“TransUnion Counterclaims”).)
                                                     2
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‒bypassing the Credit Bureaus, and competing with them, when it does so.

       8.     Plaintiff Garner is a real estate brokerage and property management company

that purchases Fair Isaac’s FICO scores from third-parties which, in turn, purchase those FICO

Scores from one of the three major CBs. The third-parties pass on to Garner and all other Class

Members the cost of each FICO Score.

       9.     Plaintiff Lake City is used automobile dealer that purchases Fair Isaac’s FICO

scores from third-parties which, in turn, purchase those FICO Scores from one of the three

major CBs. The third-parties pass on to Lake City and all other Class Members the cost of

each FICO Score.

       10.    In 2006, VantageScore Solutions, LLC (“VantageScore Solutions”) launched

VantageScore - a credit score to compete against Fair Isaac’s FICO Scores. VantageScore

Solutions is an independent joint venture of the three major CBs, Equifax, Experian, and

TransUnion. Similar to Fair Isaac’s FICO Score, VantageScore Solutions uses scoring codes and

algorithms to convert a consumer’s information in a consumer credit report into a credit score.

Thus, VantageScore presented a competitively priced alternative to FICO Scores.

       11.    In addition, a VantageScore has relevant and important advantages over a FICO

Score. For example, a VantageScore considers a consumers’ rental and utility payments,

which enables it to provide a credit score for consumers with less than six months of credit

history. Fair Isaac’s FICO Score cannot do this. A VantageScore therefore provides a credit

score for tens of millions more Americans than Fair Isaac’s algorithms allow. If Plaintiffs and

similarly situated businesses were able to purchase VantageScores on economically sensible

terms, they would be able to see credit scores of tens of millions more consumers, enabling

them to contract with millions more customers, tenants, and employees than they can using


                                                3
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FICO Scores alone.

       12.    Rather than compete on the merits with VantageScore, Fair Isaac undertook a

lengthy campaign of anticompetitive conduct to discourage the adoption of VantageScore and

preserve its own monopoly. Fair Isaac also succeeded in recruiting the CBs to join a

conspiracy to monopolize the B2B Credit Score Market, despite their own interest in

VantageScore’s success.

       13.    Specifically, in 2006, Fair Isaac filed a lawsuit against TransUnion, Equifax,

and Experian with the intended purpose of driving VantageScore Solutions out of business.

Experian settled the case in 2008 and entered into a lucrative partnership with Fair Isaac

following the settlement. TransUnion and Equifax fought on, eliminating most of Fair Isaac’s

claims through a summary judgment motion and winning a jury trial on the remaining

trademark claim.

       14.    When its lawsuit failed, Fair Isaac engaged in a further pattern of

anticompetitive conduct designed to discourage use of alternatives to FICO Scores, including

VantageScores. Fair Isaac accomplished this goal by abusing its monopoly power to enlist the

CBs in a conspiracy in which they entered into contracts that contained anticompetitive

restrictions aimed at extracting supracompetitive profits from B2B purchasers. Those contracts

include contractual provisions that: (1) prohibit CBs from marketing non-FICO credit scores

(i.e., VantageScore); (2) charge discriminatory and prohibitively high prices for FICO Scores

if a CB customer purchases a FICO Score while providing the consumer with a competing

score (i.e., a VantageScore); and (3) eliminate price competition among the CBs, thereby

disincentivizing the CBs from negotiating a lower price for FICO Scores.

       15.    Upon information and belief, each of the CBs was aware of Fair Isaac’s


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imposition of these restrictive terms on the other CBs and each CB agreed to the contracts

despite the terms being against their own, as well as their collective, economic self-interest.

The conspiracy and the contracts that effectuated it were intended to, and had the effect of,

hobbling VantageScore Solutions’ ability to compete and forcing B2B Purchasers to pay

supracompetitive prices for credit scores.

        16.      As part of its goal of eliminating competition, Fair Isaac also waged a public

relations and advertising campaign to disparage VantageScores and create uncertainty about the

reliability of VantageScores. The purpose of FICO’s anticompetitive scheme is to prevent

competition with VantageScore and other scoring systems and to preserve Fair Isaac’s

monopoly.

        17.      Fair Isaac’s scheme worked. Through the anticompetitive conducted alleged

herein, Fair Isaac succeeded in preventing VantageScore Solutions from gaining market share

and thwarted the entry of other entities into the market for credit scores. Having successfully

suppressed all other competition, Fair Isaac was able to, and did, artificially increase prices for

its FICO products.

        18.      For example, Fair Isaac’s net income for the third quarter of 2021 was more

than double that of the previous year period, increasing from $64.1 million in Q3 2020 to

$151.2 million in Q3 2021. 4 Sources in the financial industry have attributed Fair Isaac’s

profitability to “[p]rice increases in its credit scoring segment and gains in applications sold to

banking institutions,” which have “helped the company log year- over-year gains in revenue

and profit.” 5 But for Fair Isaac’s and the CBs’ anticompetitive conduct, VantageScore and


4
  Press Release, Fair Isaac, FICO Announces Earnings of $5.18 per Share for Third Quarter Fiscal 2021 (Aug. 3,
2021), https://investors.fico.com/news-releases/news-release-details/fico- announces-earnings-518-share-third-
quarter-fiscal-2021.
5
  Motley Fool, Fair Isaac Corporation Scores 13% Revenue Growth in the First Quarter (Jan. 31, 2019),
                                                       5
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other competitors of Fair Isaac would have gained market share, allowing for price

competition and reducing the prices Plaintiffs and similarly situated businesses paid for FICO

Scores.

          19.    Plaintiffs and other indirect purchasers of Fair Isaac’s FICO Scores paid

supracompetitive prices and have therefore suffered harm as a result of Defendants’

anticompetitive conduct, which harmed competition in the B2B Credit Score Market. Opening

this market to competition will spur innovation so that credit scores are fairly priced and more

accurate.

          20.    Plaintiffs and other similarly situated businesses are indirect purchasers of Fair

Isaac’s FICO Scores. They do not purchase FICO Scores directly from Defendants but instead

purchase them from third-parties, who purchase them from Defendants.

II.       PARTIES

          21.    Plaintiff Garner Properties & Management LLC is a real estate brokerage and

property management company located in Taylor, Michigan. During the Class Period, Garner

purchased Fair Isaac’s FICO Scores from third-parties which, in turn, purchased those FICO

Scores from one of the three major CBs. The CBs, through the third-parties, sell FICO Scores

to Plaintiffs and Class members pursuant to agreements between Fair Isaac and each Credit

Bureau, which provide for royalty payments to be paid to Fair Isaac for each FICO Score sold

to the Class. The artificially inflated cost of those FICO Scores is then passed on to Garner,

and all other Class members.

          22.    Plaintiffs Lake City Exports, Inc., is a used automobile dealer located in Maine.

During the Class Period, Lake City purchased Fair Isaac’s FICO Scores from third-parties which,



https://www.fool.com/investing/2019/01/31/fair-isaac-corporation-scores-13- revenue-growth-in.aspx.
                                                       6
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in turn, purchased those FICO Scores from one of the three major CBs. The CBs, through the

third-parties, sell FICO Scores to Plaintiffs and Class Members pursuant to agreements

between Fair Isaac and each Credit Bureau, which provide for royalty payments to be paid to

Fair Isaac for each FICO Score sold to the Class. The artificially inflated cost of those FICO

Scores is then passed on to Lake City, and all other Class members.

       23.     Plaintiffs were injured in their business or property as a direct, proximate, and

material result of Defendants’ violation of the law. Plaintiffs are also threatened with future

injury to their business and property by reason of Defendants’ continuing violations of the law.

       24.     Defendant Fair Isaac is a Delaware corporation, with its principal place of

business at 181 Metro Drive, Suite 700, San Jose, California, 95110.

       25.     Defendant Equifax is a Credit Bureau incorporated in Georgia that has its

principalplace of business at 1550 Peachtree St. NW, Atlanta, Georgia.

       26.     Defendant Experian is a Credit Bureau incorporated in Ohio that has its

principal place of business in the United States at 475 Anton Blvd., Costa Mesa, California.

       27.     Defendant TransUnion is a Delaware limited liability Credit Bureau that has

its principal place of business at 555 W. Adams St., Chicago, Illinois.

       28.     Plaintiffs bring this state law class action on behalf of the proposed Classes to

recover actual and/or compensatory damages, double and treble damages as permitted, pre-

and post-judgment interest, costs, and attorneys’ fees for the injuries caused by Defendants’

conduct in restricting the development and sale of credit scores and causing the prices of FICO

Scores to be artificially inflated. Plaintiffs also seek injunctive relief under Sections 1 and 2 of

the Sherman Act.




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III.   JURISDICTION AND VENUE

       29.       This Court has subject matter jurisdiction over this action pursuant to 28 U.S.C.

§§ 1331, 1332(d) and 1337(a) and Sections 4 and 16 of the Clayton Act, 15 U.S.C. §§ 15(a)

and 26. This Court possesses supplemental jurisdiction over the state law claims under 28

U.S.C. § 1367.

       30.       This Court has personal jurisdiction over Defendants because Defendants

transacted business, maintained substantial contacts, and are located and/or committed

unlawful conduct in this District. Their unlawful scheme was directed at, and had the intended

effect of, causing injury to persons residing in, located in, or doing business in this District.

       31.       Venue is proper in this District pursuant to, among other statutes, Section 12 of

the Clayton Act, 15 U.S.C. § 22, and 28 U.S.C. § 1391(b), (c) and (d). Defendants regularly

transact business within this District and a substantial portion of the affected interstate trade and

commerce described in this Complaint were carried out in this District.

       32.       Defendants market their products and receive substantial payments across state

lines. Defendants’ business activities that are the subject of this Complaint are within the law

of and have substantially affected, interstate trade and commerce.

       33.       During the Class Period, Defendants used the instrumentalities of interstate

commerce, including interstate wires, wireless spectrum, and the United States Mail, to

effectuate their illegal scheme.

       34.       Defendants’ conduct also had a substantial effect on the intrastate commerce of

the states listed in counts Seven and Eight of this Complaint.




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IV.    FACTUAL ALLEGATIONS

       A.      Credit Scores and Credit Reports

       35.     A credit score is a numerical expression of a person's credit history and is

designed to measure their creditworthiness. It helps creditors determine whether to give credit,

decide the terms they offer and what interest rates consumers pay. Higher scores generally

indicate that an individual or business poses less credit risk and is more likely to make

payments under a contract and manage money more responsibly. Thus, having a high credit score

can make it easier to get a loan, credit card, lower interest rates, rent an apartment, or provide

access to lower insurance rates.

       36.     Credit scores typically are produced by applying scoring algorithms to a

person’s consumer credit history. A credit score is based on multiple factors, such as payment

history, outstanding balances, length of credit history, applications for new credit accounts,

and types of credit accounts (e.g., mortgages, car loans, credit cards).

       37.     Credit scores usually are accompanied by “reason statements,” which inform

the purchaser about the factors that most significantly affected that individual’s credit score. A

number or alphanumeric code - called a “reason code”- is associated with each reason

statement. Examples of reason statements include: “Account payment history is too new to

rate”; “Amount owed on accounts is too high”; and “Too many recently active accounts.”

VantageScore explains this process as follows:

                 No matter where you get your score, the documents that
                 accompany it will include up to four or five statements
                 explaining why your score wasn’t higher. These statements
                 are called reason codes and sometimes go by several other
                 names. Some people call them score factors; others call
                 them adverse action codes. They’re all the same thing.

                 The next time you see your credit score, regardless of where
                                                  9
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                      it comes from, look for the reason codes. They’ll be worded
                      and displayed something like this:

                      Your Credit Score Is: 705

                      32: Balances on bankcard or revolving accounts too high
                      compared to credit limits

                      16: The total of all balances on your open
                      accounts is too high

                      85: You have too many inquiries on your credit
                      report

                      13: Your most recently opened account is too new
                      The numbers preceding each statement are numeric
                      identifiers; sometimes they appear with the text, and
                      sometimes they do not.

                      The four (or five) factors are listed in order of the impact
                      they have. In this example, the number one reason the credit
                      score is not higher is “Balances on bankcard or revolving
                      accounts too high compared to credit limits.” That means the
                      consumer’s credit card debt is too high relative to his or her
                      credit limits.

                      In our example, the reason with the second-greatest impact
                      is “The total of all balances on your open accounts is too
                      high.” That means the consumer is carrying too much debt
                      on his or her open accounts.

                      The third reason the score isn’t higher is “You have too
                      many inquiries on your credit report.” This means the
                      consumer has recently applied for credit several times,
                      which led to some number of credit inquiries.

                     The fourth reason the score isn’t higher is “Your most
                     recently opened account is too new.” Clearly this means the
                     consumer has a very new account on his or her credit
                     report. 6

           38.      Fair Isaac has a webpage that sets forth its various “reason codes.” 7


6
    VantageScore Solutions, Reason Codes 101, https://www.reasoncode.org/reasoncode101.
7
    Fair Isaac, US FICO® Score Reason Codes, https://www.fico.com/en/latest-thinking/solution-sheet/us-fico-score-
                                                          10
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VantageScore also has a dedicated website that explains its various “reason codes.” 8

        39.     CBs collect and store financial data about individuals that is submitted to them

by creditors, such as lenders, credit card companies, and other financial companies. Creditors

are not required to report to every credit-reporting company. Utilizing these files, the CBs

create a credit report.

        40.     The information in a credit report is often used to calculate a credit score.

Credit reports list a consumer’s bill payment history, loans, current debt, and other financial

information. They show where the individual works and lives and whether they have been

sued, arrested, or filed for bankruptcy. CBs essentially collect consumer credit data and

present the aggregated information in the form of a credit report.

        41.     CBs continually gather credit and financial data about individuals from

creditors, government entities, public records, collection agencies, and other third parties, and

compile this information into a credit file. The CBs then use an individual’s credit file to

opulate a credit report on that individual for sale to businesses (B2B purchasers) and consumers

(B2C purchasers).

        42.     Credit reports help lenders decide if they will give credit or approve a loan. The

reports also help determine what interest rate to charge. Employers, insurers, and rental

property owners also look at credit reports.

        43.     Credit scores are the most widely used indicators of consumers’

creditworthiness in the United States and Fair Isaac’s FICO Score is, by far, the most widely-

used credit score. According to Fair Isaac, FICO Scores are used in over 90% of U.S. lending




reason-codes (link to download).
8
  VantageScore Solutions, ReasonCode.org, https://www.reasoncode.org.
                                                    11
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decisions. 9 They are crucial to millions of businesses that rely on indicators of

creditworthiness to assess risk and make business decisions.

         44.     Credit scores and credit reports are separate and distinct products that can be

sold together or independently.

         45.     Fair Isaac works with the CBs to perpetuate and extend its monopoly. Fair

Isaac’s relationship with B2B purchasers is often dependent on B2B purchasers’ relationships

with the CBs, which facilitate the sale of FICO Scores to B2B purchasers.

         46.     FICO Scores and credit reports are often sold to businesses as a bundle. Such

bundles can be sold by the CBs, which are licensed by Fair Isaac to sell FICO Scores and in

return, pay a royalty to Fair Isaac. Thus, when a B2B purchaser requires a credit score, it

purchases a credit report from a CB and a credit score from that CB and Fair Isaac, often

through a contract with both Fair Isaac and the CB. Although the payment for the credit report

and the credit score may at times occur in a single transaction, the reality is that both the CB

and Fair Isaac act as the providers of the FICO Score. In this example, Plaintiffs and proposed

Class members would then purchase the credit report and credit score from the B2B purchaser.

         47.     In its 2020 Form 10-K filed with the SEC, Fair Isaac states that, “[d]uring

fiscal 2020, 2019 and 2018, revenues generated from our agreements with Experian,

TransUnion and Equifax collectively accounted for 32%, 29%, and 25% of our total revenues,

respectively.” 10

         48.     The FICO Score and credit report bundles can also be sold by Fair Isaac to

businesses. “In those situations, Fair Isaac requests a credit score and credit report from the


9
  Fair Isaac, FICO: The Decisions Company Investor Overview, at 5 (Dec. 2019), https://fico.gcs-web.com/static-
files/946e4204-cdbb-4797-b7e0-24d71191698b.
10
   Fair Isaac, Annual Report (Form 10-K), at 4 (Nov. 10, 2020), https://fico.gcs- web.com/node/23951/html
(hereinafter, “Fair Isaac 2020 10-K”).
                                                       12
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CBs-selected by the lender or consumer. The CBs applies Fair Isaac’s CB-tailored FICO

algorithm to a consumer’s aggregated credit data and provides the consumer’s credit report

and credit score to Fair Isaac. Fair Isaac then delivers the bundle to the consumer or lender.

Fair Isaac pays the CB for the cost of processing and providing the bundle.” 11 Thus, Fair Isaac

and the CBs act as horizontal competitors and compete with each other for some B2B

Purchasers.

        49.      This direct competition between Fair Isaac and the CBs, as well as the close

relationship among them, continues to this day. At an August 3, 2021 earnings conference,

Fair Isaac’s CEO, William Lansing, said, “we stay close to it [B2B scores] through our

channel partners, the bureaus. But we also ‒ certainly for all of the major institutions, we have

direct sales relationships.” 12 TransUnion’s current Form 10-K acknowledges that it

“compete[s] with FICO in the Financial Services” market for B2B purchasers. 13 Similarly,

Equifax’s current Form 10-K acknowledges that it too “compete[s] with Fair Isaac

Corporation with respect to certain of [its] analytical tools and solutions.” 14 Experian has also

recognized that its “comparator companies” include “FICO. 15

        B.       The Markets for Credit Scores

        50.      There are two distinct markets for credit scores—the “B2B Credit Score

Market” and the “B2C Credit Score Market.”

        51.      The “B2B Credit Score Market” consists of sales from a business (a credit

score generator, such as Fair Isaac, directly or through a CB, or indirectly through a third-party
11
   Fair Isaac Corp. v. Equifax, Inc., No. 06-4112, 2008 WL 623120, at *2 (D. Minn. March 4, 2008).
12
   Motley Fool, Fair Isaac Corp. (FICO) Q3 2021 Earnings Call Transcript (Aug. 3, 2021) (hereinafter, “Q3
Earnings Call”), https://www.fool.com/earnings/call-transcripts/2021/08/03/ fair-isaac-corporation-fico-q3-2021-
earnings-call/.
13
   TransUnion, Annual Report (Form 10-K) (Feb. 16, 2021), at 12.
14
   Equifax, Annual Report (Form 10-K) (Feb. 25, 2021), at 8.
15
   Experian plc, Annual Report 2021 (2021), at 127, https://www.experianplc.com/media/ 4223/experian-annual-
report-2021.pdf.
                                                        13
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credit reporting company) to lenders, such as banks and credit card companies, financial

institutions, and other businesses. The “B2C Credit Score Market” consists of credit scores

sold to consumers to monitor their own credit records. The claims in this case concern the B2B

Credit Score Market. The B2B Credit Score Market is the relevant product market in which

the claims that require a market definition are to be assessed.

        52.     In the B2B Credit Score Market, businesses purchase the credit scores of

individuals and businesses to help them understand credit risk, make better-informed lending

decisions, assess creditworthiness, and make business decisions. The B2B Credit Score

Market also includes the FICO Scores that Plaintiffs and other businesses indirectly purchased

from Fair Isaac and the CBs.

        53.     In the B2C Credit Score Market, Fair Isaac and other credit score producers, as

well as CBs, sell consumers their own credit scores. A consumer often purchases their own

credit score for personal use, including to see how lenders view their creditworthiness, to

understand the types and terms of financing they may be able to secure, to monitor their

financial health, manage their debt, protect their identity, and to determine if they are

potentially eligible to make certain purchases.

        54.     The B2B Credit Score Market for credit scores is a distinct product market

for antitrust purposes. The businesses that use credit scores to assess creditworthiness, manage

risk, and make business decisions do not consider credit reports, insurance scores, or any part

of an individual’s consumer and credit history to be a substitute for credit scores. Likewise, the

businesses that resell or otherwise provide credit scores to their own downstream customers do

not consider credit reports, insurance scores, or any part of an individual’s consumer and

credit history to be a substitute for credit scores.


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       55.     The relevant geographic market in which B2B credit scores are provided is the

United States (including its territories). The restraints on competition contained in Defendants’

contracts relate to business and consumer credit scores in the United States.

       56.     Business customers, such as banks, credit card companies, financial

institutions, real estate companies, insurance companies and other businesses, in the B2B

Credit Score Market are a separate and distinct group of purchasers of credit scores. Business

customers who purchase credit scores in the B2B Credit Score Market do not use credit scores in

the same manner as consumer customers who purchase credit scores in the B2C Credit Score

Market.

       57.     Business customers in the B2B Credit Score Market purchase credit scores to

make informed decisions, sell, advertise, or complement another product. On the other hand,

consumer customers in the B2C Credit Score Market purchase the credit scores as an end-

product.

       58.     Business customers in the B2B Credit Score Market also purchase credit scores

in ways that consumer customers do not. For example, business customers in the B2B Credit

Score Market who engage in pre-screening, such as credit card companies, often purchase

credit scores in batches as part of their marketing efforts. They use credit scores as a method

of selecting consumers in a particular credit score range that they wish to extend credit card

offers to under particular terms. However, consumer customers in the B2C Credit Score

Market only purchase their own score.

       59.     The Consumer Financial Protection Bureau (“CFPB”) noted in a 2011 report to

Congress that “many of the credit scores sold to lenders are not offered for sale to




                                                15
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consumers.” 16 The agency went on to explain:

               When a consumer purchases a score from a CRA [Credit Rating Agency], it
               is likely that the credit score that the consumer receives will not be the same
               score as that purchased and used by a lender to whom the consumer applies
               for a loan. This could occur if the score the consumer purchased is an
               educational score that is not used by lenders, but differences between the
               score a consumer buys and the score a lender buys can occur for other
               reasons as well. Since so many scores are in use in the marketplace, it could
               also be the case that the particular lender to which the consumer applies
               uses a different scoring model than the one purchased by the consumer, or
               that the CRA from which the consumer obtains a score is not the same CRA
               that the lender uses to obtain scores, or that the underlying data in the
               consumer’s credit report changes significantly between the time the
               consumer purchases a score and the time the lender obtains a score for that
               consumer. It is also possible that a consumer and a lender could access
               different reports from the CRA, if they were to use different identifying
               information about the consumer. Any of these differences could lead to
               differences between the credit score a consumer sees and the credit score a
               lender uses to assess that consumer. 17

        60.      The vast majority of the credit reporting and credit scoring industry, industry

analysts, policy analysts, and investors recognize the B2B Credit Score Market as a separate

market from the B2C Credit Score Market. Fair Isaac itself recognizes its Business and

Consumer offerings as distinct product and revenue lines. Fair Isaac has divided its “Scores”

profits and revenues into separate “business-to-business” or “B2B” and “business-to-

consumer” or “B2C” segments in its Securities and Exchange Commission filings and

shareholder calls over the last several years. In its 10-K and 10-Q filings for the past several

years, Fair Isaac has distinguished between its “business-to-business scoring solutions and

services” and its “business-to-consumer scoring solutions and services including my FICO

solutions for consumers.”

        61.      Purchases in the B2B Credit Score Market for credit scores and B2C Credit


16
   Consumer Financial Protection Bureau, The impact of differences between consumer- and creditor-purchased
credit scores, at 1 (July 19, 2011), https://files.consumerfinance.gov/ f/2011/07/Report_20110719_CreditScores.pdf.
17
   Id.
                                                        16
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Score Market for credit scores are also different. While business customers purchase credit scores

from Fair Isaac through CBs and/or third-party intermediaries, credit scores in the B2C Credit

Score Market are often sold to consumers directly, such as when consumers purchase their

credit score from Fair Isaac at myFICO.com.

        62.      The B2B Credit Score Market exhibits high barriers to entry. As noted in a

2018 article: “The deep integration of FICO scores and products into companies’ operations

has raised switching costs.” 18

        63.      Likewise, VantageScore Solutions has observed that in the residential mortgage

sector, FICO’s “imprint inhibits competition by raising switching costs and granting the

irreplaceable brand value of utter ubiquity. It gives FICO unparalleled and highly controversial

negotiating leverage with almost every participant in the industry.” 19

        64.      “Larger lenders use the [FICO] score as an input to customized models they’ve

built for specific situations or portfolios. After a recent review one major US lender recently

identified over 600 places they were using a FICO score in their business processes. Switching

to a new score not only means proving the new score is better (a long process in itself) but

extensive testing to ensure all of those moving parts are still working as designed. Citibank

recently announced that after an 18 month review they’ve decided it’s safe to switch to the

latest version of the FICO score (FICO 8). This wasn’t a migration to a new score mind you,

just a more recent version of the score they’re already using. The barriers to entry are indeed




18
   Fair Isaac: A Royalty on U.S. Credit Scoring (Sept. 25, 2018), https://seekingalpha.com/ article/4208014-fair-
isaac-royalty-on-u-s-credit-scoring.
19
   Press Release, VantageScore, VantageScore Solutions Issues Statement Reacting to FHFA’s Proposed Rules for
Validating and Approving New Credit Scoring Models (Dec. 17, 2018),
https://vantagescore.com/press/vantagescore-solutions-issues-statement-reacting-to-fhfas- proposed-rules-for-
validating-and-approving-new-credit-scoring-models.
                                                        17
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high . . . and expensive.” 20

        65.      “Network effects” ‒ i.e., the phenomenon where a product or service increases

in value when the total number of customers increase – serve as a barrier to entry into the B2B

Credit Score Market. As one analyst has noted: “The ‘network effects’ keeping FICO’s

dominant position [are] indeed incredibly strong.” 21

        66.      In 2011, at Fair Isaac’s Analyst/Investor Day, Fair Isaac’s then-CEO, Mark

Greene, explained: “In about 10 seconds, an entire commerce transaction taking place because

720 FICO was understood by the broker, by the mortgage banker on the other end of line and

the customer to be shorthand for good credit risk, gave this guy a favorable mortgage rate.

And that network effect, having everybody in the loop understand that shorthand and

standardize on a FICO Score, that’s magic.” 22

        67.      The anticompetitive conduct by Fair Isaac alleged herein accounts in significant

part for the FICO Score’s dominance in the B2B Credit Score Market.

        68.      The CBs participate in a market for credit reports. A credit report contains

detailed information about a consumer’s credit activity and current credit situation. The

detailed information in a credit report is used to generate a FICO Score for a specific

customer, which B2B lenders can use in making their lending decisions.

        69.      On information and belief, the CBs control virtually all of the credit report

market (they have been called a “triopoly”) and enjoy roughly equivalent market shares.” 23

        70.      The three CBs are all members of a trade association called the Consumer Data
20
   John Ulzheimer, Why FICO Isn’t Going Away Any Time Soon, Smart Credit (July 5, 2011),
https://blog.smartcredit.com/2011/07/05/why-fico-isnt-going-away-any-time-soon/.
21
   Harrison Schwartz, Fair Isaac: Share Buybacks Likely To End As Cash Reserves Run Low, Seeking Alpha (Dec.
17, 2019), https://seekingalpha.com/article/4312953-fair-isaac-share- buybacks-likely-to-end-cash-reserves-run-low.
22
   SA Transcripts, Seeking Alpha, Fair Isaac Corp. – Analyst/Investor Day (Nov. 3, 2011),
https://seekingalpha.com/article/307417-fair-isaac-corp-analyst-investor-day.
23
   See Consumer Financial Protection Bureau, List of Consumer Reporting Companies (2021),
https://files.consumerfinance.gov/f/documents/cfpb_consumer-reporting-companies- list_2021-06.pdf.
                                                        18
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Industry Association (“CDIA”). Through the CDIA, the three CBs frequently work together,

including to: (i) develop a standard electronic data reporting format called Metro 2®; (ii) issue

joint statements on matters of public importance; (iii) provide guidelines to businesses that use

credit reports; and (iv) respond to public criticisms of their industry. The three CBs also

cooperated in the establishment of VantageScore Solutions as a joint venture. 24

        71.      The market for credit reports exhibits strong barriers to entry, resulting from the

relationships that the CBs establish with businesses that supply information to them and to

which they in return sell reports. As one market expert commented, “replicating the databases

of the leading credit bureaus would be incredibly difficult.” 25 Similarly, Fair Isaac has

explained:

        In order to compete with the Credit Bureaus, a new entrant must build a database
        that is equivalent to the databases built by the Credit Bureaus over decades.
        Building such a competitive database involves considerable time and costs to
        develop the infrastructure, to populate the database with current information and
        historical data, and to format and store the data (e.g., Experian’s FileOne database
        cost more than $100 million and took four years to develop, despite Experian
        already having much of the underlying data). 26

        72.      “As a result of their market power, the Credit Bureaus’ returns are well in

excess of any reasonable estimate of the cost of capital.” 27



24
   See Consumer Data Industry Ass’n, About CDIA, https://www.cdiaonline.org/about/about- cdia/ (last visited Oct.
21, 2021); Consumer Data Industry Ass’n, Metro 2 Format for Credit Reporting,
https://www.cdiaonline.org/resources/furnishers-of-data-overview/metro2- information/ (last visited Oct. 21, 2021);
Dana Fowle, Industry Pushes Back Against Claims of High Credit Reporting Errors, Fox5             Atlanta (Sept.
15, 2021), https://www.fox5atlanta.com/news/industry-pushes-back-against-claims-of-high-credit- reporting-errors;
Press Release, Consumer Data Industry Ass’n, Consumer Data Industry Association Releases Study on the Value of
Credit Reporting in U.S. (June 15, 2020), https://cdia-
news.s3.amazonaws.com/White+Paper+Press+Release+6.15.20.pdf; Consumer Data Industry Ass’n, Equifax,
Experian, & TransUnion Endorse CARES Act, https://www.cdiaonline.org/equifax-experian-transunion-endorse-
cares-act/ (last visited Oct. 21, 2021); Consumer Data Industry Ass’n, COVID-19,
https://www.cdiaonline.org/covid-19/ (last visited Oct. 21, 2021).
25
   Brett Horn, Credit Bureaus’ Wide Moats Can’t Be Breached, Morningstar (Aug. 24, 2018),
https://www.morningstar.com/articles/880439/credit-bureaus-wide-moats-cant-be-breached.
26
   Third Amended Compl., Dkt. 436, Fair Isaac Corp. v. Experian Info. Sols. (D. Minn. Nov. 10, 2018), ¶ 116.
27
   Horn, supra n.25.
                                                        19
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        C.      Fair Isaac’s FICO Score Has a Monopoly in the B2B Credit Score Market

        73.     Fair Isaac came into existence in 1956, possessed a monopoly on credit-scoring

algorithms until the mid-1970s, and continues to wield a dominant market share. 28

        74.     Fair Isaac’s “FICO Classic” credit scores are the best known and most widely

used credit scores in the B2B Credit Score Market. Fair Isaac applies an algorithm to each

credit reporting agency’s data to generate a FICO Classic Score between 300 and 850 that

purports to give an indication of the individual’s credit risk. It also generates a set of “reason

statements,” with corresponding codes, that explain the reasons the consumer has not been

assigned the maximum score.

        75.     FICO Scores are the credit scores most widely used by lenders and are used in

over 90% of U.S. credit lending decisions. 29 Every year, lenders access billions of FICO

Scores to help them understand people's credit risk and make better-informed lending

decisions.

        76.     On its website, Fair Isaac claims that “10 billion FICO Scores are purchased

every year” and “27 million Fico Scores are purchased every day.” FICO Scores are also used in

over 30 countries. 30

        77.     Fair Isaac also advertises that its FICO Score is “widely accepted” and “used by

90% of top U.S. lenders.” FICO Scores have been “an industry standard for over 30 years.”31

        78.     Fair Isaac’s executives have confirmed the dominance of Fair Isaac’s FICO

Score. In November 2017, at the JPMorgan Ultimate Services Investor Conference, Fair

28
   Raymond Anderson, A History of Credit Scoring, at 75-76 (2019),
https://www.researchgate.net/profile/Raymond_Anderson4/publication/331533723_Chapter_B0
6_History_of_Credit_Scoring/links/5c7ed843299bf1268d3ccc5d/Chapter-B06-History-of- Credit-
Scoring.pdf?origin=publication_detail.
29
   https://fico.gcs-web.com/static-files/946e4204-cdbb-4797-b7e0-24d71191698b.
30
   https://www.ficoscore.com/about.
31
   Id.
                                                    20
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Isaac’s CFO and Executive Vice President Michael Pung stated that the FICO scoring system

“is the most widely used credit scoring system here in the U.S.,” that “[v]irtually every major

lender in the U.S. [uses] the FICO Score for some sort of credit lending decision,” and that Fair

Isaac has “maintained a 90-plus percent market share for at least the [last] 13 years.” 32 In

2008, Craig Watts, a public affairs manager at Fair Isaac, described the FICO Score as the

“800 pound gorilla.” 33

        79.      Fair Isaac states in its 2020 Form 10-K:

                   Our products and services serve clients in multiple
                   industries, including primarily banking, insurance, retail,
                   healthcare and public agencies. End users of our products
                   include 96 of the 100 largest financial institutions in the
                   U.S., and two-thirds of the largest 100 banks in the world.
                   Our clients also include more than 600 insurers, including
                   nine of the top ten U.S. property and casualty insurers; more
                   than 300 retailers and general merchandisers; more than 150
                   government or public agencies; and more than 200
                   healthcare and pharmaceuticals companies, including nine
                   of the world’s top ten pharmaceuticals companies. Eight of
                   the top ten companies on the 2020 Fortune 500 list use one
                   or more of our solutions. In addition, our consumer services
                   are marketed to an estimated 200 million U.S. consumers
                   whose credit relationships are reported to the three major
                   U.S. credit reporting agencies. 34

        80.      An infographic on Fair Isaac’s website states: “10 BILLION FICO SCORES

ARE SOLD EACH YEAR,” which is “FOUR TIMES the number of hamburgers McDonald’s

sells WORLDWIDE in a year,” and “27,400,000 FICO scores are sold every day,” which is

“OVER TWICE the number of cups of coffee Starbucks sells WORLDWIDE in a day.” 35




32
   TransUnion Counterclaims, ¶ 32.
33
   Dana Dratch, What Does ‘Good’ Credit Really Mean?, CNBC (Oct. 30, 2008),
https://www.cnbc.com/id/27458815.
34
   Fair Isaac 2020 10-K at 10.
35
   Fair Isaac, Learn About the FICO Score and Its Long History, https://www.fico.com/25years/.
                                                       21
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            81.      Fair Isaac’s 2020 Form 10-K states that FICO Scores “are used in the majority

of U.S. credit decisions, by nearly all of the major banks, credit card organizations, mortgage

lenders and auto loan originators,” and it describes FICO Scores as “the standard measure in

the U.S. of consumer credit risk.” 36

            82.      A May 2021 report by Yale University’s Thurman Arnold Project, a

collaborative project among Yale faculty and students, as well as other scholars dedicated to

research on competition policy and antitrust enforcement, notes that Fair Isaac “enjoys a

virtual monopoly in the credit score market” and that “[b]ecause of the lack of competition in


36
     Fair Isaac 2020 10-K at 3, 7.
                                                    22
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this domain, there has been limited innovation in scoring methodology.” 37

        83.      Fair Isaac’s monopoly in the B2B Credit Score Market has given it

considerable power to control prices and impose monopoly rents. Fair Isaac’s CEO Will

Lansing has noted that, in the B2B Credit Score Market, Fair Isaac has “quite a bit of discretion

in whether we want our margins to be higher or lower or where they are.” 38

        84.      In February 2013, at a Morgan Stanley Conference, Lansing explained that Fair

Isaac’s “Scores business, which is the cash generator, is a very, very high-margin business. It’s

deeply embedded into the systems of the bank customers who use it.” 39

        D.       Fair Isaac Has Been Able to Maintain its Monopoly

        85.      Despite Fair Isaac’s 90% share in the Business Market, several companies have

attempted to compete with Fair Isaac’s FICO Scores. These competitors’ products use the same

data as FICO Scores. However, many also incorporate data not used by FICO Scores—data

such as, rental, utility, and telecom payment data and/or public records information, including

property deeds, mortgages, liens, personal property titles, tax records, and licensing data.

        86.      Some of these competitors to Fair Isaac’s FICO Scores in the B2B Credit Score

Market include: SageStream’s Credit Optics Score; LexisNexis’s RiskView score; CoreLogic

Credco’s Anthem Credit Score; PRBC; ChexSystems; L2C’s Link2Credit Score; and

ScoreLogix LLC’s JSS Credit Score.

        87.      Another competitor, VantageScore Solutions, represented the biggest threat to

Fair Isaac’s FICO Scores in the B2B Credit Score Market because it was a joint venture


37
   Yale University Thurman Arnold Project, Updating Antitrust and Competition Policy: Finance Issues, at 14, 15
(May 2021), https://som.yale.edu/sites/default/files/TeamFinance- Final.pdf.
38
   TransUnion Counterclaims, ¶ 34.
39
   Seeking Alpha, Fair Isaac’s CEO Presents at Morgan Stanley Technology, Media & Telecom Conference
(Transcript) (Feb. 27, 2013), https://seekingalpha.com/article/1231981-fair- isaacs-ceo-presents-at-morgan-stanley-
technology-media-and-telecom-conference-transcript.
                                                        23
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founded by the three major CBs. As part of its attempt to compete against Fair Isaac’s FICO

Scores in the B2B Credit Score Market, VantageScore Solutions introduced the VantageScore

credit scoring system in March 2006. The three CB Defendants continue to own VantageScore

Solutions.

       88.     VantageScore Solutions does not sell or market its VantageScore credit models

or credit scores; instead, it licenses them to the three CB Defendants, which may incorporate

VantageScores in their credit reports.

       89.     VantageScores are a competitor to FICO Scores in the B2B Credit Score

Market.

       90.     In addition to being backed by the three major CBs, the VantageScore credit

scoring model provides reliable credit scores for millions more consumers than FICO Scores

by relying on additional and alternative sources of data. VantageScore, for example, calculates

scores for consumers who have not used credit for up to two years and use utility and

telecommunications payment histories. As such, VantageScore provides insights into

individuals’ and businesses’ desirability as customers, clients, and/or tenants that Fair Isaac’s

FICO Scores cannot. In contrast, Fair Isaac’s FICO scoring systems do not generate a score if

a consumer does not have at least one credit account that has been open for six months or

more, or if no credit account of the consumer has been reported to the reporting CB. Thus,

millions of otherwise creditworthy individuals do not have a FICO Score.

       91.     Obtaining a mortgage, car loan, credit card or reasonable interest rates on

personal lines of credit is almost impossible without a credit score. Landlords are also

increasingly screening potential tenants using credit scores. Thus, those excluded by Fair

Isaac’s traditional FICO scoring systems--including a disproportionate number of low-income


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and minority consumers--face an increased risk of being denied access to credit in the form of

credit cards, auto and home loans, and housing.

        92.      For example, the CFPB has found that, as of 2010, 26 million consumers in the

United States were “credit invisible” ‒ i.e., they lacked credit history with one of the

nationwide credit reporting companies. 40 Those individuals cannot be scored by FICO. 41

        93.      The CFPB’s research suggests “a strong relationship between income and

having a credit record. Almost 30 percent of consumers in low-income neighborhoods are

credit invisible and an additional 16 percent have unscored records. These percentages are

notably lower in higher-income neighborhoods. For example, in upper-income neighborhoods,

only 4 percent of the population is credit invisible and another 5 percent has an unscored

record.” 42

        94.       Moreover, the CFPB found “significant differences in the incidence of having

a limited credit history across racial and ethnic groups,” specifically, while White and Asian

individuals “are almost equally likely to be credit invisible or have an unscored record, the

shares of [Black and Hispanic individuals] with limited credit history are much larger,” and

individuals in those groups are thus less likely to be able to obtain a credit score. 43

        95.       According to the CFPB, “[a]bout 15 percent” of Black[ ] and Hispanic[ ]

individuals “are credit invisible . . . and an additional 13 percent of [Black individuals] and 12

percent of [Hispanic individuals] have unscored records. . . . This elevated incidence . . . is

observed across ages, suggesting that these differences across racial and ethnic groups



40
   CFPB Office of Research, Data Point: Credit Invisibles, at 4, 6 (May 2015),
https://files.consumerfinance.gov/f/201505_cfpb_data-point-credit-invisibles.pdf.
41
   Id.
42
   Id. at 24.
43
   Id.
                                                     25
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materialize early in the adult lives of these consumers and persist thereafter.” 44

        96.       The CFPB went on to conclude that “[t]hese results suggest that the problems

that accompany having a limited credit history are disproportionally borne by Black[ ],

Hispanic[ ], and lower-income consumers.” 45

        97.       Furthermore, it is widely recognized that FICO Scores are a measure of past

ability to pay. Competing products incorporate an analysis of prospective creditworthiness.

For example, Scorelogix's JSS score incorporates job and income stability to determine

whether the borrower will have the ability to repay debt in the future. L2C offers an alternative

credit score that uses utility payment histories to determine creditworthiness, including future

ability to pay.

        98.       VantageScore has achieved some limited success. In a 2018 report,

VantageScore Solutions stated:

                  During the twelve months ending in July 2017, over 1.4 billion
                  VantageScore credit scores were delivered directly to consumers
                  by lenders like Chase and Capital One and educational websites
                  like CreditKarma, Lending Tree, and Mint. These scores are
                  calculated using the same VantageScore model used by lenders
                  (i.e., not an “educational” model). They are most often provided
                  free of charge as part of educational offerings that include
                  simulators, credit reports, educational articles, and explanations. 46

        99.       VantageScore Solutions went on to note that “[a]s lenders adopt VantageScore,

we believe that such adoption will improve consumers’ access to credit in certain segments

and enable many more borrowers to obtain fairer pricing.” 47 VantageScore Solutions also

reported that “[m]any of the most sophisticated secondary market participants use the


44
   Id. at 24-25.
45
   Id. at 25.
46
   VantageScore Solutions, VantageScore® Credit Scores and The Mortgage Market, at 8 (2018) (“VantageScore
Report”), https://vantagescore.com/pdfs/FAQs-VantageScore-Credit-Scores-and-the-Mortgage-Market.pdf.
47
   Id. at 5.
                                                     26
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VantageScore model to help evaluate and monitor risk, and to price and benchmark deals more

accurately. 48

        100.     Despite the advantages of using VantageScore or another competing credit

scoring model, Fair Isaac continues to have a monopoly in the B2B Credit Score Market and

extracts monopoly rents through anticompetitive and exclusionary conduct and by conspiring

with the Credit Bureaus. In February 2013, at a Morgan Stanley Conference, Fair Isaac’s CEO

Will Lansing explained that despite the existence of VantageScore, “there [is] not that much

competition around our Scores business” because “FICO Scores are very much part of the

fabric of the banking industry” and “really deeply embedded.”

        E.       Fair Isaac’s Conduct in Furtherance of its Anticompetitive Scheme

        101.     Fair Isaac anticipated the threat VantageScore could pose to its dominance in

the B2B Credit Score Market. Fair Isaac’s own models of future losses predicted “substantial

double-digit declines” if the use of VantageScore continued to expand. 49

        102.     Faced with the prospect of a significant hit to its market dominance, and its

profits, Fair Isaac used its monopoly power to coordinate a comprehensive attack on

VantageScore that included filing anticompetitive litigation; enlisting the Credit Bureaus to

sign on to licensing agreements that undermined their own joint venture; and undertaking a

campaign of disparagement against, and disinformation about, VantageScore Solutions and

VantageScore.

                 1.      Fair Isaac’s Anticompetitive Litigation

        103.     Fair Isaac, recognizing the creation of VantageScore as a competitive threat,

48
   VantageScore Solutions, Myth: VantageScore Is Not Accepted by Investors in Securitization Markets (Mar.
23, 2016), https://vantagescore.com/education/blog/myth- vantagescore-is-not-accepted-by-investors-in-
securitization-markets.
49
   Fair Isaac Corp. v. Experian Info. Sols., Inc., No. CV 06-4112, 2008 WL 11348223, at *2 (D. Minn. Nov. 3,
2008).
                                                      27
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initiated litigation against Equifax, Experian, TransUnion, and VantageScore Solutions. In

October 2006, just after the introduction of VantageScore, Fair Isaac filed a meritless lawsuit

against them, alleging that the development of VantageScore violated the antitrust laws and

constituted trademark infringement. Fair Isaac sought the elimination of VantageScore

Solutions requesting that the “Defendants be ordered to dissolve VantageScore.” Fair Isaac

Corp. v. Equifax, Inc. et al, No. 0:06-cv-04112, ECF No. 1-1 at 65 (D. Minn. Oct. 11, 2006).

This frivolous lawsuit represented Fair Isaac’s first attempt to kill VantageScore before it

could gain traction in the market.

           104.   VantageScore Solutions characterized the litigation that Fair Isaac initiated as a

“legal battle that sought to put us out of business, even as we scrambled to establish a

competitive foothold.” 50 Fair Isaac raised bogus antitrust claims that it knew lacked

foundation, given its then-94% share of the B2B Credit Score Market. It also alleged

trademark infringement that a jury found to be based on a trademark that Fair Isaac had

fraudulently obtained from the U.S. Patent and Trademark Office (“PTO”). In addition, Fair

Isaac’s contention that the “300-850” marks were anything other than “merely” descriptive

lacked all foundation because ‒ as the U.S. Court of Appeals for the Eighth Circuit later held ‒

“consumers in this market immediately understand ‘300-850’ to describe the qualities and

characteristics of FICO’s credit score ‒ that the credit score will be within the range of 300-

850.” 51

           105.     Equifax settled the litigation in June 2008 and formed “a partnership [with

Fair Isaac] to develop and sell advanced analytics and scoring solutions for businesses and



50
   VantageScore Solutions, Inc., 10 years, 10 milestones (Mar. 2016),
https://thescore.vantagescore.com/article/252/10-years-10-milestones.
51
   Fair Isaac Corp. v. Experian Info. Sols., Inc., 650 F.3d 1139, 1148 (8th Cir. 2011).
                                                          28
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consumers.” 52

        106.        The litigation against Experian and TransUnion lasted into 2011. While it was

ongoing, VantageScore Solutions remained under a cloud, with Fair Isaac’s lawsuit hobbling

its commercial prospects: Potential B2B Purchasers for VantageScore had no way of being

sure that the product might not be declared infringing on Fair Isaac’s trademarks or that

VantageScore Solutions would not be dissolved.

        107.        The district court entered summary judgment in favor of the Credit Bureaus

on the antitrust and false advertising claims. A jury found against Fair Isaac on the remaining

claim for trademark infringement, finding that the mark “300-850” (which denoted the range

of FICO Scores) was merely descriptive. It also found that: (1) Fair Isaac made a false

representation during the application process to the PTO for the registrations of the “300-850”

marks; (2) Fair Isaac knew that representation to be false when it was made and intended to

deceive the PTO; and (3) the PTO relied on the false representation in deciding to issue the

registrations. 53

        108.        The district court upheld the verdict, noting that “[t]his extensive, expensive

litigation seems to have been initiated largely in response to a perceived threat to Fair Isaac’s

dominant position in the credit scoring industry.” 54

        109.        In 2011, the United States Court of Appeals for the Eighth Circuit affirmed

both that decision and the earlier summary judgment ruling. 55

        110.        VantageScore Solutions’s growth during its first few years was inhibited by


52
   Fair Isaac, Equifax and Fair Isaac Enter Partnership to Accelerate Development and Delivery of New Analytic
Solutions (June 10, 2008), https://www.fico.com/en/newsroom/equifax-and-fair-isaac-enter-partnership-accelerate-
development-and-delivery-new-analytic.
53
   Fair Isaac, 650 F.3d at 1148-50.
54
   Fair Isaac Corp. v. Experian Info. Sols., Inc., 711 F. Supp. 2d 991, 1000 (D. Minn. 2010).
55
   Fair Isaac Corp. v. Experian Info. Sols., Inc., 650 F.3d 1139 (8th Cir. 2011).
                                                       29
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the litigation, which was part of a continuing antitrust violation by Fair Isaac that goes on to

this day.

        111.    In December 2017, Fair Isaac sued TransUnion for unpaid royalties. 56

        112.    In February 2018, TransUnion responded by filing antitrust counterclaims for,

inter alia, monopolization against Fair Isaac. In paragraphs 42-60 of the counterclaims (which

was partially redacted), the anticompetitive terms the Credit Bureaus and Fair Isaac had agreed

upon were disclosed publicly for the first time. Those provisions are described in detail below.

        113.     Fair Isaac moved to dismiss the counterclaims. Judge Coleman denied the

motion, ruling that “TransUnion has adequately pled actual and attempted monopolization”

through allegations that “FICO engages in practices that are intended to drive out competition”

through “exclusive dealing provisions [that] are unlawful attempts to ‘maintain monopoly

power through exclusionary conduct.’” 57

        114.     In November 2020, TransUnion and Fair Isaac settled on undisclosed terms.

One effect of this settlement was to cut Plaintiffs and proposed Class members off from

obtaining further information about the anticompetitive agreements between Fair Isaac and the

CBs. Fair Isaac essentially bought TransUnion off. This inference is bolstered by the fact that,

in August 2021, TransUnion announced that it had entered into a long-term (presumably

lucrative) contract to distribute FICO Scores to lenders and consumers in Canada. 58

        115.     The Antitrust Division of the United States Department of Justice took notice

of Fair Isaac’s conduct alleged in the TransUnion Action and instituted a civil investigation.


56
   See Complaint, Dkt. 1, Fair Isaac Corp. v. Trans Union LLC, No. 1:17-cv-08318 (N.D. Ill.Nov. 16, 2017).
57
   Fair Isaac Corp. v. Trans Union, LLC, No. 17:cv-8318, 2019 WL 1382068, at *2 (N.D.Ill. Mar. 27, 2019).
58
   See Press Release, TransUnion, TransUnion Enters New Long-term Agreement with FICOto Distribute FICO®
Score in Canada (Aug. 3, 2021), https://www.globenewswire.com/news-
release/2021/08/03/2273895/0/en/TransUnion-Enters-New-Long-term-Agreement-with-FICO- to-Distribute-FICO-
Score-in-Canada.html.
                                                    30
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That investigation was closed without action in December 2020, shortly after TransUnion

settled with Fair Isaac. 59

                 2.       Fair Isaac and the Credit Bureau’s Conspiracy

        116.     Business customers in the B2B Credit Score Market purchase credit reports and

FICO Scores from CBs and third-party credit reporting companies. As part of this process,

CBs have entered into contractual relationships, called “Credit Scoring Services Agreements”

(“CSSAs”), with their customers that govern the terms by which businesses purchase FICO

Scores. These terms include the amount(s) paid to the CB, the fee model for delivery of credit

score services, the method of payment, the mode of delivery, and restrictions on the business’s

use of FICO Scores.

        117.     The CBs and Fair Isaac have entered into separate licensing agreements which

set forth the royalties that CBs must pay to Fair Isaac for the FICO Scores that the CBs sell to

their customers. These royalties are passed on to Plaintiffs and other members of the proposed

Classes.

        118.      After its litigation efforts failed to eliminate VantageScore, Fair Isaac elected

to take another approach. When its existing licensing agreements with each CB expired in

2013 or 2015, Fair Isaac took it upon itself to function as a central coordinating party in a

conspiracy with the CBs to crush the only real competition, VantageScore; maintain Fair

Isaac’s monopoly; and extract monopoly rents from B2B Purchasers.

        119.     To effectuate the conspiracy, Fair Isaac and the CBs entered into new or

renewed agreements that contained new provisions designed to restrict the competitive reach

of VantageScore. Those provisions reflect Fair Isaac and the CBs’ conscious commitment to a


 See Press Release, Fair Isaac, FICO Statement Regarding Antitrust Investigation (Mar. 15,2020), https://fico.gcs-
59

web.com/news-releases/news-release-details/fico-statement-regarding- antitrust-investigation.
                                                        31
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common scheme designed to achieve the unlawful objective of foreclosing competition in the

B2B Credit Score Market. The anticompetitive contract provisions targeted the only

significant competing credit score – VantageScore. And they specifically restricted the CBs’

ability to market VantageScore to B2B purchasers. On information and belief, the CBs agreed

to those provisions – cutting their own joint venture off at the knees – in return for Fair Isaac’s

acquiescence to a clause that protected them from price competition (and potentially in

exchange for other benefits as well). The point of the conspiracy was to support

supracompetitive prices for credit scores for the consumers – the B2B purchasers. In addition

to other facts, the CBs’ agreement to those provisions makes them co-conspirators with Fair

Isaac.

         120.   The CBs’ frequent business dealings with Fair Isaac and with each other gave

them ample opportunities to communicate, coordinate behavior, and engage in other actions

pursuant to their conspiracy. Because Fair Isaac monopolized the market for Credit Scores,

and the three CBs dominated the market for credit reports, the conspiracy, which restricted

choice, innovation, and price competition for purchases of credit scores and credit reports,

required the cooperation of only a few entities (four), all of which had extensive experience

dealing with each other. In addition to the CBs’ longstanding and continuing contractual

relationships with Fair Isaac, the CBs cooperate with one another through CDIA, their trade

association. Indeed, VantageScore Solutions was, and is, their joint venture.

         121.   The agreements were consummated at a critical time. In 2011 through the first

part of 2013, developments occurred that should have furthered VantageScore’s ability to

compete with FICO Scores. In 2011, VantageScore Solutions formed a partnership with the

Consumer Federation of America, “a nonprofit association of nearly 300 consumer groups


                                                 32
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founded in 1968 to advance consumers’ interests through research, advocacy, and education”;

that alliance led to the “use of annual consumer surveys to gauge awareness of credit scoring

related issues.” 60 In October 2012, “the Federal Deposit Insurance Corporation (“FDIC”)

revised its rules for assessing default risk on loans issued by banks with deposits in excess of

$10 billion. Instead of evaluating loans on any particular credit score, the revision called for

examining the underlying probability of default associated with those loans at the time of

origination.” 61 In March 2013, VantageScore Solutions debuted a new scoring model,

VantageScore 3.0, which “built on the strengths of its predecessors and drew extensive news

coverage for its ability to score 98 percent of adult consumers in the United States (including

30-35 million who cannot get scores from conventional credit-scoring models [i.e., FICO]); its

disregard of paid collections (including paid medical debt); and its simplified reason codes.” 62

And, in July 2013, VantageScore Solutions published a white paper explaining how

VantageScore could be aligned with the FDIC’s new rules for evaluating probability of

default. 63

        122.     Fair Isaac’s response to these developments was to agree on anticompetitive

contract terms with the CBs, commencing with Experian in May 2013, continuing with

Equifax in November 2013, and culminating with the February 2015 Analytic and Data

License Agreement (“ADLA”) between Fair Isaac and TransUnion. These clauses would

preserve Fair Isaac’s monopoly while compensating the CBs for the marginalization of

VantageScores. Fair Isaac and the CBs did not publicly reveal any of the terms of their

agreements until February 2018. Many of the agreements’ terms remain confidential to this

60
   VantageScore Solutions, 10 Years, 10 Milestones, supra n.56.
61
   Id.
62
   VantageScore, 10 years, 10 milestones, supra n.56.
63
   VantageScore Solutions, FDIC New Definition of High Risk Consumer Loan Securities (July 2013),
https://paperzz.com/doc/8033743/fdic-new-definition-of-high-risk-consumer-loan- and-securi. l
                                                      33
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day.

                            a.         Fair Isaac’s Anticompetitive Contracts with the CBs

           123.    The discussion that follows is based on TransUnion’s description of its ADLA

in its counterclaims against Fair Isaac. The ADLA was filed under seal in the TransUnion

action and is unavailable to Plaintiffs beyond what TransUnion has quoted in its

counterclaims. While the counterclaims quote only the ADLA, TransUnion pled that “Fair

Isaac represented to TransUnion that TransUnion’s two major competitors, Experian and

Equifax, had already agreed to materially similar new contracts with Fair Isaac.” 64 Thus, on

information and belief, the same anticompetitive provisions that exist in the ADLA also exist

in the agreements between Experian and Fair Isaac and TransUnion and Fair Isaac. The

allegations that follow therefore apply to all three CB Defendants.

           124.     On information and belief, Fair Isaac informed all three CBs that the others

had entered or would enter into the same anticompetitive contracts, and the CBs would not

have agreed to the anticompetitive restrictions without assurance that each other CB would

agree to and abide by the restrictions. 65

           125.      The restraints imposed in the contracts consist primarily of: (a) “No

Equivalent Products” provisions; and (b) “Dynamic Royalty Schedule” provisions. A third set

of provisions, the “Level Playing Field” provisions, compensated the CBs for their agreement

not to promote VantageScore under the former provisions at the expense of B2B Purchasers.

On information and belief, each of the CBs recognized they were part of the conspiracy

because they knew that the other CBs had agreed or would agree to these restrictive terms.

Each CB knew at the time they entered into the agreements with Fair Isaac that these terms


64
     TransUnion Counterclaims, ¶ 43.
65
     See id.
                                                       34
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undermined VantageScore Solutions, which competed with Fair Isaac and were therefore

against their own individual as well as collective economic self-interest. And each Credit

Bureau complied with and enforced the anticompetitive provisions in the contracts as part of

the broader conspiracy.

                                 i.     The “No Equivalent Products Clause”

            126.   The “No Equivalent Products” clause is located at Section 12.5 of the ADLA

between Fair Isaac and TransUnion. This clause provides that TransUnion may not “internally

develop” a credit scoring system that is “aligned to the odds-to-score relationship of any Fair

Isaac Analytic” or uses more than a limited number of reason codes that “match” reason codes

used by any Fair Isaac Analytic. Section 12.5 of the ADLA further prohibits TransUnion from

distributing “any competing analytic” (i.e., credit scoring system) that is aligned with FICO

Scores or uses too many of the same reason codes. The Section also expressly names

VantageScore Solutions, LLC as a developer of such a scoring system that may not be

distributed if VantageScore were to offer an “Equivalent Product.” 66

            127.   On information and belief, Fair Isaac has imposed similar or identical “No

Equivalent Products” clauses on Equifax and Experian. Thus, these CBs have agreed to and

acquiesced in these anticompetitive agreements and the resulting anticompetitive effects.

            128.   Fair Isaac’s “No Equivalent Products” clause has effectively blocked the CBs

from offering alternative credit scoring products, such as VantageScores, which would allow

business customers in the B2B Credit Score Market to switch from FICO Scores without

incurring the significant switching costs that using a new scoring system would entail. It also

prevents the use of VantageScore or other credit scoring systems alongside or interchangeably



66
     Id., ¶44.
                                                 35
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with FICO Scores without the business customer incurring those same switching costs.

       129.    The “No Equivalent Products” clause thus protects and sustains Fair Isaac’s

monopoly.

       130.    For example, if an alternative credit scoring product such as VantageScore used

a score of 700 to indicate a less-than-five-percent risk of credit delinquency, and if a FICO

Score of 700 also indicated the same risk of delinquency, the “No Equivalent Products” clause

would prevent a CB from distributing the competing product. Similarly, if a competing credit

score product used reason codes that match 20% of the reason codes used by FICO scoring

systems, the “No Equivalent Products” clause would prohibit a CB from distributing the

product.

       131.    Due to years of Fair Isaac’s dominance, many business customers of credit

scores have modeled and designed their internal systems for FICO Scores. These business

customers’ systems, models, and processes are calibrated to FICO’s odds-to-score

relationship (i.e., each given score has a given ratio of non-defaulting consumers to defaulting

consumers), and reason codes (the particular reasons cited for increased risk of default). For

example, a bank’s software might be designed to accept one or more FICO Scores and reason

codes, combine this information with data that it collects internally, and automatically produce

a lending decision. The “No Equivalent Products” clause effectively prohibits the CBs from

selling an alternative to FICO’s credit scores since those scores would have to be incompatible

with many businesses’ existing systems. Thus, they are prevented from providing business

customers a legitimate choice between using FICO Scores and an alternative score.

       132.    Notably, the “No Equivalent Products” clause does not sustain Fair Isaac’s

intellectual property. Rather, it protects and sustains Fair Isaac’s monopoly. For example, the


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odds-to-score relationship is not protectable intellectual property.       It is the arbitrary

assignment of a number (score) to a related risk probability. The intellectual property entitled

to protection in this product market is the analysis and the process used to predict a

consumer’s risk of default, not the shorthand numerical representation of a “less than-five-

percent-risk-of-default” as “700.”

       133.    Similarly, the reason codes that are prohibited from matching Fair Isaac’s, under

the “No Equivalent Products” clause, were not invented by Fair Isaac. Rather, there is an

established set of reason codes that reflect well-established industry measures of

creditworthiness.

       134.    The “No Equivalent Products” clause was effective because when one CB stops

using VantageScore, it becomes even less attractive to the other CBs. B2B purchasers will not

want to use a credit scoring system unless all of the main CBs use it. This phenomenon is

often referred to as the “network effect.” Presumably, the CBs coordinated through

VantageScore in the first place due to the network effect, i.e., to ensure that B2B purchasers

would want to use their new credit scoring product. Fair Isaac exploited this effect to attempt

to destroy VantageScore Solutions and its VantageScore product. By imposing a “No

Equivalent Products” term, Fair Isaac sought to block the CBs from enabling B2B purchasers

to easily switch from FICO Scores to VantageScore without incurring the cost of redesigning

their lending programs and systems and from using VantageScore alongside or

interchangeably with FICO Scores.

       135.    By agreeing to the “No Equivalent Products” provisions, the CBs agreed

among themselves and with Fair Isaac to eliminate or drastically reduce the competitive threat

posed by VantageScore, thus preserving and strengthening FICO’s monopoly.


                                                37
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                                       ii.   The “Dynamic Royalty Schedule”

           136.    Fair Isaac’s contracts with each Credit Bureau include a similar or identical

“Dynamic Royalty Schedule” clause that allowed Fair Isaac to replace its existing royalty with

a new one and thereby gave Fair Isaac the ability to control the prices of FICO Scores. The

“Dynamic Royalty Schedule” is detailed in Section 9.2 of the ADLA between Fair Isaac and

TransUnion. This provision states that “once every twelve (12) months during the Term, Fair

Isaac shall have the right to replace the Royalty Schedule by providing a new royalty schedule

to TransUnion in writing.” 67

           137.    According to TransUnion, “Fair Isaac has abused and exploited this provision

in 2015, 2016, and 2017 by not only raising prices, but also introducing entirely new and non-

negotiated contract terms, royalty categories, and definitions.” 68

           138.    In 2015, Fair Isaac inserted a new “Pre-Qualification” royalty category into its

contracts with CBs. “Pre-Qualification” is defined as “an End User’s qualification of a

potential consumer customer for an End User’s own internal lending offering.” This royalty

category created a distinction between: (1) lenders that use FICO Scores for “Pre-

Qualification” without providing any credit score or credit data to consumers, and (2) lenders

that use FICO Scores for “Pre-Qualification” while also providing credit scores or credit data

to consumers “in connection” with the “Pre-Qualification.”

           139.    As an incentive, some business customers in the B2B Credit Score Market

provide to their consumer customers, to whom they are often offering credit, the opportunity

to receive their personal credit score. This can serve as a valuable marketing tool for the

business customers.


67
     TransUnion Counterclaims, ¶ 50.
68
     Id.
                                                     38
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          140.      Under Fair Isaac’s contracts with the CBs, the royalty price paid to Fair Isaac

for use of its FICO Score for “Pre-Qualification” is directly tied to whether credit scores or

credit data are provided to consumers. There is a lower per-score royalty rate if a business

customer purchases a FICO Score for use in “Pre-Qualification” and does not provide any

credit score or credit data to their consumer customer “in connection” with the “Pre-

Qualification.” If the lender purchases a FICO score for use in ‘Pre-Qualification’ and

provides a VantageScore (or any other credit score) to the consumer ‘in connection’ with the

‘Pre- Qualification,’” Fair Isaac charges the lender a seven times penalty rate for that FICO

Score. That steep penalty is meant to dissuade lenders from providing competing credit

scores, such as a VantageScore. 69

          141.      The higher royalty rate can only be avoided if the business customer

exclusively purchases FICO Scores. One way to avoid paying the higher royalty rate is for the

business customer to purchase the FICO Score but not provide a credit score or credit data to

the consumer. A second way to avoid the higher royalty rate requires the business customer to

purchase a bundled FICO product from Fair Isaac and provide the bundled FICO Score to its

consumer customer. Fair Isaac offers bundled products to lenders that combine the use of

scores designed for use by business customers with the provision of scores to their consumer

customers. 70

          142.      TransUnion accepted, complied with, and made royalty payments according to

the new “Pre-Qualification” royalty category. On information and belief, so have the

remaining CBs. 71

          143.      The only reason for the higher royalty rate is to force all business customers

69
   Id., ¶ 52.
70
   Id., ¶ 53.
71
   See id., ¶ 55.
                                                    39
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that participate in “Pre-Qualification” to purchase FICO Scores alone and make it cost

prohibitive for business customers that engage in “Pre-Qualification” to provide an alternative

credit score to its consumers. There is no legitimate business justification for the higher royalty

rate Fair Isaac and the CBs jointly agreed upon for FICO Scores when the business customer

also purchases a competing credit score (i.e. VantageScore) to provide its consumer

customers. The higher royalty rate has anticompetitive effects and has assisted Fair Isaac in

maintaining its monopoly position as, on information and belief, few, if any, business

customers have opted to pay the higher royalty rate.

            144.      According to TransUnion, “[t]his scheme has been effective, and no B2B

Purchasers from TransUnion have opted to pay the penalty rate.” 72 The purpose and effect of

this clause was to prevent VantageScore from obtaining market share.

                                   iii.   The “Level Playing Field”

            145.      In exchange for agreeing to the “No Equivalent Products” and “Dynamic

Royalty” provisions in their agreements with Fair Isaac ‒ which effectively prevent the CBs

from marketing VantageScore to B2B purchasers ‒ Fair Isaac committed not to offer any CB a

more favorable price for FICO Scores than any other CB. This commitment was embodied in

the “Level Playing Field” clauses of the agreements with the CBs. Those provisions forbid

Fair Isaac to charge any CB a price that is lower than the price it charges any other CB. 73

            146.      The CBs advanced Fair Isaac’s interests by agreeing to the No Equivalent

Products and Dynamic Royalty Schedule clauses, which sabotaged the CBs’ own competing

VantageScore and gave FICO flexibility to raise prices. The Level Playing Field clause, in

return, protected the CB s from the risk that Fair Isaac would grant discounts that could expose


72
     Id., ¶ 54.
73
     See id., ¶ 59.
                                                   40
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them to the risk of losing market share to their competitors. As Fair Isaac has pointed out, the

CBs faced “the threat that independent scoring algorithm vendors, such as Fair Isaac, will

facilitate the entry of new Credit Bureaus.” 74 But by agreeing to the Level Playing Field

provisions, Fair Isaac deprived itself of the only way of carrying out that threat ‒ by offering

new credit bureaus prices lower than those it charges the incumbent CBs. Thus, the CBs have

secured from Fair Isaac a significant source of protection from future competition in the

market for the sale of credit reports to B2B Purchasers.

        147.     Moreover, the Level Playing Field clause reduced price competition among the

CBs. As Fair Isaac has pointed out, “a Credit Bureau could not be sure what its competitors’

costs were and, consequently, to what extent its competitors could cut the price of their Credit

Scores. This uncertainty could be used by Lenders to induce price competition among the

Credit Bureaus.” Fair Isaac claimed in its earlier lawsuit that the CBs sought to use

VantageScore so that “each Credit Bureau will know that it is paying exactly the same cost as

its competitors for its scoring algorithm, and Lenders will no longer be able to use this

uncertainty to play one Credit Bureau against the others.” 75 In a rich irony, the Level Playing

Field provision does exactly what Fair Isaac accused the CBs of trying to accomplish through

VantageScore: prevent their customers from playing one CB against the others, thereby

reducing price competition for credit reports.

        148.     The “Level Playing Field” section of the ADLA between Fair Isaac and

TransUnion is located in Section 9.16. This provision mandates that the prices that are made

available to TransUnion will also be made available to other CBs.

        149.     On information and belief, Fair Isaac’s contracts with Equifax and Experian

74
   See Third Amended Complaint, Dkt. 436, Fair Isaac Corporation v. Experian Info. Sols.,No. 06-CV-4112 (D.
Minn. Nov. 10, 2008), ¶ 140.
75
   Id., ¶ 138.
                                                      41
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include similar or identical “Level Playing Field” clauses.

           150.    Collectively, the “Dynamic Royalty Schedule” and “Level Playing Field”

clauses allow Fair Isaac to unilaterally increase the royalty prices it charges for FICO Scores.

           151.    The “Level Playing Field” and “Dynamic Royalty Schedule” clauses

disincentivize CBs from negotiating for lower royalty prices for Fair Isaac’s FICO Scores,

because the CBs will not obtain a competitive advantage if they were to obtain lower pricing

for royalty rates. The “Level Playing Field” clause does not provide Fair Isaac with any rights

it does not have. Fair Isaac could offer the same royalty rates to all CBs absent the clause. The

“Level Playing Field” clause exists to inform the CBs that negotiating for lower prices is

useless.

           152.    Notably, while TransUnion complained in its suit against Fair Isaac that the

Level Playing Field provision raised costs for the CBs, it admitted that, to the extent the

provision resulted in higher rates, those costs were ultimately also borne by “banks [and]

mortgage lenders” (i.e., B2B purchasers). 76 While the CBs’ agreement to the restrictive terms

was against their self-interest, much of the cost was borne by B2B purchasers, while the CBs

were otherwise compensated by the Level Playing Field provisions.

           153.    Fair Isaac and the CBs have used the “Level Playing Field” and “Dynamic

Royalty Schedule” provisions in their contracts for anticompetitive purposes and to extract

monopoly prices from all business customers in the B2B Credit Score Market.

                   3.      Fair Isaac’s Negative Advertising Campaign in Furtherance of its
                           Scheme

           154.    Having successfully induced the CBs to agree with Fair Isaac and with each

other to impose restrictions on VantageScore’s ability to compete with FICO, Fair Isaac also

76
     TransUnion Counterclaims, ¶60.
                                                 42
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engaged in an advertising campaign that disseminated false and misleading information with

the goal of maintaining its monopoly in the B2B Credit Score Market. In advertisements,

letters, and blog posts, Fair Isaac disparaged VantageScore and other credit scoring systems by

calling them “FAKO” scores, falsely claimed that VantageScore and other alternative scoring

systems do not reliably measure creditworthiness, and misrepresented the information

considered by VantageScore and other credit scoring systems.

           155.    For example, on December 12, 2017 Fair Isaac took out a full-page

advertisement in the Wall Street Journal addressed to “Lenders, Policymakers and Consumer

Advocates.” This advertisement that attacked VantageScore without identifying it by name.

The advertisement contrasted Fair Isaac, which “is not owned by the credit bureaus” and

whose FICO Scores have been used “by lenders and securitization investors for decades,” with

an alternative credit score, which the is owned by CBs. According to the advertisement, the

credit score owned by CBs (impliedly VantageScore) is less reliable than FICO Scores in

evaluating credit risk and does not use “sound practices” or “science-based credit evaluation.”

This advertisement conveyed Fair Isaac’s false message that VantageScore is “Weakening

scoring standards, [and] harm[ing] consumers, and the lending system.” 77

           156.    Furthermore, the Wall Street Journal advertisement directed readers to “Learn

more at FICO.com/independent,” a Fair Isaac-owned website that links visitors to articles and

blog posts that disparage VantageScore by name. One of these blog post claims: “Despite

claims by VantageScore, weakening the minimum scoring criteria will not empower millions

of low-risk mortgage credit seekers.”

           157.    Another example or Fair Isaac’s false and misleading advertising campaign can



77
     TransUnion Counterclaims, ¶ 66
                                                  43
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be found on its website where a blog post claims that “Research results consistently showed that

scoring models relying solely on sparse or old credit data were weak and did a poor job

forecasting future performance.” This statement is false and misleading. VantageScore and

other scoring models consider an individual consumer or business’s full credit and financial

history, even if the consumer has not used a traditional credit line in the last six months.

Further, studies have shown that VantageScore and other competing credit scoring models are

strongly predictive. 78

        158.     A blog post written by Joanne Gaskin (“Gaskin”), the Vice President of Scores

and Analytics at Fair Isaac, claims that whereas “FICO Score 9 differentiates medical from

non-medical collections,” “VantageScore does not.” 79 TransUnion responded “This statement

conveys the false message that VantageScore does not differentiate medical from non-medical

collections. In fact, VantageScore 3.0 was the first credit scoring system to address medical

debt. VantageScore 4.0, the most recent version of VantageScore, distinguishes medical

collection accounts from non-medical collection accounts and penalizes medical collections

less than non- medical ones.” 80

        159.     Similarly, Fair Isaac fought hard against the efforts to create a process that

would allow alternative credit scoring models to be validated and approved by Fannie Mae

and Freddie Mac when they purchase mortgages. Such a rule would clearly benefit

VantageScore, which could then attempt to break Fair Isaac’s 100% monopoly in this sector.

Public sentiment favored this move. 81 Fair Isaac did not. Indeed, it deployed Gaskin to give


78
   See VantageScore Report, supra n.44, at 2, 4, 5-6
79
   Joanne Gaskin, FICO BLOG, Truth Squad: Is FICO Score 700 the Same as VantageScore 700? (Feb. 6, 2017),
https://www.fico.com/blogs/truth-squad-fico-score-700-same-vantagescore-700.
80
   TransUnion Counterclaims, ¶ 71.
81
   See Bloomberg Business News, This Monopoly Is Holding Back the Mortgage Market,(Jan. 18, 2018),
https://www.bloomberg.com/opinion/articles/2018-01-18/this-credit-score- monopoly-is-holding-back-the-mortgage-
                                                      44
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press interviews saying that Fair Isaac’s alleged monopoly is a “myth.” 82 Fair Isaac also hired

a research group to present the argument that VantageScore’s promise of home ownership to

millions more Americans was deceptive and that the company’s ownership by the CBs was

anticompetitive, an argument that failed during the trademark litigation discussed above. 83 The

FHFA ultimately adopted a final rule that permitted rival generators of credit scores to apply

to serve Fannie Mae and Freddie Mac, saying that “FHFA has concluded that allowing all

credit score model developers to submit applications is more consistent with [the applicable

statute], which does not prevent any credit score model from being considered for potential

use in the mortgage market.” 84

        160.     Fair Isaac’s smear campaign against VantageScore was successful in sowing

doubt about the reliability and accuracy of credit scoring alternatives to FICO Scores. For

example, a media outlet devoted to personal finance issues, thebalance.com, posted in

February 2017 that, “If you purchased your credit score from anywhere but MyFICO.com,

then it’s a FAKO score.”

        161.     The public statements described in the foregoing paragraphs were transmitted

to and seen by a substantial number of businesses and consumers nationwide.

        F.       Fair Isaac’s Anticompetitive Conduct Has Harmed Competition

        162.     Fair Isaac’s anticompetitive conduct has harmed and continues to harm

business customers in the B2B Credit Score Market. Fair Isaac’s unlawful conduct, including


market; Paul Weinstein, Jr., No Company Should Havea Monopoly on Credit Scoring, The Hill (Dec. 7,2017),
https://thehill.com/opinion/finance/363755-no-company-should-have-a-monopoly-on-credit- scoring.
82
   FICO: The ‘Credit Score Monopoly’ is a Myth, DS News (Dec. 18, 2015),https://dsnews.com/news/12-18-
2015/fico-the-credit-score-monopoly-is-a-myth.
83
   Quantilytic LLC, Risks and Opportunities in Expanding Mortgage Credit Availability Through New Credit
Scores, at 22 (Dec. 2017), https://www.progressivepolicy.org/wp-
content/uploads/2017/12/UpdatedCreditScoring_2017.pdf (research sponsored by Fair Isaac).
84
   Fed. Hous. Fin. Agency, Validation and Approval of Credit Score Models Final Rule, 12 C.F.R. 1254 (Aug. 16,
2019).
                                                      45
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conduct taken in concert with the CBs, has foreclosed competition in the B2B Credit Score

Market by eliminating fair opportunities for the major CBs to sell VantageScore or any other

competing credit score product to B2B purchasers. This anticompetitive and exclusionary

conduct has maintained Fair Isaac’s monopoly and allowed it to charge supracompetitive

prices for B2B credit scores to B2B purchasers during the Class Period.

           163.   FICO’s Scores business operates with an incredibly high operating margin of

86%. 85 To maximize its monopoly rent, Fair Isaac has increased its prices for FICO Scores

significantly in recent years. In 2018, FICO implemented a special pricing increase for

mortgage customers that was an approximately 75% increase from $0.06/score to

$0.10/score. 86 In the following two years, FICO again rolled out special pricing increases to its

auto customers and to some credit card customers. 87

           164.   Fair Isaac’s conduct, in concert with the CBs, including through the agreements

contained in contracts between the CBs and Fair Isaac, has reduced choice for business

customers in the B2B Credit Score Market and frustrated the ability of business customers to

purchase VantageScore or any other competing credit score. As a direct and proximate result

of Fair Isaac’s exclusionary and anticompetitive conduct, Fair Isaac has been able to indirectly

charge Plaintiffs and all similarly situated businesses supracompetitive prices for credit scores.

As indirect buyers of Fair Isaac’s FICO Scores, Plaintiffs and all similarly situated business

have been harmed by Fair Isaac’s supracompetitive royalty prices.

           165.   Fair Isaac’s sales in the B2B Credit Score Market over the past five fiscal years

have been extremely profitable. Fair Isaac maintains a supracompetitive profit margin on the

 Jose Karlo Mari Tottoc, Yahoo! Finance, Headwaters Capital: ‘Fair Isaac Corp (FICO) Can Grow Its Free Cash
85

Flow by 15-20% Annually’ (Jan. 23, 2021), https://finance.yahoo.com/ news/headwaters-capital-fair-isaac-corp-
202237954.html.
86
     Id.
87
     Id.
                                                     46
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revenue it earns from its Business Credit Scoring Products. Plaintiffs and similarly situated

businesses have vastly overpaid for FICO Scores due to Fair Isaac’s anticompetitive activities.

V.       CLASS ACTION ALLEGATIONS

         166.     Plaintiffs bring this action on behalf of themselves and as a class action under

Rule 23(a) and (b)(2) of the Federal Rules of Civil Procedure seeking equitable and injunctive

relief on behalf of the following class (the “Nationwide Class”):

                  All end-users who purchased a FICO Score in the B2B Credit
                  Score Market from anyone other than Fair Isaac and/or a Credit
                  Bureau from October 1, 2006 through the present (the “Class
                  Period”).

         167.     Plaintiffs also bring this action on behalf of themselves and as a class action

under Rule 23(a) and (b)(3) of the Federal Rules of Civil Procedure seeking damages pursuant

to state antitrust, unfair competition, and consumer protection laws, as well as the law of unjust

enrichment on behalf of the following class (the “Damages Class”):

                  All end-users who in Indirect Purchaser States 88 purchased a FICO
                  Score in the B2B Credit Score Market from anyone other than Fair
                  Isaac and/or a Credit Bureau from October 1, 2006 through the
                  present (the “Class Period”).

         168.     The Nationwide Class and the Damages Class are referred to herein as the

“Classes.”

         169.     These class definitions exclude any and all natural persons who are not members

of these Classes by their definitions. Also excluded from the Classes are Defendants, their

parent companies, subsidiaries and affiliates, any co-conspirators, federal governmental entities

and instrumentalities of the federal government, states and their subdivisions, agencies and

instrumentalities, and persons who purchased FICO Scores directly or for resale.
88
  The “Indirect Purchaser States” are the states and Districts listed in the Seventh, Eighth and Ninth Claims for
Relief.

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       170.    While Plaintiffs do not know the exact number of the members of the Classes,

Plaintiffs believe there are at least thousands of members in each Class. Members of the Classes

are so numerous and geographically dispersed that joinder is impracticable. Further, members

of the Classes are readily identifiable from information and records in the possession of

Defendants.

       171.    Plaintiffs’ claims are typical of the claims of the members of the Classes, and

Plaintiffs will fairly and adequately protect the interests of the Classes. Plaintiffs and members

of the Classes were damaged by the same wrongful conduct of Defendants.

       172.    The interests of Plaintiffs are coincident with, and not antagonistic to, those of

members of the Classes.

       173.    Plaintiffs are represented by counsel who are competent and experienced in the

prosecution of antitrust and class action litigation.

       174.    Questions of law and fact common to the members of the Classes predominate

over questions that may affect only individual Class members, thereby making damages with

respect to members of the Classes as a whole appropriate. Questions of law and fact common to

members of the Classes include, but are not limited to:

                a.     whether Fair Isaac monopolized, and whether Defendants conspired to

       monopolize or unreasonably restrain, trade in violation of federal law;

                b.     whether Fair Isaac monopolized, and whether Defendants conspired to

       monopolize or unreasonably restrain, trade in violation of certain state antitrust laws;

                c.     whether Defendants engaged in unfair or deceptive trade practices in

       violation of certain state laws;

                d.     whether Defendants were unjustly enriched to the detriment of Plaintiffs


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       and members of the Classes, thereby entitling Plaintiffs and members of the Classes to

       disgorgement of all benefits derived by Defendants;

                e.     what was the duration of the alleged unlawful conduct;

                f.     what injury was suffered by Plaintiffs and members of the Classes;

                g.     what damages were suffered by Plaintiffs and members of the Classes;

       and

                h.     whether Defendants acted or refused to act on grounds generally

       applicable to members of the Classes, thereby making appropriate final injunctive relief

       or corresponding declaratory relief with respect to members of the Classes as a whole.

       175.     Class action treatment is a superior method for the fair and efficient adjudication

of the controversy. Such treatment will permit a large number of similarly situated persons to

prosecute their common claims in a single forum simultaneously, efficiently, and without the

unnecessary duplication of evidence, effort, or expense that numerous individual actions would

require.

       176.     The benefit of proceeding through the class mechanism, including providing

injured persons or entities a method for obtaining redress on claims that could not practicably

be pursued individually, substantially outweighs potential difficulties in management of this

class action.

       177.     The prosecution of separate actions by individual members of the Classes would

create the risk of inconsistent or varying adjudications, establishing incompatible standards of

conduct for Defendants.

       178.     Plaintiffs know of no special difficulty to be encountered in the maintenance of

this action that would preclude its maintenance as a class action.


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        179.    Defendants have acted on grounds generally applicable to the Classes, thereby

making final injunctive relief appropriate with respect to the Classes as a whole.

        180.    Plaintiffs have defined members of the Classes based on currently available

information and hereby reserves the right to amend the definition of members of the Class,

including, without limitation, the Class Period.

VI.     STATUTES OF LIMITATION AND TOLLING

        181.    Plaintiffs had no knowledge of the scheme or conspiracy alleged herein, or of

facts sufficient to place them on inquiry notice of the claims set forth herein, until (at the

earliest) February 12, 2018, the date that TransUnion filed its Counterclaims against Fair Isaac.

Prior to that time, no information in the public domain or available to Plaintiffs suggested that

any Defendant was involved in an anticompetitive scheme or conspiracy involving the

distribution of credit scores.

        182.    Defendants repeatedly and expressly stated throughout the Class Period,

including on their public websites, that they maintained policies that prohibited the type of

anticompetitive conduct alleged in this Consolidated Complaint. For example:

                         a.      Fair Isaac’s Code of Business Conduct and Ethics states: “We

                seek to outperform our competition fairly and honestly. We seek competitive

                advantages through superior performance, never through unethical or illegal

                business practices.” 89

                         b.      Equifax’s Code of Ethics and Business Conduct states: “We

                believe in free and open competition and never engage in improper practices that




89
  Fair Isaac, Code of Business Conduct and Ethics, https://fico.gcs-web.com/static-files/ed6519a4-2148-4166-
82f2-4636e0713531.
                                                     50
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                  may limit competition.”90

                           c.       Experian’s Code of Conduct states: “We will not engage in any

                  form of agreement with competitors to fix prices, rig bids, allocate customers

                  and/or restrict supply in the marketplace.” “We will comply with all applicable

                  laws, rules, and regulations in every jurisdiction in which we operate, including

                  but not limited to . . . antitrust/competition.” 91

                           d.       TransUnion’s Code of Business Conduct states: “All TransUnion

                  Team Members must understand the extent to which competition and antitrust

                  laws affect their daily work. You must fully and consistently comply with

                  applicable competition and antitrust laws. 92

         183.     It was reasonable for Plaintiffs and members of the Classes to believe that

Defendants were complying with their own policies.

         184.     Moreover, on information and belief, Plaintiffs and members of the Classes

could not have discovered the anticompetitive provisions in the licensing agreements between

Fair Isaac and the Credit Bureaus, such as the TransUnion ADLA, as those agreements are

subject to confidentiality provisions that have prohibited the credit reporting agencies from

disclosing their terms to third parties absent written authorization from Fair Isaac. 93

         185.      For these reasons, the statutes of limitations applicable to Plaintiffs’ claims did

not begin to run until the date that TransUnion filed its counterclaims against Fair Isaac and

90
   Equifax, Code of Ethics and Business Conduct (Aug. 2019), https://assets.equifax.com/
assets/corp/code_of_ethics.pdf.
91
   Experian, Our Code of Conduct (2019), https://www.experian.com/content/dam/
marketing/na/assets/corp/procurement-documents/experian-code-of-conduct-final-board- approved.pdf.
92
   TransUnion, Code of Business Conduct (2017), https://investors.transunion.com/~/media/Files/T/Transunion-
IR/governance-documents/code-of-business-conduct-150618.pdf.
93
   See Dkt. 32, Motion for Leave to File Under Seal, Fair Isaac Corp. v. Trans Union LLC, No. 1:17-cv-08318 (N.D.
Ill. Jan. 22, 2018), ¶ 2 (“contracts between the Parties . . . are subject to confidentiality provisions that prohibit
TransUnion from disclosing the terms of the contract tothird parties absent written authorization from Fair Isaac”).

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have been tolled with respect to the claims that Plaintiffs have alleged in this Complaint.

       186.      The doctrine of fraudulent concealment tolled the statutes of limitations on

Plaintiffs’ claims. During the Class Period, Defendants wrongfully and affirmatively concealed

their unlawful conduct. Plaintiffs and members of the Classes had no knowledge of Defendants’

unlawful scheme and could not have discovered the scheme through the exercise of reasonable

diligence until (at the earliest) February 12, 2018, when TransUnion filed its Counterclaims

against Fair Isaac.

       187.      By their very nature, antitrust violations are inherently self-concealing.

Throughout the Class Period, Defendants engaged in a secret conspiracy that did not put

Plaintiffs or the Classes on inquiry notice that there was a conspiracy that raised the prices for

credit scores above the competitive level. Credit scores are not exempt from antitrust regulation,

and thus, before TransUnion filed its Counterclaims against Fair Isaac, Plaintiffs reasonably

considered the market to be competitive. Moreover, Defendants employed deceptive tactics and

techniques to avoid detection of, and to conceal, their anticompetitive scheme.

       188.      Defendants wrongfully and affirmatively concealed the existence of their

anticompetitive scheme and conspiracy from Plaintiffs and members of the Classes by, among

other things:

                       a.      agreeing to confidentiality provisions that have prohibited the

                CBs from disclosing the anticompetitive provisions in the licensing agreements

                between Fair Isaac and the CBs, such as the TransUnion ADLA;

                       b.      concealing the fact that Fair Isaac and the CBs agreed, through

                the “No Equivalent Products” clause, not to internally develop a competing

                credit scoring system that is aligned with FICO Scores or uses too many of the


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               same reason codes;

                       c.     concealing the fact that the purpose of the “No Equivalent

               Products” clause was to prevent the CBs from offering credit scoring products

               that would allow business-consumers a legitimate choice between FICO Scores

               and VantageScore or another alternative scoring product, thereby sustaining

               FICO Scores dominance in the market;

                       d.     concealing the fact that Fair Isaac and the CBs agreed, through

               the “Level Playing Field” clauses, that prices made available to one credit

               bureau be made available to all the others;

                       e.     concealing the fact that the purpose and effect of the “Level

               Playing Field” and “Dynamic Royalty Schedule” clauses is to disincentivize

               each CB from negotiating lower royalty prices for FICO Scores; and

                       f.     engaging in a false and misleading campaign about VantageScore

               Solutions and VantageScore to misrepresent VantageScore’s viability as a

               competitor to FICO Scores.

       189.     As a result of Defendants’ affirmative acts, misrepresentations, and

nondisclosures as alleged herein, any applicable statutes of limitation on claims asserted by

Plaintiffs and members of the Classes have been and are tolled, and Defendants are equitably

estopped from raising statutes of limitations as a defense.

VII.   DEFENDANTS’ ACTIONS CONSTITUTE A CONTINUING VIOLATION

       190.     In addition, and in the alternative, this Complaint alleges a continuing course of

conduct (including conduct within the limitations periods), and Defendants’ unlawful conduct

has inflicted continuing and accumulating harm within the applicable statute of limitations.


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       191.    A claim accrued for the Class each time FICO Scores were sold to the Class at

prices artificially inflated by Defendants’ anticompetitive conduct. Each sale of FICO Scores at

a supracompetitive price constituted another overt act in furtherance of Defendants’ continuing

anticompetitive scheme. Moreover, Defendants’ statements and actions described above

demonstrate that throughout the Class Period they engaged in new overt acts that further served

the objectives of their anticompetitive scheme.

       192.    Defendants’ new overt acts were more than the inertial consequences of

Defendants’ initial violation. Rather, their acts were new and independent acts that perpetuated

their agreement and kept it current with market conditions, including by renewing agreements,

or entering into new agreements, with anticompetitive terms. Defendants continuously renewed

and refined their agreement to reflect market conditions. With each refinement of their

agreement, Defendants inflicted new and accumulating injury on Plaintiffs and members of the

Class. For instance, as alleged above, Fair Isaac exploited the ADLA Royalty Schedule

Provision in 2015, 2016, and 2017 to introduce entirely new and non-negotiated contract terms,

royalty categories, and definitions that expanded the anticompetitive scheme.

       193.    Therefore, Plaintiffs and members of the Damages Class are entitled to recover

damages they suffered during any applicable limitations period.

VIII. CLAIMS FOR RELIEF

                               FIRST CLAIM FOR RELIEF:
                      UNREASONABLE RESTRAINT OF TRADE
              Violation of Section 1 of the Sherman Act 15 U.S.C. §§ 1, 3
                   (On behalf of Plaintiffs and the Nationwide Class
                           for Injunctive and Equitable Relief)

       194.    Plaintiffs incorporate by reference the allegations set forth in the preceding

paragraphs of this Complaint.


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       195.     This Claim is brought against all Defendants.

       196.     The relevant period of this Claim is from May 2013 through the date by which

the anticompetitive effects of Defendants’ violations of law shall have ceased.

       197.     The B2B Credit Score Market in the United States and its territories

constitutes the relevant market.

       198.     Fair Isaac has had and continues to have at least a 90% market share in the B2B

Credit Score Market in the United States and its territories.

       199.     Fair Isaac has had and continues to have monopoly power in the B2B Credit

Score Market.

       200.     Fair Isaac has had and continues to have the power to control prices and/or

exclude competition in the B2B Credit Score Market.

       201.     Defendants entered into and engaged in a contract, combination, or conspiracy in

unreasonable restraint of trade in violation of Sections 1 and 3 of the Sherman Act (15 U.S.C.

§§ 1, 3). Specifically, Fair Isaac entered into agreements with Equifax, Experian, and

TransUnion that contained anticompetitive terms whereby each CB agreed with Fair Isaac to

contractual limitations that harmed the ability of the CBs to market VantageScore, a competing

product, to Plaintiffs and members of the Class and forestalled price competition in the B2B

Credit Score Market. The CBs agreed to those anticompetitive terms and complied with those

terms with the knowledge that the other CBs would also agree to, and comply with, those terms.

The CBs and Fair Isaac thus knowingly formed a scheme to unreasonably restrain trade in the

B2B Credit Score Market.

       202.     The agreements between Fair Isaac and each of the CBs had substantial

anticompetitive effects. The agreements effectively excluded VantageScore Solutions and every

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other competing provider of credit scores from competing for a substantial portion of

transactions in the relevant market.

       203.    The agreements between Fair Isaac and each of the CBs raised prices for FICO

Scores above the competitive level and otherwise injured competition without any offsetting

procompetitive benefit to business customers.

       204.    The acts done by Fair Isaac and each of the CBs as part of, and in furtherance of,

their contract, combination, or conspiracy were authorized ordered, or done by their officers,

agents, employees, or representatives while actively engaged in the management of its affairs.

       205.    The anticompetitive acts were directed at the B2B Credit Score Market in the

United States and had a substantial and foreseeable effect on interstate commerce and injured

competition nationwide.

       206.    Defendants’ exclusionary and anticompetitive acts have injured and will

continue to injure competition in this market.

       207.    Plaintiffs and members of the Nationwide Class have been injured and will

continue to be injured in their business and property, and will continue to suffer such damages

if Defendants do not cease their anticompetitive conduct.

       208.    Plaintiffs and all other members of the Nationwide Class are threatened with

future injury to their business and property by reason of Defendants’ continuing violation of

Sections 1 and 3 of the Sherman Act within the meaning of Section 16 of the Clayton Antitrust

Act, 15 U.S.C. § 26.

       209.    The alleged contract, combination, or conspiracy is a per se violation of the

federal antitrust laws because they are agreements between and among Fair Isaac and the CBs,

all of whom are horizontal competitors who compete for the sale of credit scores in the B2B


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Credit Score Market. Each of the CBs was aware of Fair Isaac’s imposition of these restrictive

terms on the other CBs, knew that each was agreeing to those terms, and knew that its and the

other CBs’ acceptance of those terms would maintain or advance Fair Isaac’s monopoly, and

was thus an act against their economic self-interest because it undermined the ability of

VantageScore to compete. The CBs also knew that the Level Playing Field requirement in their

agreements with Fair Isaac was meant to and did forestall price competition among the CBs in

the market for credit reports, and hence was mutually beneficial for the CBs.

       210.    In the alternative, these agreements violate Sections 1 and 3 of the Sherman Act

(15 U.S.C §§ 1, 3) under a Rule of Reason analysis and the pro-competitive benefits do not

outweigh the anticompetitive effects.

211.           Plaintiffs and members of the Nationwide Class are entitled to an injunction

against Defendants, preventing and restraining the violations alleged herein.

                             SECOND CLAIM FOR RELIEF:
                      UNREASONABLE RESTRAINT OF TRADE
                 Violation of Section 1 of the Sherman Act 15 U.S.C. §§ 1, 3
                   (On behalf of Plaintiffs and the Nationwide Class
                          for Injunctive and Equitable Relief)

       212.    Plaintiffs incorporate by reference the allegations set forth in the preceding

paragraphs of this Complaint.

       213.    This Claim is brought against Defendants Fair Isaac and Experian.

       214.    The relevant period of this Claim is from May 2013 through the date by which

the anticompetitive effects of Defendants’ violations of law shall have ceased.

       215.    The B2B Credit Score Market in the United States and its territories

constitutes the relevant market.

       216.    Fair Isaac has had and continues to have at least a 90% market share in the B2B


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Credit Score Market in the United States and its territories.

       217.     Fair Isaac has had and continues to have monopoly power in the B2B Credit

Score Market.

       218.     Fair Isaac has had and continues to have the power to control prices and/or

exclude competition in the B2B Credit Score Market.

       219.     Fair Isaac entered into an agreement with Experian that contained

anticompetitive terms whereby Experian agreed with Fair Isaac to contractual limitations that

harmed the ability of Experian to market VantageScore, a competing product, to Plaintiffs and

members of the Class and forestalled price competition in the B2B Credit Score Market.

       220.     The agreement between Fair Isaac and Experian had substantial anticompetitive

effects. The agreement effectively excluded VantageScore and every other competing provider

of credit scores from competing for a substantial portion of transactions in the relevant market.

       221.     The agreement between Fair Isaac and Experian raised prices for FICO Scores

above the competitive level and otherwise injured competition without any offsetting

procompetitive benefit to business customers.

       222.     The acts done by Fair Isaac and Experian as part of, and in furtherance of, its

contract, combination, or conspiracy were authorized ordered, or done by its officers, agents,

employees, or representatives while actively engaged in the management of its affairs.

       223.     The anticompetitive acts were directed at the B2B Credit Score Market and had a

substantial and foreseeable effect on interstate commerce and injured competition nationwide.

       224.     Fair Isaac’s and Experian’s exclusionary and anticompetitive acts have injured

and will continue to injure competition in this market.

       225.     Plaintiffs and members of the Nationwide Class have been injured and will

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continue to be injured in their business and property and will continue to suffer such damages if

Fair Isaac and Experian do not cease their anticompetitive conduct.

       226.    Plaintiffs and all other members of the Nationwide Class are threatened with

future injury to their business and property by reason of Fair Isaac’s and Experian’s continuing

violation of Sections 1 and 3 of the Sherman Act within the meaning of Section 16 of the

Clayton Antitrust Act, 15 U.S.C. § 26.

       227.    The alleged contract, combination, or conspiracy is a per se violation of the

federal antitrust laws because Fair Isaac and Experian are horizontal competitors who compete

for the sale of credit scores in the B2B Credit Score Market.

       228.    In the alternative, the anticompetitive agreement between Fair Isaac and

Experian violates Sections 1 and 3 of the Sherman Act (15 U.S.C §§ 1, 3) under a Rule of

Reason analysis.

       229.    In addition to competing with Experian in the credit scores market, Fair Isaac

licenses its algorithm to Experian, which uses the algorithm to calculate credit scores for B2B

Purchasers. As a result of the exclusionary contract terms, Experian discourages its customers

from using or purchasing access to competing credit scores. Because Experian has substantial

market power, and because Experian knows that the other CBs have agreed to the same

provisions, it can harm its customers in this way without taking the risk that they will switch to

competing CBs. In return for conspiring with Fair Isaac to restrain trade in the credit scores

market, Experian benefits from the Level Playing Field clause, which guarantees that Fair Isaac

will not favor Experian’s competitors and reduces competition among the CBs in the B2B

credit reports market.

       230.    Plaintiffs and members of the Nationwide Class are entitled to an injunction


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against Defendants, preventing and restraining the violations alleged herein.

                                THIRD CLAIM FOR RELIEF:
                        UNREASONABLE RESTRAINT OF TRADE
                  Violation of Section 1 of the Sherman Act 15 U.S.C. §§ 1, 3
                          (On behalf of Plaintiffs and the Nationwide
                           Class for Injunctive and Equitable Relief)

       231.     Plaintiffs incorporate by reference the allegations set forth in the preceding

paragraphs of this Complaint.

       232.     This Claim is brought against Defendants Fair Isaac and Equifax.

       233.     The relevant period of this Claim is from November 2013 through the date by

which the anticompetitive effects of Defendants’ violations of law shall have ceased.

       234.     The B2B Credit Score Market in the United States and its territories

constitutes the relevant market.

       235.     Fair Isaac has had and continues to have at least a 90% market share in the B2B

Credit Score Market in the United States and its territories.

       236.     Fair Isaac has had and continues to have monopoly power in the B2B Credit

Score Market.

       237.     Fair Isaac has had and continues to have the power to control prices and/or

exclude competition in the B2B Credit Score Market.

       238.     Fair Isaac entered into an agreement with Equifax that contained anticompetitive

terms whereby Equifax agreed with Fair Isaac to contractual limitations that harmed the ability

of Equifax to market VantageScore, a competing product, to Plaintiffs and members of the

Nationwide Class and forestalled price competition in the B2B Credit Score Market.

       239.     The agreement between Fair Isaac and Equifax had substantial anticompetitive

effects. The agreement effectively excluded VantageScore and every other competing provider


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of credit scores from competing for a substantial portion of transactions in the relevant market.

       240.    The agreement between Fair Isaac and Equifax raised prices for FICO Scores

above the competitive level and otherwise injured competition without any offsetting

procompetitive benefit to business customers.

       241.    The acts done by Fair Isaac and Equifax as part of, and in furtherance of, its

contract, combination, or conspiracy were authorized ordered, or done by its officers, agents,

employees, or representatives while actively engaged in the management of its affairs.

       242.    The anticompetitive acts were directed at the B2B Credit Score Market and had a

substantial and foreseeable effect on interstate commerce and injured competition nationwide.

       243.    Fair Isaac’s and Equifax’s exclusionary and anticompetitive acts have injured

and will continue to injure competition in this market.

       244.    Plaintiffs and members of the Nationwide Class have been injured and will

continue to be injured in their business and property and will continue to suffer such damages if

Fair Isaac and Equifax do not cease their anticompetitive conduct.

       245.    Plaintiffs and all other members of the Nationwide Class are threatened with

future injury to their business and property by reason of Fair Isaac’s and Equifax’s continuing

violation of Sections 1 and 3 of the Sherman Act within the meaning of Section 16 of the

Clayton Antitrust Act, 15 U.S.C. § 26.

       246.    The alleged contract, combination, or conspiracy is a per se violation of the

federal antitrust laws because Fair Isaac and Equifax are horizontal competitors who compete

for the sale of credit scores in the B2B Credit Score Market.

       247.    In the alternative, the agreement between and Fair Isaac and Equifax violates

Sections 1 and 3 of the Sherman Act (15 U.S.C §§ 1, 3) under a Rule of Reason analysis.


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       248.    In addition to competing with Equifax in the credit scores market, Fair Isaac

licenses its algorithm to Equifax, which uses the algorithm to calculate credit scores for B2B

Purchasers. As a result of the exclusionary contract terms, Equifax discourages its customers

from using or purchasing access to competing credit scores. Because Equifax has substantial

market power, and because Equifax knows that the other CBs have agreed to the same

provisions, it can harm its customers in this way without taking the risk that they will switch to

competing CBs. In return for conspiring with Fair Isaac to restrain trade in the credit scores

market, Equifax benefits from the Level Playing Field clause, which guarantees that Fair Isaac

will not favor Equifax’s competitors and reduces competition among the CBs in the B2B credit

reports market.

       249.    Plaintiffs and members of the Nationwide Class are entitled to an injunction

against Defendants, preventing and restraining the violations alleged herein.

                              FOURTH CLAIM FOR RELIEF:
                        UNREASONABLE RESTRAINT OF TRADE
                  Violation of Section 1 of the Sherman Act 15 U.S.C. §§ 1, 3
                      (On behalf of Plaintiffs and the Nationwide Class
                             for Injunctive and Equitable Relief)

       250.    Plaintiffs incorporate by reference the allegations set forth in the preceding

paragraphs of this Complaint.

       251.    This Claim is brought against Defendants Fair Isaac and TransUnion.

       252.    The relevant period of this Claim is from February 2015 through the date by

which the anticompetitive effects of Defendants’ violations of law shall have ceased.

       253.    The B2B Credit Score Market in the United States and its territories

constitutes the relevant market.

       254.    Fair Isaac has had and continues to have at least a 90% market share in the B2B


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Credit Score Market in the United States and its territories.

       255.     Fair Isaac has had and continues to have monopoly power in the B2B Credit

Score Market.

       256.     Fair Isaac has had and continues to have the power to control prices and/or

exclude competition in the B2B Credit Score Market.

       257.     Fair Isaac entered into an agreement with TransUnion that contained

anticompetitive terms whereby TransUnion agreed with Fair Isaac to contractual limitations that

harmed the ability of TransUnion to market VantageScore, a competing product, to Plaintiffs

and members of the Nationwide Class and forestalled price competition in the B2B Credit

Score Market.

       258.     The agreement between Fair Isaac and TransUnion had substantial

anticompetitive effects. The agreement effectively excluded VantageScore and every other

competing provider of credit scores from competing for a substantial portion of transactions in

the relevant market.

       259.     The agreement between Fair Isaac and TransUnion raised prices for FICO

Scores above the competitive level and otherwise injured competition without any offsetting

procompetitive benefit to business customers.

       260.     The acts done by Fair Isaac and TransUnion as part of, and in furtherance of, its

contract, combination, or conspiracy were authorized ordered, or done by its officers, agents,

employees, or representatives while actively engaged in the management of its affairs.

       261.     The anticompetitive acts were directed at the B2B Credit Score Market and had a

substantial and foreseeable effect on interstate commerce and injured competition nationwide.

       262.     Fair Isaac’s and TransUnion’s exclusionary and anticompetitive acts have


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injured and will continue to injure competition in this market.

       263.    Plaintiffs and members of the Nationwide Class have been injured and will

continue to be injured in their business and property and will continue to suffer such damages if

Fair Isaac and TransUnion do not cease their anticompetitive conduct.

       264.    Plaintiffs and all other members of the Nationwide Class are threatened with

future injury to their business and property by reason of Fair Isaac’s and TransUnion’s

continuing violation of Sections 1 and 3 of the Sherman Act within the meaning of Section 16

of the Clayton Antitrust Act, 15 U.S.C. § 26.

       265.    The alleged contract, combination, or conspiracy is a per se violation of the

federal antitrust laws because Fair Isaac and TransUnion are horizontal competitors who

compete for the sale of credit scores in the B2B Credit Score Market.

       266.    In the alternative, the agreement between and Fair Isaac and TransUnion violates

Sections 1 and 3 of the Sherman Act (15 U.S.C §§ 1, 3) under a Rule of Reason analysis.

       267.    In addition to competing with TransUnion in the credit scores market, Fair Isaac

licenses its algorithm to TransUnion, which uses the algorithm to calculate credit scores for

B2B Purchasers. As a result of the exclusionary contract terms, TransUnion discourages its

customers from using or purchasing access to competing credit scores. Because TransUnion has

substantial market power, and because TransUnion knows that the other CBs have agreed to the

same provisions, it can harm its customers in this way without taking the risk that they will

switch to competing CBs. In return for conspiring with Fair Isaac to restrain trade in the credit

scores market, TransUnion benefits from the Level Playing Field clause, which guarantees that

Fair Isaac will not favor TransUnion’s competitors and reduces competition among the CBs in

the B2B credit reports market.


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       268.    Plaintiffs and members of the Nationwide Class are entitled to an injunction

against Defendants, preventing and restraining the violations alleged herein.

                    FIFTH CLAIM FOR RELIEF: MONOPLIZATON
                   Violation of Section 2 of the Sherman Act 15 U.S.C. § 2
                      (On behalf of Plaintiffs and the Nationwide Class
                             for Injunctive and Equitable Relief)

       269.    Plaintiffs incorporate by reference the allegations set forth in the preceding

paragraphs of this Complaint.

       270.    This Claim is brought against Defendant Fair Isaac.

       271.    The B2B Credit Score Market in the United States and its territories

constitutes the relevant market.

       272.    Fair Isaac has had and continues to have at least a 90% market share in the B2B

Credit Score Market.

       273.    Fair Isaac has had and continues to have monopoly power in B2B Credit Score

Market.

       274.    Fair Isaac has had and continues to have the power to control prices and/or

exclude competition in the B2B Credit Score Market.

       275.    Fair Isaac entered Isaac entered into agreements with Equifax, Experian, and

TransUnion that contained anticompetitive terms that were designed to eliminate Fair Isaac’s

competitors and to keep prices for FICO Scores artificially high.

       276.    The agreements between Fair Isaac and the CBs had substantial anticompetitive

effects. The agreements effectively excluded VantageScore Solutions and every other

competing provider of credit scores from competing in the market for B2B credit scores in the

United States in violation of Section 2 of the Sherman Act (15 U.S.C. § 2).

       277.    Fair Isaac has demonstrated its ability to control prices and exclude competition
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by raising prices without a corresponding increase in demand to supracompetitive levels.

       278.    Fair Isaac’s monopoly is not due to growth or development because of a superior

product, business acumen, or historic accident.

       279.    Fair Isaac’s monopolization has raised prices for FICO Scores above the

competitive level and otherwise injured competition without any offsetting procompetitive

benefit to business customers.

       280.    The acts done by the Fair Isaac were authorized, ordered, or done by its officers,

agents, employees, or representatives while actively engaged in the management of its affairs.

       281.    The anticompetitive acts were directed at the B2B Credit Score Market in the

United States and had a substantial and foreseeable effect on interstate commerce and injured

competition nationwide.

       282.    Fair Isaac’s exclusionary and anticompetitive acts have injured and will continue

to injure competition in this market.

       283.    Plaintiffs and members of the Nationwide Class have been injured and will

continue to be injured in their business and property, and Plaintiffs and all other similarly

situated businesses will continue to be injured if Fair Isaac does not cease its anticompetitive

conduct.

       284.    Plaintiffs and all other similarly situated businesses are threatened with future

injury to their business and property by reason of Fair Isaac’s continuing violation of Section 2

of the Sherman Act within the meaning of Section 16 of the Clayton Antitrust Act, 15 U.S.C. §

26.

       285.    Plaintiffs and members of the Nationwide Class are entitled to an injunction

against Defendants, preventing and restraining the violations alleged herein.


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                                 SIXTH CLAIM FOR RELIEF:
                              CONSPIRACY TO MONOPOLIZE
                     Violation of Section 2 of the Sherman Act 15 U.S.C. § 2
                        (On behalf of Plaintiffs and the Nationwide Class
                               for Injunctive and Equitable Relief)

        286.    Plaintiffs incorporate by reference the allegations set forth in the preceding

paragraphs of this Complaint.

        287.    This Claim is brought against all Defendants.

        288.    The relevant product market is the market for the sale of B2B credit scores.

        289.    The relevant geographic market for the sale of B2B credit scores is the United

States and its territories.

        290.    Fair Isaac has had and continues to have at least 90% market share in the B2B

Credit Score Market.

        291.    Fair Isaac has had and continues to have monopoly power in the B2B Credit

Score Market.

        292.    Fair Isaac has had and continues to have the power to control prices and/or

exclude competition in the B2B Credit Score Market.

        293.    Through unlawful, interconnected, and mutually reinforcing anticompetitive and

exclusionary acts and agreements, Defendants have substantially foreclosed competition in the

B2B Credit Score Market in the United States in violation of Section 2 of the Sherman Act (15

U.S.C. § 2).

        294.    Fair Isaac has demonstrated its ability to control prices and exclude competition

by raising prices without a corresponding increase in demand to supracompetitive levels.

        295.    Fair Isaac entered into an agreement, combination, or conspiracy with Experian,

Equifax, and TransUnion to maintain its monopoly power in the B2B Credit Score Market. Fair


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Isaac created and maintained this conspiracy through a series of agreements that each of the

CBs entered into with the knowledge that the others were also entering into the agreements. In

these agreements, the CBs and Fair Isaac effectively agreed that the CBs would not offer or sell

VantageScore or any other competing credit score to Plaintiffs and members of the Nationwide

Class. Fair Isaac and the CB Defendants further agreed that the CBs would act as Fair Isaac’s

agent in the sale of FICO Scores to Plaintiffs and members of the Nationwide Class.

       296.    These agreements foreclosed competition in a substantial portion of the B2B

Credit Score Market and unlawfully maintained Fair Isaac’s monopoly, resulting in Fair Isaac

extracting supracompetitive prices for FICO Scores from Plaintiffs and members of the

Nationwide Class.

       297.    Fair Isaac’s monopoly is not due to growth or development because of a superior

product, business acumen, or historic accident.

       298.    Defendants’ conspiracy to monopolize has injured and will continue to injure

competition in the B2B Credit Score Market.

       299.    Defendants have acted with the specific intent of allowing Fair Isaac to

monopolize the market for B2B credit scores in the United States and its territories.

       300.    Defendants’ conspiratorial acts substantially affect interstate commerce and

injure competition nationwide and in the territories of the United States.

       301.    The conspiracy raised the prices for credit scores above the competitive level

and otherwise injured competition without any offsetting procompetitive benefit to consumers.

       302.    Plaintiffs and members of the Nationwide Class have been injured in their

business or property by reason of Defendants’ violation of Section 2 of the Sherman Act (15

U.S.C. § 2) within the meaning of Section 4 of the Clayton Antitrust Act (15 U.S.C. § 15).


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        303.    Plaintiffs and members of the Nationwide Class are threatened with future injury

to their business and property by reason of Defendants’ continuing violation of Section 2 of the

Sherman Act (15 U.S.C. § 2) within the meaning of Section 16 of the Clayton Antitrust Act (15

U.S.C. § 26).

                               SEVENTH CLAIM FOR RELIEF
                       VIOLATION OF STATE ANTITRUST STATUTES
                         (on behalf of Plaintiffs and the Damages Class)

        304.    Plaintiffs incorporate by reference the allegations in the preceding paragraphs of

this Complaint.

        305.    Defendants’ anticompetitive acts described above were knowing and willful and

constitute violations or flagrant violations of the following state antitrust statutes.

        306.    This Claim is brought against all Defendants.

        307.    Arizona: By reason of the conduct alleged herein, Defendants have violated

Arizona Rev. Stat. § 44-1401, et seq.

                a.      Defendants entered into a contract, combination, or conspiracy

         between two or more persons in restraint of, or to monopolize, trade or commerce

         in the Business Market for credit scores, a substantial part of which occurred

         within Arizona.

                b.      Defendants’ combinations or conspiracies had the following

         effects: (1) credit score price competition was restrained, suppressed, and

         eliminated throughout Arizona; (2) credit score prices were raised, fixed,

         maintained and stabilized at artificially high levels throughout Arizona; (3)

         Plaintiffs and members of the Damages Class were deprived of free and open

         competition; and (4) Plaintiffs and members of the Damages Class paid supra-

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        competitive, artificially inflated prices for credit scores.

               c.      Defendants established, maintained, or used a monopoly, or

        attempted to establish a monopoly, of trade or commerce in the B2B Credit Score

        Market, a substantial part of which occurred within Arizona, for the purpose of

        excluding competition or controlling, fixing, or maintaining prices in the B2B

        Credit Score Market.

               d.      During the Class Period, Defendants’ illegal conduct substantially

        affected Arizona commerce.

               e.      By reason of the foregoing, Defendants entered into agreements in

        restraint of trade in violation of Ariz. Rev. Stat. §§ 44-1401, et seq.

               f.      Under Arizona law, indirect purchasers have standing to maintain

        an action under the Antitrust Act based on the facts alleged in this Complaint.

        Bunker’s Glass Co. v. Pilkington PLC, 206 Ariz. 9, 11-20 (2003).

               g.      As a direct and proximate cause of Defendants’ unlawful conduct,

        Plaintiffs and members of the Damages Class have been injured in their business

        or property and are threatened with further injury.

               h.      By reason of the foregoing, Plaintiffs and members of the

        Damages Class are entitled to seek all forms of relief available under Arizona

        Revised Statute § 44-1401, et seq.

       308.    California: By reason of the conduct alleged herein, Defendants have violated

California Business and Professions Code, §§ 16700, et seq.

               a.      The California Business & Professions Code generally governs

       conduct of corporate entities. The Cartwright Act, Cal. Bus. & Prof. Code §§
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     16700-16770, governs antitrust violations in California.

              b.    California policy is that “vigorous representation and protection

     of consumer interests are essential to the fair and efficient functioning of a free

     enterprise market economy,” including by fostering competition in the

     marketplace. Cal. Bus. & Prof. Code § 301.

              c.    Under the Cartwright Act, indirect purchasers have standing to

     maintain an action based on the facts alleged in this Complaint. Cal. Bus. & Prof.

     Code § 16750(a).

              d.    A trust in California is any combination of capital, skills or acts

     by two or more persons intended for various purposes, including but not limited

     to creating or carrying out restrictions in trade or commerce, limiting or reducing

     the production or increasing the price of any commodity, or preventing

     competition in the market for a commodity. Cal. Bus. & Prof. Code § 16720.

     Every trust in California is unlawful except as provided by the Code. Id. at §

     16726.

              e.    Defendants entered into a contract, combination, or conspiracy

     between two or more persons in restraint of, or to monopolize, trade or commerce

     in the B2B Credit Score Market, a substantial part of which occurred within

     California.

              f.    Defendants established, maintained, or used a monopoly, or

     attempted to establish a monopoly, of trade or commerce in the B2B Credit Score

     Market, a substantial part of which occurred within California, for the purpose of

     excluding competition or controlling, fixing, or maintaining prices in the B2B


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       Credit Score Market.

               g.      But for Defendants’ conduct set forth herein, the price of FICO

       Scores would have been lower, in an amount to be determined at trial.

               h.      Defendants enacted a combination of capital, skill or acts for the

       purpose of creating and carrying out restrictions in trade or commerce, in

       violation of Cal. Bus. & Prof. Code § 16700, et seq.

               i.      Plaintiffs and members of Damages Class were injured in their

       business or property, with respect to purchases of FICO Scores in California and

       are entitled to all forms of relief, including recovery of treble damages, interest,

       and injunctive relief, plus reasonable attorneys’ fees and costs.

       309.    Connecticut: By reason of the conduct alleged herein, Defendants have violated

Connecticut General Statute §§ 35-26 et seq.

               a.      During the Class Period, Defendants’ illegal conduct substantially

       affected Connecticut commerce.

               b.      Defendants’ combinations or conspiracies had the following

       effects: (1) Credit score price competition was restrained, suppressed, and

       eliminated throughout Connecticut; (2) Credit score prices were raised, fixed

       maintained and stabilized at artificially high levels throughout Connecticut; (3)

       Plaintiffs and members of the Damages Class were deprived of free and open

       competition; and (4) Plaintiffs and members of the Damages Class paid supra-

       competitive, artificially inflated prices for credit scores.

               c.      As a direct and proximate result of Defendants’ unlawful conduct,

       Plaintiffs and members of the Class have been injured in their business and

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       property and are threatened with further injury.

                 d.     By reason of the foregoing, Defendants have restrained trade in

       violation of Connecticut General Statute §§ 35-26 et seq.

                 e.     Accordingly, Plaintiffs and members of the Class seek all forms

       of relief available under Connecticut General Statute §§ 35-26 et seq.

       310.      District of Columbia: By reason of the conduct alleged herein, Defendants have

violated District of Columbia Code, Title 28, Chapter 45 (Restraints of Trade).

                 a.     Defendants contracted, combined or conspired to act in restraint

       of trade within the District of Columbia, and monopolized or attempted to

       monopolize the B2B Credit Score Market within the District of Columbia, in

       violation of D.C. Code § 28-4501, et seq.

                 b.     Defendants’ combinations or conspiracies had the following

       effects: (1) Credit score price competition was restrained, suppressed, and

       eliminated throughout the District of Columbia; (2) Credit score prices were

       raised, fixed maintained and stabilized at artificially high levels throughout the

       District of Columbia; (3) Plaintiffs and members of the Damages Class were

       deprived of free and open competition; and (4) Plaintiffs and members of the

       Damages Class paid supra-competitive, artificially inflated prices for credit

       scores.

                 c.     During the Class Period, Defendants’ illegal conduct substantially

       affected District of Columbia commerce.

                 d.     As a direct and proximate result of Defendants’ unlawful conduct,

       Plaintiffs and members of the Damages Class have been injured in their business

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       and property and are threatened with further injury.

               e.      By reason of the foregoing, Defendants have entered into

       agreements in restraint of trade in violation of District of Columbia Code Ann.

       §§ 28-4501, et seq.

               f.      Under District of Columbia law, indirect purchasers have standing

       to maintain an action under the antitrust provisions of the D.C. Code based on

       the facts alleged in this Complaint, because “[a]ny indirect purchaser in the chain

       of manufacture, production or distribution of goods or services . . . shall be

       deemed to be injured within the meaning of this chapter.” D.C. Code § 28-

       4509(a).

               g.      Accordingly, Plaintiffs and members of the Damages Class seek

       all forms of relief available under District of Columbia Code Ann. §§ 28-4501, et

       seq.

       311.    Illinois: By reason of the conduct alleged herein, Defendants have violated the

Illinois Antitrust Act, 740 Ill. Comp. Stat. Ann. 10/1, et seq.

              a.       Members of the Illinois Damages Class purchased FICO Scores

       within the State of Illinois during the Class Period.

               b.      But for Defendants’ conduct set forth herein, the price of FICO

       Scores would have been lower, in an amount to be determined at trial.

              c.       Under the Illinois Antitrust Act, indirect purchasers have standing

       to maintain an action for damages based on the facts alleged in this Complaint.

       740 Ill. Comp. Stat. Ann. 10/7(2).

              d.       Defendants entered into contracts or engaged in a combination or

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       conspiracy for the purpose of fixing, controlling or maintaining prices for FICO

       Scores sold within the State of Illinois.

                e.     Defendants further unreasonably restrained trade or commerce

       and established, maintained, or attempted to acquire monopoly power over the

       B2B Credit Score Market in Illinois for the purpose of excluding competition, in

       violation of 740 Ill. Comp. Stat. Ann. 10/1, et seq.

                f.     During the Class Period, Defendants’ illegal conduct substantially

       affected Illinois commerce.

                g.     As a direct and proximate result of Defendants’ unlawful conduct,

       Plaintiffs and members of the Class have been injured in their business and

       property and are threatened with further injury.

                h.     Members of the Illinois Damages Class were injured with respect

       to purchases of FICO Scores in Illinois and are entitled to all forms of relief,

       including actual damages, treble damages, and reasonable attorneys’ fees and

       costs.

       312.     Iowa: By reason of the conduct alleged herein, Defendants have violated the

Iowa Competition Law, Iowa Code § 553.1, et seq.

                a.     Defendants contracted, combined or conspired to restrain or

       monopolize trade in the B2B Credit Score Market, and attempted to establish or

       did in fact establish a monopoly for the purpose of excluding competition or

       controlling, fixing or maintaining prices for credit scores, in violation of Iowa

       Code § 553.1, et seq.

                b.     Defendants’ combinations or conspiracies had the following

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       effects: (1) Credit score price competition was restrained, suppressed, and

       eliminated throughout Iowa; (2) Credit score prices were raised, fixed

       maintained and stabilized at artificially high levels throughout Iowa; (3)

       Plaintiffs and members of the Damages Class were deprived of free and open

       competition; and (4) Plaintiffs and members of the Damages Class paid supra-

       competitive, artificially inflated prices for credit scores.

               c.      During the Class Period, Defendants’ illegal conduct substantially

       affected Iowa commerce.

               d       As a direct and proximate result of Defendants’ unlawful conduct,

       Plaintiffs and members of the Damages Class have been injured in their business

       and property and are threatened with further injury.

               e.      By reason of the foregoing, Defendants have entered into

       agreements in restraint of trade in violation of Iowa Code § 553.1, et seq.

               f.      Under Iowa law, indirect purchasers have standing to maintain an

       action under the Iowa Competition Law based on the facts alleged in this

       Complaint. Comes v. Microsoft Corp., 646 N.W.2d 440, 449 (Iowa 2002).

               g.      Accordingly, Plaintiffs and members of the Damages Class seek

       all forms of relief available under Iowa Code §§ 553.1, et seq.

       313.    Kansas: By reason of the conduct alleged herein, Defendants have violated Kan.

Stat. Ann. § 50-101, et seq.

               a.      Defendants’ combinations or conspiracies had the following

       effects: (1) Credit score price competition was restrained, suppressed, and

       eliminated throughout Kansas; (2) Credit score prices were raised, fixed

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     maintained and stabilized at artificially high levels throughout Kansas; (3)

     Plaintiffs and members of the Damages Class were deprived of free and open

     competition; and (4) Plaintiffs and members of the Damages Class paid supra-

     competitive, artificially inflated prices for credit scores.

             b.      Defendants combined capital, skills or acts for the purposes of

     creating restrictions in trade or commerce of credit scores, increasing the price of

     credit scores, or preventing competition in the sale of credit scores, in a manner

     that established the price of credit scores and precluded free and unrestricted

     competition among themselves in the sale of credit scores, in violation of Kan.

     Stat. Ann. § 50-101, et seq

             c.      During the Class Period, Defendants’ illegal conduct substantially

     affected Kansas commerce.

             d.      As a direct and proximate result of Defendants’ unlawful conduct,

     Plaintiffs and members of the Damages Class have been injured in their business

     and property and are threatened with further injury.

             e.      By reason of the foregoing, Defendants have entered into

     agreements in restraint of trade in violation of Kansas Stat. Ann. §§ 50- 101, et

     seq.

             f.      Under the Kansas Restraint of Trade Act, indirect purchasers have

     standing to maintain an action based on the facts alleged in this Complaint. Kan.

     Stat. Ann § 50-161(b).

             g.      Accordingly, Plaintiffs and members of the Damages Class seek all

     forms of relief available under Kansas Stat. Ann. §§ 50-101, et seq.


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       314.      Maine: By reason of the conduct alleged herein, Defendants have violated Me.

Rev. Stat. Ann. Tit. 10, § 1101, et seq.

                 a.     Defendants contracted, combined or conspired in restraint of trade

       or commerce of credit scores within the intrastate commerce of Maine, and

       monopolized or attempted to monopolize the trade or commerce of credit scores

       within the intrastate commerce of Maine, in violation of Me. Rev. Stat. Ann. Tit.

       10, § 1101, et seq.

                 b.     Defendants’ combinations or conspiracies had the following

       effects: (1) Credit score price competition was restrained, suppressed, and

       eliminated throughout Maine; (2) Credit score prices were raised, fixed

       maintained and stabilized at artificially high levels throughout Maine; (3)

       Plaintiffs and members of the Damages Class were deprived of free and open

       competition; and (4) Plaintiffs and members of the Damages Class paid supra-

       competitive, artificially inflated prices for credit scores.

                 c.     During the Class Period, Defendants’ illegal conduct substantially

       affected Maine commerce.

                 d.     As a direct and proximate result of Defendants’ unlawful conduct,

       Plaintiffs and members of the Damages Class have been injured in their business

       and property and are threatened with further injury.

                 e.     By reason of the foregoing, Defendants have entered into

       agreements in restraint of trade in violation of Maine Rev. Stat. Ann. 10, §§ 1101,

       et seq.

                 f.     Under Maine law, indirect purchasers have standing to maintain

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      an action based on the facts alleged in this Complaint. Me. Rev. Stat. Ann. Tit.

      10, § 1104(1).

             g.        Accordingly, Plaintiffs and members of the Damages Class seek all

      relief available under Maine Rev. Stat. Ann. 10, §§ 1101, et seq.

      315.   Maryland: By reason of the conduct alleged herein, Defendants have violated

Maryland Code, Commercial Law, §§11-204 et seq.

              a.       During the Class Period, Defendants’ illegal conduct substantially

      affected Maryland commerce.

              b.       Defendants’ combinations or conspiracies had the following effects: (1)

      Credit score price competition was restrained, suppressed, and eliminated throughout

      Maryland; (2) Credit score prices were raised, fixed maintained and stabilized at

      artificially high levels throughout Maryland; (3) Plaintiffs and members of the Damages

      Class were deprived of free and open competition; and (4) Plaintiffs and members of the

      Damages Class paid supra-competitive, artificially inflated prices for credit scores.

              c.       As a direct and proximate result of Defendants’ unlawful conduct,

      Plaintiffs and members of the Class have been injured in their business and property and

      are threatened with further injury.

              d.       By reason of the foregoing, Defendants have restrained trade in violation

      of Maryland Code, Commercial Law, §§11-204 et seq.

              e.       Accordingly, Plaintiffs and members of the Class seek all relief available

      under Maryland Code, Commercial Law, §§11-204 et seq.

      316.   Michigan: By reason of the conduct alleged herein, Defendants have violated


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the Michigan Compiled Laws Annotated §§ 445.771, et seq.

              a.      Defendants contracted, combined or conspired to restrain

      or monopolize trade or commerce in B2B Credit Score Market, in

      violation of Mich. Comp. Laws § 445.771, et seq.

              b.      Defendants’ combinations or conspiracies had the following

      effects: (1) Credit score price competition was restrained, suppressed, and

      eliminated throughout Michigan; (2) Credit score prices were raised, fixed

      maintained and stabilized at artificially high levels throughout Michigan;

      (3) Plaintiffs and members of the Damages Class were deprived of free and

      open competition; and (4) Plaintiffs and members of the Damages Class

      paid supra-competitive, artificially inflated prices for credit scores.

              c.      During the Class Period, Defendants’ illegal conduct

      substantially affected Michigan commerce.

              d.      As a direct and proximate result of Defendants’ unlawful

      conduct, Plaintiffs and members of the Damages Class have been injured in

       their business and property and are threatened with further injury.

              e.      By reason of the foregoing, Defendants have entered into

       agreements in restraint of trade in violation of Michigan Comp. Laws Ann.

       §§ 445.771, et seq.

              f.      Under the Michigan Antitrust Reform Act, indirect

       purchasers have standing to maintain an action based on the facts alleged in

       this Complaint. Mich. Comp. Laws. § 445.778(2).

              g.      Accordingly, Plaintiffs and members of the Damages Class

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       seek all relief available under Michigan Comp. Laws Ann. §§ 445.771, et

       seq.

       317.    Minnesota: By reason of the conduct alleged herein, Defendants have violated

the Minnesota Annotated Statutes §§ 325D.49, et seq.

               a.   Defendants contracted, combined or conspired in unreasonable

       restraint of trade or commerce in the B2B Credit Score Market within the

       intrastate commerce of and outside of Minnesota; established, maintained, used

       or attempted to establish, maintain or use monopoly power over the trade or

       commerce in the B2B Credit Score Market within the intrastate commerce of

       and outside of Minnesota; and fixed prices for credit scores within the intrastate

       commerce of and outside of Minnesota, in violation of Minn. Stat. § 325D.49, et

       seq.

               b.      Defendants’ combinations or conspiracies had the following

       effects: (1) Credit score price competition was restrained, suppressed, and

       eliminated throughout Minnesota; (2) Credit score prices were raised, fixed

       maintained and stabilized at artificially high levels throughout Minnesota; (3)

       Plaintiffs and members of the Damages Class were deprived of free and open

       competition; and (4) Plaintiffs and members of the Damages Class paid supra-

       competitive, artificially inflated prices for credit scores.

               c.      During    the    Class   Period,    Defendants’   illegal   conduct

       substantially affected Minnesota commerce.

               d.      As a direct and proximate result of Defendants’ unlawful

       conduct, Plaintiffs and members of the Damages Class have been injured in their

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       business and property and are threatened with further injury.

              e.      By reason of the foregoing, Defendant has entered into

       agreements in restraint of trade in violation of Minnesota Stat. §§ 325D.49, et

       seq.

              f.      Under the Minnesota Antitrust Act of 1971, indirect purchasers

       have standing to maintain an action based on the facts alleged in this Complaint.

       Minn. Stat. § 325D.57.

              g.      Accordingly, Plaintiffs and members of the Damages Class seek

       all relief available under Minnesota Stat. §§ 325D.49, et seq.

       318.   Mississippi: By reason of the conduct alleged herein, Defendants have violated

Mississippi Code Annotated §§ 75-21-1, et seq.

              a.      Defendants entered into a contract, combination, or conspiracy

       between two or more persons in restraint of, or to monopolize, trade or commerce

       in the B2B Credit Score Market, a substantial part of which occurred within

       Mississippi.

              b.      Defendants established, maintained, or used a monopoly, or

       attempted to establish a monopoly, of trade or commerce in the B2B Credit Score

       Market, a substantial part of which occurred within Mississippi, for the purpose

       of excluding competition or controlling, fixing, or maintaining prices in the B2B

       Credit Score Market.

              c.      Defendants’ combinations or conspiracies had the following

       effects: (1) Credit score price competition was restrained, suppressed, and

       eliminated throughout Mississippi; (2) Credit score prices were raised, fixed

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       maintained and stabilized at artificially high levels throughout Mississippi; (3)

       Plaintiffs and members of the Damages Class were deprived of free and open

       competition; and (4) Plaintiffs and members of the Damages Class paid supra-

       competitive, artificially inflated prices for credit scores.

                 d.     During the Class Period, Defendants’ illegal conduct substantially

       affected Mississippi commerce.

                 e.     As a direct and proximate result of Defendants’ unlawful conduct,

       Plaintiffs and members of the Damages Class have been injured in their business

       and property and are threatened with further injury.

                 f.     By reason of the foregoing, Defendants have entered into

       agreements in restraint of trade in violation of Mississippi Code Ann. §§ 75-21-1,

       et seq.

                 g.     Under Mississippi law, indirect purchasers have standing to

       maintain an action under the antitrust provisions of the Mississippi Code based

       on the facts alleged in this Complaint. Miss. Code Ann. § 75-21-9.

                 h.     Accordingly, Plaintiffs and members of the Damages Class seek all

       relief available under Mississippi Code Ann. §§ 75-21-1, et seq.

       319.      Missouri: By reason of the conduct alleged herein, Defendants have violated

Mo. Ann. Stat. § 407.010, et seq.

                 a.     Defendants contracted, combined or conspired in restraint of trade

       or commerce of credit scores within the intrastate commerce of Missouri, and

       monopolized or attempted to monopolize the Business Market for credit scores

       within the intrastate commerce of Missouri by possessing monopoly power in the

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       market and willfully maintaining that power through agreements to fix prices and

       otherwise control trade, in violation of Mo. Ann. Stat. § 407.010, et seq.

               b.      Defendants’ combinations or conspiracies had the following

       effects: (1) Credit score price competition was restrained, suppressed, and

       eliminated throughout Missouri; (2) Credit score prices were raised, fixed

       maintained and stabilized at artificially high levels throughout Missouri; (3)

       Plaintiffs and members of the Damages Class were deprived of free and open

       competition; and (4) Plaintiffs and members of the Damages Class paid supra-

       competitive, artificially inflated prices for credit scores.

               c.      During the Class Period, Defendants’ illegal conduct substantially

       affected Missouri commerce.

               d.      As a direct and proximate result of Defendants’ unlawful conduct,

       Plaintiffs and members of the Damages Class have been injured in their business

       and property and are threatened with further injury.

               e.      By reason of the foregoing, Defendants have entered into

       agreements in restraint of trade in violation of Mo. Ann. Stat. § 407.010, et seq.

               f.      Under Missouri law, indirect purchasers have standing to

       maintain an action under the MMPA based on the facts alleged in this

       Complaint. Gibbons v. J. Nuckolls, Inc., 216 S.W.3d 667, 669 (Mo. 2008).

               g.      Accordingly, Plaintiffs and members of the Damages Class seek

       all forms of relief available under Mo. Ann. Stat. § 407.010, et seq.

       320.    Nebraska: By reason of the conduct alleged herein, Defendants have violated

the Nebraska Revised Statutes §§ 59-801, et seq.

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             a.      Defendants contracted, combined or conspired in restraint of trade

     or commerce of credit scores within the intrastate commerce of Nebraska, and

     monopolized or attempted to monopolize the B2B Credit Score Market within

     the intrastate commerce of Nebraska by possessing monopoly power in the

     market and willfully maintaining that power through agreements to fix prices and

     otherwise control trade, in violation of Neb. Rev. Stat. § 59-801, et seq.

             b.      Defendants’ combinations or conspiracies had the following

     effects: (1) Credit score price competition was restrained, suppressed, and

     eliminated throughout Nebraska; (2) Credit score prices were raised, fixed

     maintained and stabilized at artificially high levels throughout Nebraska; (3)

     Plaintiffs and members of the Damages Class were deprived of free and open

     competition; and (4) Plaintiffs and members of the Damages Class paid supra-

     competitive, artificially inflated prices for credit scores.

             c.      During the Class Period, Defendants’ illegal conduct substantially

     affected Nebraska commerce.

             d.      As a direct and proximate result of Defendants’ unlawful conduct,

     Plaintiffs and members of the Damages Class have been injured in their business

     and property and are threatened with further injury.

             e.      By reason of the foregoing, Defendants have entered into

     agreements in restraint of trade in violation of Nebraska Revised Statutes §§ 59-

     801, et seq.

             f.      Under Nebraska law, indirect purchasers have standing to

     maintain an action under the Junkin Act based on the facts alleged in this


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       Complaint. Neb. Rev. Stat. § 59-821.

               g.      Accordingly, Plaintiffs and members of the Damages Class seek

       all relief available under Nebraska Revised Statutes §§ 59-801, et seq.

       321.    Nevada: By reason of the conduct alleged herein, Defendants have violated the

Nevada Revised Statutes Annotated §§ 598A.010, et seq.

               a.      Defendants contracted, combined or conspired to restrain or

       monopolize trade in the B2B Credit Score Market, and attempted to establish or

       did in fact establish a monopoly for the purpose of excluding competition or

       controlling, fixing or maintaining prices for credit scores, in violation of Nev.

       Rev. Stat. Ann. § 598A.010, et seq.

               b.      Defendants’ combinations or conspiracies had the following

       effects: (1) Credit score price competition was restrained, suppressed, and

       eliminated throughout Nevada; (2) Credit score prices were raised, fixed

       maintained and stabilized at artificially high levels throughout Nevada; (3)

       Plaintiffs and members of the Damages Class were deprived of free and open

       competition; and (4) Plaintiffs and members of the Damages Class paid supra-

       competitive, artificially inflated prices for credit scores.

               c.      During the Class Period, Defendants’ illegal conduct substantially

       affected Nevada commerce.

               d.      As a direct and proximate result of Defendants’ unlawful conduct,

       Plaintiffs and members of the Damages Class have been injured in their business

       and property and are threatened with further injury.

               e.      By reason of the foregoing, Defendants have entered into

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       agreements in restraint of trade in violation of Nevada Rev. Stat. Ann. §§

       598A.010, et seq.

              f.      Under Nevada law, indirect purchasers have standing to maintain

       an action under NUTPA based on the facts alleged in this Complaint. Nev. Rev.

       Stat. Ann. §598A.210(2).

              g.      Accordingly, Plaintiffs and members of the Damages Class seek

       all relief available under Nevada Rev. Stat. Ann. §§ 598A.010, et seq.

       322.   New Hampshire: By reason of the conduct alleged herein, Defendants have

violated the New Hampshire Revised Statutes §§ 356:1, et seq.

              a.      Defendants fixed, controlled or maintained prices for credit

       scores and established, maintained or used monopoly power, or attempted to,

       constituting a contract, combination or conspiracy in restraint of trade in

       violation of N.H. Rev. Stat. Ann. § 356:1, et seq.

              b.      Defendants’ combinations or conspiracies had the following

       effects: (1) Credit score price competition was restrained, suppressed, and

       eliminated throughout New Hampshire; (2) Credit score prices were raised,

       fixed maintained and stabilized at artificially high levels throughout New

       Hampshire; (3) Plaintiffs and members of the Damages Class were deprived

       of free and open competition; and (4) Plaintiffs and members of the Damages

       Class paid supra-competitive, artificially inflated prices for credit scores.

              c.      During the Class Period, Defendants’ illegal conduct

       substantially affected New Hampshire commerce.

              d.      As a direct and proximate result of Defendants’ unlawful

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       conduct, Plaintiffs and members of the Damages Class have been injured in

       their business and property and are threatened with further injury.

              e.      By reason of the foregoing, Defendants have entered into

       agreements in restraint of trade in violation of New Hampshire Revised

       Statutes §§ 356:1, et seq.

              f.      Under New Hampshire law, indirect purchasers have standing

       to maintain an action based on the facts alleged in this Complaint. N.H. Rev.

       Stat. Ann. § 356:11(II).

              g.      Accordingly, Plaintiffs and members of the Damages Class

       seek all relief available under New Hampshire Revised Statutes §§ 356:1, et

       seq.

       323.   New Mexico: By reason of the conduct alleged herein, Defendants have violated

the New Mexico Statutes Annotated §§ 57-1-1, et seq.

              a.      Defendants contracted, agreed, combined or conspired, and

       monopolized or attempted to monopolize trade for credit scores within the

       intrastate commerce of New Mexico, in violation of N.M. Stat. Ann. § 57-1-1, et

       seq.

              b.      Defendant’s combinations or conspiracies had the following

       effects: (1) Credit score price competition was restrained, suppressed, and

       eliminated throughout New Mexico; (2) Credit score prices were raised, fixed

       maintained and stabilized at artificially high levels throughout New Mexico; (3)

       Plaintiffs and members of the Damages Class were deprived of free and open

       competition; and (4) Plaintiffs and members of the Damages Class paid supra-

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       competitive, artificially inflated prices for credit scores.

               c.      During the Class Period, Defendants’ illegal conduct substantially

       affected New Mexico commerce.

               d.      As a direct and proximate result of Defendants’ unlawful conduct,

       Plaintiffs and members of the Damages Class have been injured in their business

       and property and are threatened with further injury.

               e.      By reason of the foregoing, Defendants have entered into

       agreements in restraint of trade in violation of New Mexico Stat. Ann. §§ 57-1-

       1, et seq.

               f.      Under New Mexico law, indirect purchasers have standing to

       maintain an action based on the facts alleged in this Complaint. N.M. Stat. Ann.

       § 57-1-3(A).

               g.      Accordingly, Plaintiffs and members of the Damages Class seek

       all relief available under New Mexico Stat. Ann. §§ 57-1-1, et seq.

       324.    New York: By reason of the conduct alleged herein, Defendants have violated

the New York General Business Laws §§ 340, et seq.

               a.      Defendants established or maintained a monopoly within the

       intrastate commerce of New York for the trade or commerce of credit scores and

       restrained competition in the free exercise of the conduct of the business of credit

       scores within the intrastate commerce of New York, in violation of N.Y. Gen.

       Bus. Law § 340, et seq.

               b.      Defendants’ combinations or conspiracies had the following

       effects: (1) Credit score price competition was restrained, suppressed, and

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       eliminated throughout New York; (2) Credit score prices were raised, fixed

       maintained and stabilized at artificially high levels throughout New York; (3)

       Plaintiffs and members of the Damages Class were deprived of free and open

       competition; and (4) Plaintiffs and members of the Damages Class paid supra-

       competitive, artificially inflated prices for credit scores.

               c.      During the Class Period, Defendants’ illegal conduct substantially

       affected New York commerce.

               d.      As a direct and proximate result of Defendants’ unlawful conduct,

       Plaintiffs and members of the Damages Class have been injured in their business

       and property and are threatened with further injury.

               e.      By reason of the foregoing, Defendants have entered into

       agreements in restraint of trade in violation of the New York Donnelly Act, §§

       340, et seq. The conduct set forth above is a per se violation of the Act.

               f.      Under New York law, indirect purchasers have standing to

       maintain an action based on the facts alleged in this Complaint. N.Y. Gen. Bus.

       Law § 340(6).

               g.      Accordingly, Plaintiffs and members of the Damages Class seek all

       relief available under New York Gen. Bus. Law §§ 340, et seq.

       325.    North Carolina: By reason of the conduct alleged herein, Defendants have

violated the North Carolina General Statutes §§ 75-1, et seq.

               a.      Defendants contracted, combined or conspired to restrain or

       monopolize trade in the Business Market for credit scores, and attempted to

       establish or did in fact establish a monopoly for the purpose of excluding

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     competition or controlling, fixing or maintaining prices for credit scores, in

     violation of North Carolina General Statutes §§ 75-1, et seq.

             b.      Defendants’ combinations or conspiracies had the following

     effects: (1) Credit score price competition was restrained, suppressed, and

     eliminated throughout North Carolina; (2) Credit score prices were raised, fixed

     maintained and stabilized at artificially high levels throughout North Carolina;

     (3) Plaintiffs and members of the Damages Class were deprived of free and open

     competition; and (4) Plaintiffs and members of the Damages Class paid supra-

     competitive, artificially inflated prices for credit scores.

             c.      During the Class Period, Defendants’ illegal conduct substantially

     affected North Carolina commerce.

             d.      As a direct and proximate result of Defendants’ unlawful conduct,

     Plaintiffs and members of the Damages Class have been injured in their business

     and property and are threatened with further injury.

             e.      By reason of the foregoing, Defendants have entered into

     agreements in restraint of trade in violation of North Carolina Gen. Stat. §§ 75-1, et

     seq.

             f.      Under North Carolina law, indirect purchasers have standing to

     maintain an action based on the facts alleged in this Complaint. Hyde v. Abbott

     Labs., Inc., 123 N.C. App. 572, 584 (1996).

             g.      Accordingly, Plaintiffs and members of the Damages Class seek

     all relief available under North Carolina Gen. Stat. §§ 75-1, et. seq.

     326.    North Dakota: By reason of the conduct alleged herein, Defendants have

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violated the North Dakota Century Code §§ 51-08.1-01, et seq.

               a.      Defendants contracted, combined or conspired to restrain or

       monopolize trade in the Business Market for credit scores, and attempted to

       establish or did in fact establish a monopoly for the purpose of excluding

       competition or controlling, fixing or maintaining prices for credit scores, in

       violation of North Dakota Century Code §§ 51-08.1-01, et seq. Defendants’

       violations of North Dakota law were flagrant.

               b.      Defendants’ combinations or conspiracies had the following

       effects: (1) Credit score price competition was restrained, suppressed, and

       eliminated throughout North Dakota; (2) Credit score prices were raised, fixed

       maintained and stabilized at artificially high levels throughout North Dakota; (3)

       Plaintiffs and members of the Damages Class were deprived of free and open

       competition; and (4) Plaintiffs and members of the Damages Class paid supra-

       competitive, artificially inflated prices for credit scores.

               c.      During the Class Period, Defendants’ illegal conduct substantially

       affected North Dakota commerce.

               d.      As a direct and proximate result of Defendants’ unlawful conduct,

       Plaintiffs and members of the Damages Class have been injured in their business

       and property and are threatened with further injury.

               e.      By reason of the foregoing, Defendants have entered into

       agreements in restraint of trade in violation of North Dakota Cent. Code §§ 51-

       08.1-01, et seq.

               f.      Under North Dakota law, indirect purchasers have standing to


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       maintain an action under the Antitrust Act based on the facts alleged in this

       Complaint. See, e.g., Howe v. Microsoft Corp., 656 N.W.2d 285, 298 (N.D.

       2003).

                g.     Accordingly, Plaintiffs and members of the Damages Class seek

       all relief available under North Dakota Cent. Code §§ 51-08.1-01, et seq.

       327.     Oregon: By reason of the conduct alleged herein, Defendants have violated the

Oregon Revised Statutes §§ 646.705, et seq.

                a.     Defendants contracted, combined, or conspired in restraint of trade

       or commerce of credit scores, and monopolized or attempted to monopolize the

       trade or commerce of credit scores, in violation of Or. Rev. Stat. § 646.705, et

       seq.

                b.     Defendants’ combinations or conspiracies had the following

       effects: (1) Credit score price competition was restrained, suppressed, and

       eliminated throughout Oregon; (2) Credit score prices were raised, fixed

       maintained and stabilized at artificially high levels throughout Oregon; (3)

       Plaintiffs and members of the Damages Class were deprived of free and open

       competition; and (4) Plaintiffs and members of the Damages Class paid supra-

       competitive, artificially inflated prices for credit scores.

                c.     During the Class Period, Defendants’ illegal conduct substantially

       affected Oregon commerce.

                d.     As a direct and proximate result of Defendants’ unlawful conduct,

       Plaintiffs and members of the Damages Class have been injured in their business

       and property and are threatened with further injury.

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               e.      By reason of the foregoing, Defendants have entered into

       agreements in restraint of trade in violation of Oregon Revised Statutes §§

       646.705, et seq.

               f.      Under Oregon law, indirect purchasers have standing under the

       antitrust provisions of the Oregon Revised Statutes to maintain an action based on

       the facts alleged in this Complaint. Or. Rev. Stat. § 646.780(1)(a).

               g.      Accordingly, Plaintiffs and members of the Damages Class seek all

       relief available under Oregon Revised Statutes §§ 646.705, et seq.

       328.    Rhode Island: By reason of the conduct alleged herein, Defendants have

violated R.I. Gen. Laws § 6-36-1, et seq.

               a.      Defendants contracted, combined or conspired to restrain or

       monopolize trade in the B2B Credit Score Market, and attempted to establish or

       did in fact establish a monopoly for the purpose of excluding competition or

       controlling, fixing or maintaining prices for credit scores, in violation of R.I. Gen.

       Laws § 6-36-1, et seq.

               b.      Defendants’ combinations or conspiracies had the following

       effects: (1) Credit score price competition was restrained, suppressed, and

       eliminated throughout Rhode Island; (2) Credit score prices were raised, fixed

       maintained and stabilized at artificially high levels throughout Rhode Island; (3)

       Plaintiffs and members of the Damages Class were deprived of free and open

       competition; and (4) Plaintiffs and members of the Damages Class paid supra-

       competitive, artificially inflated prices for credit scores.

               c.      During the Class Period, Defendants’ illegal conduct substantially

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       affected Rhode Island commerce.

              d.      As a direct and proximate result of Defendants’ unlawful conduct,

       Plaintiffs and members of the Damages Class have been injured in their business

       and property and are threatened with further injury.

              e.      By reason of the foregoing, Defendants have entered into

       agreements in restraint of trade in violation of R.I. Gen. Laws § 6-36-1, et seq.

              f.      Under the Rhode Island Antitrust Act, indirect purchasers have

       standing to maintain an action based on the facts alleged in this Complaint. R.I.

       Gen. Laws § 6-36-11(a).

              g.      Accordingly, Plaintiffs and members of the Damages Class seek all

       forms of relief available under R.I. Gen. Laws § 6-36-1, et seq.

       329.   South Dakota: By reason of the conduct alleged herein, Defendants have

violated South Dakota Codified Laws §§ 37-1-3.1, et seq.

              a.      Defendants contracted, combined or conspired in restraint of trade

       or commerce of credit scores within the intrastate commerce of South Dakota,

       and monopolized or attempted to monopolize trade or commerce of credit scores

       within the intrastate commerce of South Dakota, in violation of S.D. Codified

       Laws § 37-1-3.1, et seq.

              b.      Defendants’ combinations or conspiracies had the following

       effects: (1) Credit score price competition was restrained, suppressed, and

       eliminated throughout South Dakota; (2) Credit score prices were raised, fixed

       maintained and stabilized at artificially high levels throughout South Dakota; (3)

       Plaintiffs and members of the Damages Class were deprived of free and open

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       competition; and (4) Plaintiffs and members of the Damages Class paid supra-

       competitive, artificially inflated prices for credit scores.

               c.      During the Class Period, Defendants’ illegal conduct substantially

       affected South Dakota commerce.

               d.      As a direct and proximate result of Defendants’ unlawful conduct,

       Plaintiffs and members of the Damages Class have been injured in their business

       and property and are threatened with further injury.

               e.      By reason of the foregoing, Defendants have entered into

       agreements in restraint of trade in violation of South Dakota Codified Laws Ann.

       §§ 37-1, et seq.

               f.      Under South Dakota law, indirect purchasers have standing under

       the antitrust provisions of the South Dakota Codified Laws to maintain an action

       based on the facts alleged in this Complaint. S.D. Codified Laws § 37-1-33.

               g.      Accordingly, Plaintiffs and members of the Damages Class seek

       all relief available under South Dakota Codified Laws Ann. §§ 37-1, et seq.

       330.    Tennessee: By reason of the conduct alleged herein, Defendants have violated

the Tennessee Code Annotated §§ 47-25-101, et seq.

               a.      Defendants contracted, combined or conspired to restrain or

       monopolize trade in the B2B Credit Score Market, and attempted to establish or

       did in fact establish a monopoly for the purpose of excluding competition or

       controlling, fixing or maintaining prices for credit scores, in violation of Tenn.

       Code, § 47-25-101, et seq.

               b.      Defendants’ combinations or conspiracies had the following

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       effects: (1) Credit score price competition was restrained, suppressed, and

       eliminated throughout Tennessee; (2) Credit score prices were raised, fixed

       maintained and stabilized at artificially high levels throughout Tennessee; (3)

       Plaintiffs and members of the Damages Class were deprived of free and open

       competition; and (4) Plaintiffs and members of the Damages Class paid supra-

       competitive, artificially inflated prices for credit scores.

                 c.     During the Class Period, Defendants’ illegal conduct substantially

       affected Tennessee commerce.

                 d.     As a direct and proximate result of Defendants’ unlawful conduct,

       Plaintiffs and members of the Damages Class have been injured in their business

       and property and are threatened with further injury.

                 e.     By reason of the foregoing, Defendants have entered into

       agreements in restraint of trade in violation of Tennessee Code Ann. §§ 47-25-101,

       et seq.

                 f.     Under Tennessee law, indirect purchasers have standing under the

       Tennessee Trade Practice Acts to maintain an action based on the facts alleged in

       this Complaint. Freeman Indus., LLC v. Eastman Chem. Co., 172 S.W.3d 512,

       520 (Tenn. 2005).

                 g.     Accordingly, Plaintiffs and members of the Damages Class seek all

       relief available under Tennessee Code Ann. §§ 47-25- 101, et seq.

       331.      Utah: By reason of the conduct alleged herein, Defendants have violated Utah

Code Annotated §§ 76-10-3101, et seq.

                 a.     Defendants contracted, combined or conspired to restrain or

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     monopolize trade in the B2B Credit Score Market, and attempted to establish or

     did in fact establish a monopoly for the purpose of excluding competition or

     controlling, fixing or maintaining prices for credit scores, in violation of Utah

     Code Ann. § 76-10-3101, et seq.

             b.      Defendants’ combinations or conspiracies had the following

     effects: (1) Credit score price competition was restrained, suppressed, and

     eliminated throughout Utah; (2) Credit score prices were raised, fixed maintained

     and stabilized at artificially high levels throughout Utah; (3) Plaintiffs and

     members of the Damages Class were deprived of free and open competition; and

     (4) Plaintiffs and members of the Damages Class paid supra-competitive,

     artificially inflated prices for credit scores.

             c.      During the Class Period, Defendants’ illegal conduct substantially

     affected Utah commerce.

             d.      As a direct and proximate result of Defendants’ unlawful conduct,

     Plaintiffs and members of the Damages Class have been injured in their business

     and property and are threatened with further injury.

             e.      By reason of the foregoing, Defendants have entered into

     agreements in restraint of trade in violation of Utah Code Annotated §§ 76-10-

     3101, et seq.

             f.      Under the Utah Antitrust Act, indirect purchasers who are either

     Utah residents or Utah citizens have standing to maintain an action based on the

     facts alleged in this Complaint. Utah Code Ann. § 76-10-3109(1)(a).

             g.      Accordingly, Plaintiffs and members of the Damages Class seek


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       all relief available under Utah Code Annotated §§ 76-10-3101, et seq.

       332.    Vermont: By reason of the conduct alleged herein, Defendants have violated

Vermont Stat. Ann. 9 §§ 2453, et seq.

               a.      Defendants contracted, combined or conspired to restrain or

       monopolize trade in the B2B Credit Score Market, and attempted to establish or

       did in fact establish a monopoly for the purpose of excluding competition or

       controlling, fixing or maintaining prices for credit scores, in violation of Vermont

       Stat. Ann. 9 §§ 2453, et seq. Defendants’ violations of Vermont law were flagrant.

               b.      Defendants’ combinations or conspiracies had the following

       effects: (1) Credit score price competition was restrained, suppressed, and

       eliminated throughout Vermont; (2) Credit score prices were raised, fixed

       maintained and stabilized at artificially high levels throughout Vermont; (3)

       Plaintiffs and members of the Damages Class were deprived of free and open

       competition; and (4) Plaintiffs and members of the Damages Class paid supra-

       competitive, artificially inflated prices for credit scores.

               c.      During the Class Period, Defendants’ illegal conduct substantially

       affected Vermont commerce.

               d.      As a direct and proximate result of Defendants’ unlawful conduct,

       Plaintiffs and members of the Damages Class have been injured in their business

       and property and are threatened with further injury.

               e.      By reason of the foregoing, Defendants have entered into

       agreements in restraint of trade in violation of Vermont Stat. Ann. 9 §§ 2453, et

       seq.

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               f.       Under Vermont law, indirect purchasers have standing to maintain

       an action under Vermont’s antitrust laws based on the facts alleged in this

       Complaint. Elkins v. Microsoft Corp., 174 Vt. 328, 341 (2002).

               g.       Accordingly, Plaintiffs and members of the Damages Class seek all

       relief available under Vermont Stat. Ann. 9 §§ 2453, et seq.

       333.    West Virginia: By reason of the conduct alleged herein, Defendants have

violated West Virginia Code §§ 47-18-1, et seq.

               a.       Defendants contracted, combined or conspired to restrain or

       monopolize trade in the B2B Credit Score Market, and attempted to establish or

       did in fact establish a monopoly for the purpose of excluding competition or

       controlling, fixing or maintaining prices for credit scores, in violation of West

       Virginia Code §§ 47-18-1, et seq. Defendants’ anticompetitive acts were knowing,

       willful and constitute violations or flagrant violations of the West Virginia

       Antitrust Act.

               b.       Defendants’ combinations or conspiracies had the following

       effects: (1) Credit score price competition was restrained, suppressed, and

       eliminated throughout West Virginia; (2) Credit score prices were raised, fixed

       maintained and stabilized at artificially high levels throughout West Virginia; (3)

       Plaintiffs and members of the Damages Class were deprived of free and open

       competition; and (4) Plaintiffs and members of the Damages Class paid supra-

       competitive, artificially inflated prices for credit scores.

               c.       During the Class Period, Defendants’ illegal conduct substantially

       affected West Virginia commerce.

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              d.      As a direct and proximate result of Defendants’ unlawful conduct,

       Plaintiffs and members of the Damages Class have been injured in their business

       and property and are threatened with further injury.

              e.      By reason of the foregoing, Defendants have entered into

       agreements in restraint of trade in violation of West Virginia Code §§ 47-18-1, et

       seq.

              f.      Under West Virginia law, indirect purchasers have standing to

       maintain an action under the West Virginia Antitrust Act based on the facts

       alleged in this Complaint. W. Va. Code R. 142-9-2.

              g.      Accordingly, Plaintiffs and members of the Damages Class seek all

       relief available under West Virginia Code §§ 47-18-1, et seq.

       334.   Wisconsin: By reason of the conduct alleged herein, Defendants have violated

Wisconsin Statutes §§ 133.01, et seq.

              a.      Defendants contracted, combined or conspired in restraint of trade

       or commerce of credit scores, and monopolized or attempted to monopolize the

       trade or commerce of credit scores, with the intention of injuring or destroying

       competition therein, in violation of Wis. Stat. § 133.01, et seq.

              b.      Defendants’ combinations or conspiracies had the following

       effects: (1) Credit score price competition was restrained, suppressed, and

       eliminated throughout Wisconsin; (2) Credit score prices were raised, fixed

       maintained and stabilized at artificially high levels throughout Wisconsin; (3)

       Plaintiffs and members of the Damages Class were deprived of free and open

       competition; and (4) Plaintiffs and members of the Damages Class paid supra-

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       competitive, artificially inflated prices for credit scores.

               c.      During the Class Period, Defendants’ illegal conduct substantially

       affected Wisconsin commerce.

               d.      As a direct and proximate result of Defendants’ unlawful conduct,

       Plaintiffs and members of the Damages Class have been injured in their business

       and property and are threatened with further injury.

               e.      By reason of the foregoing, Defendants have entered into

       agreements in restraint of trade in violation of Wisconsin Stat. §§ 133.01, et seq.

               f.      Under Wisconsin law, indirect purchasers have standing under the

       antitrust provisions of the Wisconsin Statutes to maintain an action based on the

       facts alleged in this Complaint. Wis. Stat. 133.18(1)(a).

               g.      Accordingly, Plaintiffs and members of the Damages Class seek all

       relief available under Wisconsin Stat. §§ 133.01, et seq.

       335.    Defendants’ anticompetitive activities have directly, foreseeably and

proximately caused injury to members of the Damages Class. Plaintiffs and members of the

Class in each of the above states have been injured in their business and property by reason of

Defendants’ unlawful monopolization, conspiracy to monopolize, and conspiratorial

agreements. Their injuries consist of: (1) being denied the opportunity to purchase lower-priced

credit scores from Defendants and/or other sellers of credit scores, and/or (2) paying higher

prices for FICO Scores than they would have in the absence of Defendants’ conduct. These

injuries are of the type of the laws of the above States were designed to prevent, and flow from

that which makes Defendants’ conduct unlawful.

       336.    In addition, Defendants have profited significantly from the aforesaid unlawful

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conduct. Defendants’ profits derived from their anticompetitive conduct come at the expense

and detriment of the Plaintiffs and the members of the Damages Class.

       337.    Accordingly, Plaintiffs and the members of the Damages Class in each of the

above jurisdictions seek damages (including statutory damages where applicable), to be trebled

or otherwise increased as permitted by a particular jurisdiction’s antitrust law, and costs of suit,

including reasonable attorneys’ fees, to the extent permitted by the above state laws.

                           EIGHTH CLAIM FOR RELIEF:
               VIOLATIONS OF STATE CONSUMER PROTECTION LAWS
                     (on behalf of Plaintiffs and the Damages Class)

       338.    Plaintiffs incorporate by reference the allegations in the preceding paragraphs of

this Complaint.

       339.    This Claim is brought against all Defendants.

       340.    Defendants engaged in unfair competition or unfair, unconscionable, deceptive

or fraudulent acts or practices in violation of the state consumer protection and unfair competition

statutes listed below.

       341.    Arkansas: Defendants have knowingly entered into an unlawful agreement in

restraint of trade in violation of the Arkansas Code Annotated, § 4-88-101, et seq.

               a.        Defendants knowingly agreed to, and did in fact, act in restraint

       of trade or commerce by affecting, fixing, controlling, and/or maintaining at

       non-competitive and artificially inflated levels, the prices at which credit scores

       were sold in Arkansas and took efforts to conceal its agreements from Plaintiffs

       and members of the Damages Class.

               b.        The aforementioned conduct on the part of the Defendants

       constituted “unconscionable” and “deceptive” acts or practices in violation of
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       Arkansas Code Annotated, § 4-88-107(a)(10).

                    c. Defendants’ unlawful conduct had the following effects: (1)

       credit score price competition was restrained, suppressed, and eliminated

       throughout Arkansas; (2) credit score prices were raised, fixed, maintained, and

       stabilized at artificially high levels throughout Arkansas; (3) Plaintiffs and the

       members of the Damages Class were deprived of free and open competition;

       and (4) Plaintiffs and the members of the Damages Class paid supra-

       competitive, artificially inflated prices for credit scores.

                    d. During     the   Class    Period,   Defendants’   illegal   conduct

       substantially affected Arkansas commerce and consumers.

                    e. As a direct and proximate result of the unlawful conduct of

       Defendants, Plaintiffs and the members of the Damages Class have been injured

       in their business and property and are threatened with further injury.

                    f.   Defendants have engaged in unfair competition or unfair or

       deceptive acts or practices in violation of Arkansas Code Annotated, § 4-88-

       107(a)(10) and, accordingly, Plaintiffs and the members of the Damages Class

       seek all relief available under that statute.

       342.    California: Defendants have engaged in unfair competition or unfair,

unconscionable, deceptive or fraudulent acts or practices in violation of California Business and

Professions Code § 17200, et seq.

               a.    During the Class Period, Defendants marketed, sold, or distributed

       FICO Scores in California, and committed and continue to commit acts of unfair

       competition, as defined by Sections 17200, et seq. of the California Business and

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     Professions Code, by engaging in the acts and practices specified above.

              b.   The violations of federal antitrust law set forth above constitute

     violations of section 17200, et seq. of California Business and Professions Code.

              c.   This claim is instituted pursuant to sections 17203 and 17204 of

     California Business and Professions Code, to obtain restitution from these

     Defendants for acts, as alleged herein, that violated section 17200 of the

     California Business & Professions Code, commonly known as the Unfair

     Competition Law.

              d.   Defendants’ conduct as alleged herein violated the UCL. The acts,

     omissions, misrepresentations, practices and non-disclosures of Defendants, as

     alleged herein, constituted a common, continuous, and continuing course of

     conduct of unfair competition by means of unfair, unlawful, and/or fraudulent

     business acts or practices within the meaning of the UCL, including, but not

     limited to, the violations of section 16720, et seq., of California Business and

     Professions Code, set forth above.

             e.    Defendants’ acts, omissions, misrepresentations, practices, and non-

     disclosures, as described above, whether or not in violation of section 16720, et

     seq., of California Business and Professions Code, and whether or not concerted

     or independent acts, are otherwise unfair, unconscionable, unlawful or

     fraudulent.

             f.       Defendants’ acts or practices are unfair to purchasers of FICO Scores in

     the State of California within the meaning of § 17200, California Business & Professions

     Code.

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             g.      Defendants’ acts and practices are fraudulent or deceptive within

     the meaning of § 17200 of the California Business & Professions Code.

                  h. Plaintiffs and members of the Damages Class are entitled to full

     restitution and/or disgorgement of all revenues, earnings, profits, compensation,

     and benefits that may have been obtained by Defendants as a result of such

     business acts or practices.

                  i. The illegal conduct alleged herein is continuing and there is no

     indication that Defendants will not continue such activity into the future.

                  j. The unlawful and unfair business practices of Defendants, as

     described above, have caused and continue to cause Plaintiffs and members of

     the Damages Class to pay supra-competitive and artificially inflated prices for

     FICO Scores sold in the State of California. Plaintiffs and members of the

     Damages Class suffered injury in fact and lost money or property as a result of

     such unfair competition.

                  k. The conduct of Defendants as alleged in this Complaint violated §

     17200 of the California Business & Professions Code.

                  l. As alleged in this Complaint, Defendants and its co-conspirators

     have been unjustly enriched as a result of their wrongful conduct and by

     Defendant’s unfair competition.

                  m. Plaintiffs and members of the Damages Class are accordingly

     entitled to equitable relief including restitution and/or disgorgement of all

     revenues, earnings, profits, compensation, and benefits that may have been

     obtained by Defendants as a result of such business practices, pursuant to


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       California Business & Professions Code §§ 17203 and 17204.

       343.     District of Columbia: Defendants have engaged in unfair competition or unfair,

unconscionable, or deceptive acts or practices in violation of District of Columbia Code §§ 28-

3901 et seq.

               a.       Defendants agreed to, and did in fact, act in restraint of trade or commerce

       by affecting, fixing, controlling and/or maintaining, at artificial and/or non-competitive

       levels, the prices at which FICO Scores were sold, distributed or obtained in the District

       of Columbia.

               b.       The foregoing conduct constitutes “unlawful trade practices,” within the

       meaning of D.C. Code § 28- 3904.

               c.       Plaintiffs and members of the Class were not aware of Defendants’ illegal

       conduct and were therefore unaware that they were being unfairly and illegally

       overcharged.

               d.       There was a gross disparity of bargaining power between the parties with

       respect to the price charged by Defendants for FICO Scores. Defendants had the sole

       power to set that price, and Plaintiffs and members of the Class had no power to negotiate

       a lower price.

               e.       Moreover, Plaintiffs and members of the Class lacked any meaningful

       choice in purchasing FICO Scores because they were unaware of the unlawful overcharge

       and there was no alternative source of supply through which Plaintiffs and members of

       the Class could avoid the overcharges.

               f.       Defendants’ conduct with regard to sales of FICO Scores, including their


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       illegal conduct with respect to fixing the price of FICO Scores at supracompetitive levels

       and overcharging consumers, was substantively unconscionable because it was one-sided

       and unfairly benefited Defendants at the expense of Plaintiffs and the public.

                g.      Defendants took grossly unfair advantage of Plaintiffs and members of the

       Class.

                h.      The suppression of competition that has resulted from Defendants’

       conduct has ultimately resulted in unconscionably higher prices for purchasers so that

       there was a gross disparity between the price paid and the value received for the FICO

       Scores. Defendants’ unlawful conduct had the following effects: (1) FICO Scores’ price

       competition was restrained, suppressed, and eliminated throughout the District of

       Columbia; (2) FICO Scores’ prices were raised, fixed, maintained, and stabilized at

       artificially high levels throughout the District of Columbia; (3) Plaintiffs and members of

       the Class were deprived of free and open competition; and (4) Plaintiffs and members of

       the Class paid supracompetitive, artificially inflated prices for FICO Scores.

                i.      As a direct and proximate result of Defendants’ conduct, Plaintiffs and

       members of the Class have been injured and are threatened with further injury.

       Defendants have engaged in unfair competition or unfair or deceptive acts or practices in

       violation of District of Columbia Code §§ 28-3901 et seq., and, accordingly, Plaintiffs

       and members of the Class seek all relief available under that statute.

       344.      Florida:    Defendants have engaged in unfair competition or unfair,

unconscionable, or deceptive acts or practices in violation of the Florida Deceptive and Unfair

Trade Practices Act, Fla. Stat. §§ 501.201, et seq.

                a.      The primary policy of the FDUTPA is “[t]o protect the consuming public
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     and legitimate business enterprises from those who engage in unfair methods of

     competition, or unconscionable, deceptive, or unfair acts or practices in the conduct of any

     trade or commerce.” Fla. Stat. § 501.202(2).

           b.       A claim for damages under the FDUTPA has three elements: (1) a

     prohibited practice; (2) causation; and (3) actual damages.

           c.       Under Florida law, indirect purchasers have standing to maintain an action

     under the FDUTPA based on the facts alleged in this Complaint. Fla. Stat. § 501.211(a)

     (“anyone aggrieved by a violation of this [statute] may bring an action . . .”).

           d.       Members of the Damages Class purchased FICO Scores within the State

     of Florida during the Class Period. But for Defendants’ conduct set forth herein, the price

     of FICO Scores would have been lower, in an amount to be determined at trial.

           e.       Defendants entered into a contract, combination or conspiracy between

     two or more persons in restraint of, or to monopolize, trade or commerce in the B2B

     Credit Score Market, a substantial part of which occurred within Florida.

           f.       Defendants established, maintained or used a monopoly, or attempted to

     establish a monopoly, of trade or commerce in the B2B Credit Score Market, for the

     purpose of excluding competition or controlling, fixing or maintaining prices in Florida at

     a level higher than the competitive market level, beginning at least as early as 2006 and

     continuing through the date of this filing.

           g.       Accordingly, Defendants’ conduct was an unfair method of competition,

     and an unfair or deceptive act or practice within the conduct of commerce within the State

     of Florida.


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              h.      Defendants’ unlawful conduct had the following effects: (1) FICO Scores’

       price competition was restrained, suppressed, and eliminated throughout Florida; (2)

       FICO Scores’ prices were raised, fixed, maintained, and stabilized at artificially high

       levels throughout Florida; (3) Plaintiffs and members of the Class were deprived of free

       and open competition; and (4) Plaintiffs and members of the Class paid supracompetitive,

       artificially inflated prices for FICO Scores.

              i.      Defendants’ unlawful conduct substantially affected Florida’s trade and

       commerce.

              j.      As a direct and proximate cause of Defendants’ unlawful conduct,

       members of the Class have been injured in their business or property by virtue of

       overcharges for FICO Scores and are threatened with further injury.

              k.      By reason of the foregoing, the members of the Damages Class are entitled

       to seek all forms of relief, including injunctive relief pursuant to Florida Stat. § 501.208

       and declaratory judgment, actual damages, reasonable attorneys’ fees and costs pursuant

       to Florida Stat. § 501.211.

       345.    Hawaii:     Defendants have engaged in unfair competition or unfair,

unconscionable, or deceptive acts or practices in violation of the Hawaii Revised Statutes

Annotated §§ 480-1, et seq.

              a.      Defendants’ unlawful conduct had the following effects: (1) credit score

       price competition was restrained, suppressed, and eliminated throughout Hawaii; (2)

       credit score prices were raised, fixed, maintained, and stabilized at artificially high levels

       throughout Hawaii; (3) Plaintiffs and members of the Damages Class were deprived of free

       and open competition; and (4) Plaintiffs and members of the Damages Class paid supra-
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       competitive, artificially inflated prices for credit scores.

              b.         During the Class Period, Defendants’ illegal conduct substantially affected

       Hawaii commerce and consumers.

              c.         As a direct and proximate result of Defendants’ unlawful conduct,

       Plaintiffs and members of the Damages Class have been injured and are threatened with

       further injury.

              d.         Defendants have engaged in unfair competition or unfair or deceptive acts

       or practices in violation of Hawaii Rev. Stat. § 480, et seq., and, accordingly, Plaintiffs

       and members of the Damages Class seek all relief available under that statute.

       346.    Massachusetts:      Defendants have engaged in unfair competition or unfair,

unconscionable, or deceptive acts or practices in violation of Mass. G.L. c. 93Aet seq..

              a.         Defendants were engaged in trade or commerce as defined by G.L. c. 93A.

              b.         Defendants agreed to, and did in fact, act in restraint of trade or commerce

       in a market which includes Massachusetts, by affecting, fixing, controlling and/or

       maintaining at artificial and non-competitive levels, the prices at which credit scores were

       sold, distributed, or obtained in Massachusetts and took efforts to conceal its agreements

       from Plaintiffs and members of the Damages Class.

              c.         Defendants’ unlawful conduct had the following effects: (1) credit score

       price competition was restrained, suppressed, and eliminated throughout Massachusetts;

       (2) credit score prices were raised, fixed, maintained, and stabilized at artificially high

       levels throughout Massachusetts; (3) Plaintiffs and members of the Damages Class were

       deprived of free and open competition; and (4) Plaintiffs and members of the Damages


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       Class paid supra-competitive, artificially inflated prices for credit scores.

              d.        During the Class Period, Defendants marketed, sold, or distributed FICO

       Scores in Massachusetts, and Defendants’ illegal conduct substantially affected

       Massachusetts commerce and consumers.

              e.        As a direct and proximate result of Defendants' unlawful conduct,

       Plaintiffs and members of the Damages Class were injured and are threatened with further

       injury.

              f.        By reason of the foregoing, Defendants engaged in unfair competition and

       unfair or deceptive acts or practices, in violation of G.L. c. 93A, §2. Defendants’

       violations of Chapter 93A were knowing or willful, entitling Plaintiffs and members of

       the Damages Class to multiple damages.

       347.      Missouri:    Defendants have engaged in unfair competition or unfair,

unconscionable, or deceptive acts or practices in violation of the Missouri Merchandising

Practices Act, Mo. Rev. Stat. § 407.010, et. seq.

              a.        Plaintiffs and the Damages Class purchased FICO Scores for personal,

       family, or household purposes.

              b.        Defendants engaged in the conduct described herein in connection with

       the sale of credit scores in trade or commerce in a market that includes Missouri.

              c.        Defendants agreed to, and did in fact affect, fix, control, and/or maintain,

       at artificial and non-competitive levels, the prices at which credit scores were sold,

       distributed, or obtained in Missouri, which conduct constituted unfair practices in that it

       was unlawful under federal and state law, violated public policy, was unethical,


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     oppressive and unscrupulous, and caused substantial injury to Plaintiffs and members of

     the Damages Class.

            d.       Defendants concealed, suppressed, and omitted to disclose material facts

     to Plaintiffs and members of the Damages Class concerning Defendants’ unlawful

     activities and artificially inflated prices for credit scores. The concealed, suppressed, and

     omitted facts would have been important to Plaintiffs and members of the Damages Class

     as they related to the cost of credit scores they purchased.

            e.       Defendants’ conduct concerning the price of credit scores was deceptive

     as they had the tendency or capacity to mislead Plaintiffs and members of the Damages

     Class to believe that they were purchasing credit scores at prices established by a free and

     fair market.

            f.       Defendants’ unlawful conduct had the following effects: (1) credit score

     price competition was restrained, suppressed, and eliminated throughout Missouri; (2)

     credit score prices were raised, fixed, maintained, and stabilized at artificially high levels

     throughout Missouri; (3) Plaintiffs and members of the Damages Class were deprived of

     free and open competition; and (4) Plaintiffs and members of the Damages Class paid

     supra- competitive, artificially inflated prices for credit scores.

            g.       The foregoing acts and practices constituted unlawful practices in

     violation of the Missouri Merchandising Practices Act.

            h.       As a direct and proximate result of the above-described unlawful practices,

     Plaintiffs and members of the Damages Class suffered ascertainable loss of money or

     property.

            i.       Accordingly, Plaintiffs and members of the Damages Class seek all relief
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       available under Missouri’s Merchandising Practices Act, specifically Mo. Rev. Stat. §

       407.020, which prohibits “the act, use or employment by any person of any deception,

       fraud, false pretense, false promise, misrepresentation, unfair practice or the concealment,

       suppression, or omission of any material fact in connection with the sale or advertisement

       of any merchandise in trade or commerce…,” as further interpreted by the Missouri Code

       of State Regulations, 15 CSR 60-7.010, et seq., 15 CSR 60-8.010, et seq., and 15 CSR

       60-9.010, et seq., and Mo. Rev. Stat. § 407.025, which provides for the relief sought in this

       count.

       348.      Montana:      Defendants have engaged in unfair competition or unfair,

unconscionable, or deceptive acts or practices in violation of the Montana Consumer Protection

Act, Mont. Code, §§ 30-14-101, et seq. and §§ 30- 14-201 et seq.

                a.       Defendants’ unlawful conduct had the following effects: (1) credit score

       price competition was restrained, suppressed, and eliminated throughout Montana; (2)

       credit score prices were raised, fixed, maintained, and stabilized at artificially high levels

       throughout Montana; (3) Plaintiffs and members of the Damages Class were deprived of

       free and open competition; and (4) Plaintiffs and members of the Damages Class paid

       supra- competitive, artificially inflated prices for credit scores.

                b.       During the Class Period, Defendants marketed, sold, or distributed FICO

       Scores in Montana, and Defendants’ illegal conduct substantially affected Montana

       commerce and consumers.

                c.       As a direct and proximate result of Defendants’ unlawful conduct,

       Plaintiffs and members of the Damages Class have been injured and are threatened with

       further injury.
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              d.       Defendants have engaged in unfair competition or unfair or deceptive acts

       or practices in violation of Mont. Code, §§ 30-14-101, et seq., and §§ 30- 14-201 et seq.,

       and, accordingly, Plaintiffs and members of the Damages Class seek all relief available

       under that statute.

       349.    Nebraska: By reason of the conduct alleged herein, Defendants have violated Neb.

Rev. Stat. § 59-1602, et seq.

              a.       Under Nebraska law, indirect purchasers have standing to maintain an

       action under the Nebraska Consumer Protection Act based on the facts alleged in this

       Complaint. Neb. Rev. Stat. § 59-1609.

              b.       Defendants have entered into a contract, combination, or conspiracy

       between two or more persons in restraint of, or to monopolize, trade or commerce in the

       B2B Credit Score Market, a substantial part of which occurred within Nebraska.

              c.       Defendants established, maintained, or used a monopoly, or attempted to

       establish a monopoly, of trade or commerce in the B2B Credit Score Market, for the

       purpose of excluding or limiting competition or controlling or maintaining prices, a

       substantial part of which occurred within Nebraska.

              d.       Defendants’ conduct was conducted with the intent to deceive Nebraska

       consumers regarding the nature of Defendants’ actions within the stream of Nebraska

       commerce.

              e.       Defendants’ conduct was unfair, unconscionable, or deceptive within the

       conduct of commerce within the State of Nebraska.

              f.       Defendants’ conduct misled consumers, withheld material facts, and had a


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       direct or indirect impact upon Plaintiffs and members-of-the-Class’s ability to protect

       themselves.

              g.      Defendants’ unlawful conduct substantially affected Nebraska’s trade and

       commerce.

              h.      As a direct and proximate cause of Defendants’ unlawful conduct,

       members of the Class have been injured in their business or property and are threatened

       with further injury.

              i.      By reason of the foregoing, the members of the Class are entitled to seek

       all forms of relief available under Neb. Rev. Stat. § 59-1602, et seq.

       350.      New Hampshire:    By reason of the conduct alleged herein, Defendants have

violated N.H. Rev. Stat. T. XXXI, § 358-A, et seq.

              a.      Under New Hampshire law, indirect purchasers have standing to maintain

       an action under the New Hampshire Consumer Protection Act based on the facts alleged

       in this Complaint. LaChance v. U.S. Smokeless Tobacco Co., 156 N.H. 88, 92-100

       (2007).

              b.      Defendants have entered into a contract, combination, or conspiracy

       between two or more persons in restraint of, or to monopolize, trade or commerce in the

       B2B Credit Score Market, a substantial part of which occurred within New Hampshire.

              c.      Defendants established, maintained, or used a monopoly, or attempted to

       establish a monopoly, of trade or commerce in B2B Credit Score Market, for the purpose

       of excluding or limiting competition or controlling or maintaining prices, a substantial

       part of which occurred within New Hampshire.


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              d.      Defendants’ conduct was conducted with the intent to deceive New

       Hampshire consumers regarding the nature of Defendants’ actions within the stream of

       New Hampshire commerce.

              e.      Defendants’ conduct was unfair or deceptive within the conduct of

       commerce within the State of New Hampshire.

              f.      Defendants’ conduct was willful and knowing.

              g.      Defendants’ conduct misled consumers, withheld material facts, and had a

       direct or indirect impact upon members-of-the-Class’s ability to protect themselves.

              h.      Defendants’ unlawful conduct substantially affected New Hampshire’s

       trade and commerce.

              i.      As a direct and proximate cause of Defendants’ unlawful conduct,

       members of the Class have been injured in their business or property and are threatened

       with further injury.

              j.      By reason of the foregoing, the members of the Class are entitled to seek

       all forms of relief available under N.H. Rev. Stat. T. XXXI, §§ 358-A:10 and 358-A:10-

       351.    New Mexico: By reason of the conduct alleged herein, Defendants have violated

N.M. Stat. Ann. §§ 57-12-1, et seq.

              a.      Defendants entered into a contract, combination, or conspiracy between

       two or more persons in restraint of, or to monopolize, trade or commerce in the Business

       Market for credit scores, a substantial part of which occurred within New Mexico.

              b.      Defendants agreed to, and did in fact, act in restraint of trade or commerce

       by affecting, fixing, controlling and/or maintaining at non-competitive and artificially

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     inflated levels, the prices at which FICO Scores were sold, distributed or obtained in New

     Mexico and took efforts to conceal their agreements from Plaintiffs and members of the

     Class.

              c.   Defendants established, maintained, or used a monopoly, or attempted to

     establish a monopoly, of trade or commerce in the Business Market for credit scores, a

     substantial part of which occurred within New Mexico, for the purpose of excluding

     competition or controlling, fixing, or maintaining prices in the B2B Credit Score Market.

              d.   Defendants’ conduct was unfair, unconscionable, or deceptive within the

     conduct of commerce within the State of New Mexico.

              e.   Defendants’ conduct misled consumers, withheld material facts, and

     resulted in material misrepresentations to and the members of the Damages Class.

              f.   Defendants’ unlawful conduct substantially affected New Mexico’s trade

     and commerce.

              g.   Plaintiff and members of the Class were not aware of Defendants’ illegal

     conduct and were therefore unaware that they were being unfairly and illegally

     overcharged. There was a gross disparity of bargaining power between the parties with

     respect to the price charged by Defendants for FICO Scores. Defendant Fair Isaac had the

     sole power to set that price and Plaintiffs and members of the Class had no power to

     negotiate a lower price. Moreover, Plaintiffs and members of the Class lacked any

     meaningful choice in purchasing FICO Scores because they were unaware of the

     unlawful overcharge and there was no alternative source of supply through which

     Plaintiffs and members of the Class could avoid the overcharges. Defendants’ conduct

     with regard to sales of FICO Scores, including their illegal conduct to fix the price of
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     FICO Scores at supracompetitive levels and overcharge consumers, was substantively

     unconscionable because it was one-sided and unfairly benefited Defendants at the

     expense of Plaintiffs and the public. Defendants took grossly unfair advantage of

     Plaintiffs and members of the Class.

           h.       The suppression of competition that resulted from Defendants’ conduct

     has ultimately resulted in unconscionably higher prices for consumers so that there was a

     gross disparity between the price paid and the value received for the FICO Scores.

           i.       Defendants’ unlawful conduct had the following effects: (1) FICO Scores’

     price competition was restrained, suppressed, and eliminated throughout New Mexico;

     (2) FICO Scores’ prices were raised, fixed, maintained, and stabilized at artificially high

     levels throughout New Mexico; (3) Plaintiffs and members of the Class were deprived of

     free and open competition; and (4) Plaintiffs and members of the Class paid

     supracompetitive, artificially inflated prices for FICO Scores. During the Class Period,

     Defendants’ illegal conduct substantially affected New Mexico commerce and

     consumers.

           j.       Defendants’ conduct constituted “unconscionable trade practices” in that

     such conduct, inter alia, resulted in a gross disparity between the value received by the

     members of the Class and the price paid by them for FICO Scores as set forth in N.M.

     Stat. Ann. § 57-12-2E.

           k.       Defendants’ conduct was willful.

           l.       As a direct and proximate cause of Defendants’ unlawful conduct,

     Plaintiffs and the members of the Damages Class have been injured and are threatened

     with further injury.
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              m.      By reason of the foregoing, members of the Damages Class are entitled to

       seek all forms of relief, including actual damages or up to $300 per violation, whichever

       is greater, plus reasonable attorney’s fees under N.M. Stat. Ann. §§ 57-12-10.

       352.    New York: Defendants have engaged in unfair competition or unfair,

unconscionable, or deceptive acts or practices in violation of N.Y. Gen. Bus. Law §§ 349 et seq.

              a.      Defendants agreed to, and did in fact, act in restraint of trade or commerce

       by affecting, controlling and/or maintaining, at artificial and non-competitive levels, the

       prices at which FICO scores were sold, distributed, or obtained in New York and took

       efforts to conceal their agreements from Plaintiffs and members of the Class, who are

       Defendants’ consumers.

              b.      Defendants made public statements about the prices of FICO Scores that

       omitted material information that rendered the statements that they made materially

       misleading; and Defendants alone possessed material information that were relevant to

       consumers but failed to provide the information.

              c.      Because of Defendants’ unlawful trade practices in the State of New York,

       Class members who purchased FICO Scores were misled to believe that they were paying

       a fair price for FICO Scores or the price increases for FICO Scores were for valid

       business reasons; and similarly situated consumers were potentially affected by

       Defendants’ conduct.

              d.      Defendants knew that their unlawful trade practices with respect to pricing

       FICO Scores would have an impact on New York consumers, including Plaintiffs and

       members of the Class.

              e.      Defendants knew that their unlawful trade practices with respect to pricing
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       FICO Scores would have a broad impact, causing Class members who purchased FICO

       Scores to be injured by paying more for FICO Scores than they would have paid in the

       absence of Defendants’ unlawful trade acts and practices.

              f.       The conduct of Defendants described herein constitutes consumer-oriented

       deceptive acts or practices within the meaning of N.Y. Gen. Bus. Law § 349, which

       resulted in consumer injury and broad adverse impact on the public at large and harmed

       the public interest of New York State in an honest marketplace in which economic

       activity is conducted in a competitive manner. Defendants’ unlawful conduct had the

       following effects: (1) FICO Scores’ price competition was restrained, suppressed, and

       eliminated throughout New York; (2) FICO Scores’ prices were raised, fixed, maintained,

       and stabilized at artificially high levels throughout New York; (3) Plaintiffs and members

       of the Class were deprived of free and open competition; and (4) Plaintiffs and members

       of the Class paid supracompetitive, artificially inflated prices for FICO Scores.

              g.       During the Class Period, Defendants marketed, sold, or distributed FICO

       Scores in New York, and Defendants’ illegal conduct substantially affected New York

       commerce and consumers.

              h.       During the Class Period, each Defendant named herein, directly, or

       indirectly and through affiliates they dominated and controlled, manufactured, sold

       and/or distributed FICO Scores in New York.

              i.       Plaintiffs and members of the Class seek all relief available pursuant to

       N.Y. Gen. Bus. Law § 349(h).

       353.    North Carolina: By reason of the conduct alleged herein, Defendants have violated

N.C. Gen. Stat.§ 75-1, et seq.
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           a.       Under North Carolina law, indirect purchasers have standing to maintain

     an action based on the facts alleged in this Complaint. Hyde v. Abbott Labs., Inc., 123

     N.C. App. 572, 584 (1996).

           b.       Defendants entered into a contract, combination, or conspiracy in restraint

     of, or to monopolize, trade or commerce in the B2B Credit Score Market, a substantial

     part of which occurred within North Carolina.

           c.       Defendants agreed to, and did in fact, act in restraint of trade or commerce

     by affecting, fixing, controlling and/or maintaining, at artificial and non-competitive

     levels, the prices at which FICO Scores were sold, distributed or obtained in North

     Carolina and took efforts to conceal their agreements from Plaintiffs and members of the

     Class. Defendants’ conduct could not have succeeded absent deceptive conduct by

     Defendants to cover up their illegal acts. Secrecy was integral to the formation,

     implementation, and maintenance of Defendants’ illegal activity. Defendants committed

     inherently deceptive and self-concealing actions, of which Plaintiffs and members of the

     Class could not possibly have been aware. Defendants’ public statements concerning the

     price of FICO Scores created the illusion of competitive pricing controlled by market

     forces rather than supracompetitive pricing driven by Defendants’ illegal conduct.

           d.       Defendants’ conduct was unfair, unconscionable, or deceptive within the

     conduct of commerce within the State of North Carolina.

           e.       Defendants’ trade practices are and have been immoral, unethical,

     unscrupulous, and substantially injurious to consumers.

           f.       Defendants’ conduct misled consumers, withheld material facts, and

     resulted in material misrepresentations to members of the Class.
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            g.      Defendants’ unlawful conduct substantially affected North Carolina’s

     trade and commerce.

            h.      Defendants’ conduct constitutes consumer-oriented deceptive acts or

     practices within the meaning of North Carolina law, which resulted in consumer injury and

     broad adverse impact on the public at large and harmed the public interest of North

     Carolina consumers in an honest marketplace in which economic activity is conducted in

     a competitive manner.

            i.      Defendants’ unlawful conduct had the following effects: (1) FICO Scores’

     price competition was restrained, suppressed, and eliminated throughout North Carolina;

     (2) FICO Scores’ prices were raised, fixed, maintained, and stabilized at artificially high

     levels throughout North Carolina; (3) Plaintiffs and members of the Class were deprived

     of free and open competition; and (4) Plaintiffs and members of the Class paid

     supracompetitive, artificially inflated prices for FICO Scores.

            j.      During the Class Period, Defendants marketed, sold, or distributed FICO

     Scores in North Carolina, and Defendants’ illegal conduct substantially affected North

     Carolina commerce and consumers. During the Class Period, each Defendant named

     herein, directly, or indirectly and through affiliates they dominated and controlled,

     manufactured, sold and/or distributed FICO Scores in North Carolina.

            k.      As a direct and proximate cause of Defendants’ unlawful conduct,

     members of the Class have been injured and are threatened with further injury.

            l.      By reason of the foregoing, members of the Class are entitled to seek all

     forms of relief, including treble damages under N.C. Gen. Stat. § 75-16.

     354.    Oregon: By reason of the conduct alleged herein, Defendants have violated Or.
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Rev. Stat. § 646.608, et seq.

              a.       Defendants entered into a contract, combination, or conspiracy between

       two or more persons in restraint of, or to monopolize, trade or commerce in the B2B

       Credit Score Market, a substantial part of which occurred within Oregon.

              b.       Defendants established, maintained, or used a monopoly, or attempted to

       establish a monopoly, of trade or commerce in the B2B Credit Score Market, for the

       purpose of excluding or limiting competition or controlling or maintaining prices, a

       substantial part of which occurred within Oregon.

              c.       Defendants’ conduct was conducted with the intent to deceive Oregon

       consumers regarding the nature of Defendants’ actions within the stream of Oregon

       commerce.

              d.       Defendants’ conduct was unfair or deceptive within the conduct of

       commerce within the State of Oregon.

              e.       Defendants’ conduct misled consumers, withheld material facts, and had a

       direct or indirect impact upon members-of-the-Class’s ability to protect themselves.

              f.       Defendants’ unlawful conduct substantially affected Oregon’s trade and

       commerce.

              g.       As a direct and proximate cause of Defendants’ unlawful conduct,

       members of the Class have been injured in their business or property and are threatened

       with further injury.

              h.       By reason of the foregoing, the members of the Class are entitled to seek

       all forms of relief available under Or. Rev. Stat. § 646.638.

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       355.    Rhode Island: Defendants have engaged in unfair competition or unfair,

unconscionable, or deceptive acts or practices in violation of the Rhode Island Unfair Trade

Practice and Consumer Protection Act (R.I. Gen. Laws §§ 6-13.1-1 et seq.).

              a.      Members of this Class purchased FICO Scores for personal, family, or

       household purposes.

              b.      Defendants agreed to, and did in fact, act in restraint of trade or commerce

       in a market that includes Rhode Island, by affecting, controlling, and/or maintaining, at

       artificial and non-competitive levels, the prices at which FICO Scores were sold,

       distributed, or obtained in Rhode Island.

              c.      Defendants deliberately failed to disclose material facts to Plaintiffs and

       members of the Class concerning Defendants’ unlawful activities and artificially inflated

       prices for FICO Scores. Defendants owed a duty to disclose such facts, and they breached

       that duty by their silence.

              d.      Defendants misrepresented to all purchasers during the Class Period that

       Defendants’ FICO Scores prices were competitive and fair.

              e.      Defendants’ unlawful conduct had the following effects: (1) FICO Scores’

       price competition was restrained, suppressed, and eliminated throughout Rhode Island;

       (2) FICO Scores’ prices were raised, fixed, maintained, and stabilized at artificially high

       levels throughout Rhode Island; (3) Plaintiffs and members of the Class were deprived of

       free and open competition; and (4) Plaintiffs and members of the Class paid

       supracompetitive, artificially inflated prices for FICO Scores.

              f.      As a direct and proximate result of Defendants’ violations of law,

       Plaintiffs and members of the Class suffered an ascertainable loss of money or property
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       as a result of Defendants’ use or employment of unconscionable and deceptive

       commercial practices as set forth above. That loss was caused by Defendants’ willful and

       deceptive conduct, as described herein. Defendants’ deception, including their affirmative

       misrepresentations and omissions concerning the price of the FICO Scores, likely misled

       all purchasers acting reasonably under the circumstances to believe that they were

       purchasing FICO Scores at prices set by a free and fair market.

              g.         Defendants’ affirmative misrepresentations and omissions constitute

       information important to Plaintiffs and members of the Class as they related to the cost of

       FICO Scores they purchased.

              h.         Defendants have engaged in unfair competition or unfair or deceptive acts

       or practices in violation of Rhode Island Gen. Laws. §§ 6-13.1-1 et seq., and,

       accordingly, Plaintiffs and members of the Class seek all relief available under that

       statute.

       356.       South Carolina: By reason of the conduct alleged herein, Defendants have

violated S.C. Code Ann. §§ 39-5-10, et seq.

              a.         Defendants have entered into a contract, combination, or conspiracy

       between two or more persons in restraint of, or to monopolize, trade or commerce in the

       B2B Credit Score Market, a substantial part of which occurred within South Carolina.

              b.         Defendants established, maintained, or used a monopoly, or attempted to

       establish a monopoly, of trade or commerce in the B2B Credit Score Market, for the

       purpose of excluding or limiting competition or controlling or maintaining prices, a

       substantial part of which occurred within South Carolina.

              c.         Defendants’ monopolization had the following effects: (1) FICO Scores’
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     price competition was restrained, suppressed, and eliminated throughout South Carolina;

     (2) FICO Scores’ prices were raised, fixed, maintained, and stabilized at artificially high

     levels throughout South Carolina; (3) Plaintiffs and members of the Class were deprived

     of free and open competition; and (4) Plaintiffs and members of the Class paid

     supracompetitive, artificially inflated prices for the FICO Scores during the Class Period.

            d.       Defendants’ conduct was conducted with the intent to deceive South

     Carolina consumers regarding the nature of Defendants’ actions within the stream of

     South Carolina commerce.

            e.       Defendants’ conduct was unfair, unconscionable, or deceptive within the

     conduct of commerce within the State of South Carolina.

            f.       Defendants’ conduct misled consumers, withheld material facts, and had a

     direct or indirect impact upon members-of-the-Class’s ability to protect themselves.

            g.       Defendants’ unlawful conduct substantially affected South Carolina trade

     and commerce.

            h.       Defendants’ unlawful conduct substantially harmed the public interest of

     the State of South Carolina, as at least thousands of South Carolina businesses purchase

     FICO Scores.

            i.       As a direct and proximate result of Defendants’ unlawful conduct,

     Plaintiffs and members of the Class have been injured in their business and property and

     are threatened with further injury. Defendants have engaged in unfair competition or

     unfair or deceptive acts or practices in violation of S.C. Code Ann. §§ 39-5-10 et seq.,

     and, accordingly, Plaintiffs and the members of the Class seek all relief available under

     that statute.
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       357.    South Dakota: Defendants have engaged in unfair competition or unfair,

unconscionable, or deceptive acts or practices in violation of South Dakota Deceptive Trade

Practices and Consumer Protection Act (S.D. Codified Laws §§ 37-24-6 et seq.).

              a.      Defendants agreed to, and did in fact, act in restraint of trade or commerce

       in a market that includes South Dakota, by affecting, controlling, and/or maintaining, at

       artificial and non-competitive levels, the prices at which FICO credit scores were sold,

       distributed, or obtained in South Dakota.

              b.      Defendants deliberately failed to disclose material facts to Plaintiffs and

       members of the Class concerning Defendants’ unlawful activities and artificially inflated

       prices for FICO credit scores. Defendants misrepresented to all purchasers during the

       Class Period that Defendants’ FICO credit scores prices were competitive and fair

       Defendants owed a duty to disclose such facts, and they breached that duty by their

       silence.

              c.      Defendants’ unlawful conduct had the following effects: (1) FICO credit

       scores price competition was restrained, suppressed, and eliminated throughout South

       Dakota; (2) FICO credit scores prices were raised, maintained, and stabilized at

       artificially high levels throughout South Dakota; (3) Plaintiffs and members of the Class

       were deprived of free and open competition; and (4) Plaintiffs and members of the Class

       paid supracompetitive, artificially inflated prices for FICO credit scores.

              d.      As a direct and proximate result of Defendants’ violations of law,

       Plaintiffs and members of the Class suffered an ascertainable loss of money or property

       as a result of Defendants’ use or employment of unconscionable and deceptive

       commercial practices as set forth above.
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              e.      That loss was caused by Defendants’ willful and deceptive conduct, as

       described herein. Defendants’ deception, including their affirmative misrepresentations

       and omissions concerning the price of the FICO credit scores, likely misled all purchasers

       acting reasonably under the circumstances to believe that they were purchasing FICO

       credit scores at prices set by a free and fair market.

              f.      Defendants’ affirmative misrepresentations and omissions constitute

       information important to Plaintiffs and members of the Class as they related to the cost of

       FICO credit scores they purchased.

              g.      Defendants have engaged in unfair competition or unfair or deceptive acts

       or practices in violation of S.D. Codified Laws §§37-24-6 et seq., and, accordingly,

       Plaintiffs and members of the Class seek all relief available under that statute.

       358.    Utah: By reason of the conduct alleged herein, Defendants have violated Utah

Code Ann. §§ 13-11-1, et seq.

              a.      Defendants entered into a contract, combination, or conspiracy between

       two or more persons in restraint of, or to monopolize, trade or commerce in the B2B

       Credit Score Market, a substantial part of which occurred within Utah.

              b.      Defendants are suppliers within the meaning of Utah Code Ann. §§ 13-11-

       3.

              c.      Defendants established, maintained, or used a monopoly, or attempted to

       establish a monopoly, of trade or commerce in the business market for credit scores, a

       substantial part of which occurred within Utah, for the purpose of excluding competition

       or controlling, fixing, or maintaining prices in the B2B Credit Score Market.


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              d.         Defendants’ conduct was unfair, unconscionable, or deceptive within the

       conduct of commerce within the State of Utah.

              e.         Defendants’ conduct and/or practices were unconscionable and were

       undertaken in connection with consumer transactions within the meaning of Utah Code

       Ann. §§ 13-11-3.

              f.         Defendants knew or had reason to know that its conduct was

       unconscionable.

              g.         Defendants’ conduct misled consumers, withheld material facts, and

       resulted in material misrepresentations to members of the Class.

              h.         Defendants’ unlawful conduct substantially affected Utah’s trade and

       commerce.

              i.         As a direct and proximate cause of Defendants’ unlawful conduct, the

       members Class have been injured in their business or property and are threatened with

       further injury.

              j.         By reason of the foregoing, the members of the Class are entitled to seek

       all forms of relief, including declaratory judgment, injunctive relief, and ancillary relief,

       pursuant to Utah Code Ann. §§ 13-11-19(5) and 13-11-20.

       359.    Utah: By reason of the conduct alleged herein, Defendants have violated

Utah Code Ann. §§ 13-5-1, et seq.

              a.         Defendants entered into a contract, combination, or conspiracy between

       two or more persons in restraint of, or to monopolize, trade or commerce in the B2B

       Credit Score Market, a substantial part of which occurred within Utah.

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               b.       Defendants established, maintained, or used a monopoly, or attempted to

        establish a monopoly, of trade or commerce in the B2B Credit Score Market, a

        substantial part of which occurred within Utah, for the purpose of excluding competition

        or controlling, fixing, or maintaining prices in the B2B Credit Score Market.

               c.       Defendants’ conduct caused or was intended to cause unfair methods of

        competition within the State of Utah.

               d.       Defendants’ unlawful conduct substantially affected Utah’s trade and

        commerce.

               e.       As a direct and proximate cause of Defendants’ unlawful conduct, the

        members of the Class have been injured in their business or property and are threatened

        with further injury.

               f.       By reason of the foregoing, the members of the Class are entitled to seek

        all forms of relief, including actual damages or $2000 per Class member, whichever is

        greater, plus reasonable attorney’s fees under Utah Code Ann. §§ 13-5- 14, et seq.

        360.    Vermont: By reason of the conduct alleged herein, Defendants have violated Vt.

Stat. Ann. tit. 9, § 2451, et seq.

               a.       Defendants entered into a contract, combination, or conspiracy between

        two or more persons in restraint of, or to monopolize, trade or commerce in the B2B

        Credit Score Market, a substantial part of which occurred within Vermont.

               b.       Defendants established, maintained, or used a monopoly, or attempted to

        establish a monopoly, of trade or commerce in the B2B Credit Score Market, a

        substantial part of which occurred within Vermont, for the purpose of excluding


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     competition or controlling, fixing, or maintaining prices in the B2B Credit Score Market.

           c.       Defendants have engaged in unfair competition or unfair,

     unconscionable, or deceptive acts or practices in violation of 9 Vermont §§ 2451 et seq.

     Defendants agreed to, and did in fact, act in restraint of trade or commerce in a market

     that includes Vermont, by affecting, controlling, and/or maintaining, at artificial and non-

     competitive levels, the prices at which FICO Scores were sold, distributed, or obtained in

     Vermont. Defendants deliberately failed to disclose material facts to Plaintiffs and

     members of the Class concerning Defendants’ unlawful activities and artificially inflated

     prices for the FICO Scores.

           d.       Defendants owed a duty to disclose such facts, and they breached that duty

     by their silence. Defendants misrepresented to all purchasers during the Class Period that

     Defendants’ FICO Scores prices were competitive and fair.

           e.       Defendants’ unlawful conduct had the following effects: (1) FICO Scores’

     price competition was restrained, suppressed, and eliminated throughout Vermont; (2)

     FICO Scores’ prices were raised, fixed, maintained, and stabilized at artificially high

     levels throughout Vermont; (3) Plaintiffs and members of the Class were deprived of free

     and open competition; and (4) Plaintiffs and members of the Class paid supracompetitive,

     artificially inflated prices for the FICO Scores.

           f.       Defendants’ conduct caused or was intended to cause unfair methods of

     competition within the State of Vermont.

           g.       Defendants’ unlawful conduct substantially affected Vermont’s trade and

     commerce.

           h.       Defendants’ misleading conduct and unconscionable activities constitutes
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       unfair competition or unfair or deceptive acts or practices in violation of 9 Vermont §§

       2451 et seq.

              i.       As a direct and proximate cause of Defendants’ unlawful conduct, the

       members of the Class have suffered an ascertainable loss of money or property as a result

       of Defendants’ use or employment of unconscionable and deceptive commercial practices

       as set forth above. That loss was caused by Defendants’ willful and deceptive conduct, as

       described herein. Defendants’ deception, including their affirmative misrepresentations

       and omissions concerning the price of FICO Scores, likely misled all purchasers acting

       reasonably under the circumstances to believe that they were purchasing FICO Scores at

       prices set by a free and fair market.

              j.       By reason of the foregoing, members of Class are entitled to seek all forms

       of relief available under Vt. Stat. Ann. tit. 9, § 2451, et seq.

       361.    West Virginia: Defendants have engaged in unfair competition or unfair,

unconscionable, or deceptive acts or practices in violation of the West Virginia Consumer Credit

and Protection Act, W. Va. Code, §§46A-6-104 et seq.

              a.       Defendants’ unlawful conduct had the following effects: (1) FICO credit

       scores price competition was restrained, suppressed, and eliminated throughout West

       Virginia; (2) FICO credit scores prices were raised, maintained, and stabilized at

       artificially high levels throughout West Virginia; (3) Plaintiffs and members of the Class

       were deprived of free and open competition; and (4) Plaintiffs and members of the Class

       paid supracompetitive, artificially inflated prices for FICO credit scores.

              b.       During the Class Period, Defendants marketed, sold, or distributed FICO

       credit scores in West Virginia, and Defendants’ illegal conduct substantially affected
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       West Virginia commerce and consumers.

              c.        As a direct and proximate result of Defendants’ unlawful conduct,

       Plaintiffs and members of the Class have been injured and are threatened with further

       injury.

       362.      Defendants have engaged in unfair competition or unfair or deceptive acts or

practices in violation of W. Va. Code, §§46A-6-104 et seq., and, accordingly, Plaintiffs and

members of the Class seek all relief available under that statute.

                                NINTH CLAIM FOR RELIEF
                                   UNJUST ENRICHMENT
                        (On behalf of Plaintiffs and the Nationwide Class)

       363.      Plaintiffs incorporate by reference the allegations in the preceding paragraphs.

       364.      This Claim is brought against all Defendants.

       365.      As a result of its unlawful conduct described above, Defendants have and will

continue to be unjustly enriched by the receipt of unlawfully inflated prices of and unlawful profits

from FICO Scores.

       366.      Defendants have benefited from their unlawful acts and it would be inequitable

for Defendants to be permitted to retain any of the ill-gotten gains.

       367.      Under common law principles of unjust enrichment, Defendants should not be

permitted to retain the benefits conferred on them by overpayments by Plaintiffs and members of

the Class in the following states: Arizona, California, District of Columbia, Florida, Hawaii,

Illinois, Iowa, Kansas, Maine, Massachusetts, Michigan, Minnesota, Mississippi, Missouri,

Montana, Nebraska, Nevada, New Hampshire, New Mexico, North Carolina, Oregon, Rhode

Island, South Carolina, South Dakota, Tennessee, Utah, Vermont, West Virginia, and Wisconsin.


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                                     PRAYER FOR RELIEF

       WHEREFORE, Plaintiffs, on behalf of themselves and all others similarly situated,

respectfully pray that this Honorable Court:

       1.       Order that this action may be maintained as a class action pursuant to Rules 23(a)

and (b) of the Federal Rules of Civil Procedure, that it be named Representative of the Classes,

that the undersigned Interim Co-Lead Counsel be named Co-Lead Class Counsel, and that

reasonable notice of this action be provided to members of the Class as provided by Rule

23(c)(2) of the Federal Rules of Civil Procedure;

       2.       Adjudge that Defendants violated the federal antitrust laws as set forth above;

       3.       Adjudge that Defendants violated the state antitrust and unfair trade practices

laws as set forth above;

       4.       Adjudge that Defendants were unjustly enriched as set forth above;

       5.       Award Plaintiffs and members of the Damages Class actual, double, treble,

and exemplary damages as permitted;

       6.       Award Plaintiffs and members of the Classes pre-and post-judgment interest;

       7.       Enjoin Defendants from continuing the unlawful actions alleged herein;

       8.       Award Plaintiffs attorneys’ fees and all other costs, including costs of consulting

and testifying experts, reasonably incurred in prosecution of this action; and

       9.       Award such other relief as it deems just and proper.



                                  DEMAND FOR JURY TRIAL

            Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure, Plaintiffs demand a
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  Trial by Jury as to all issues so triable.


  December 6, 2021                             Respectfully submitted,



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